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                     EXHIBIT 3
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Firm Resume
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Introduction
Robbins Geller Rudman & Dowd LLP (“Robbins Geller” or the “Firm”) is a 200-lawyer firm with offices in Atlanta,
Boca Raton, Chicago, Manhattan, Melville, Nashville, San Diego, San Francisco, Philadelphia and Washington,
D.C. (www.rgrdlaw.com). The Firm is actively engaged in complex litigation, emphasizing securities, consumer,
antitrust, insurance, healthcare, human rights and employment discrimination class actions, as well as
intellectual property disputes. The Firm’s unparalleled experience and capabilities in these fields are based
upon the talents of its attorneys, who have successfully prosecuted thousands of class action lawsuits and
numerous individual cases, recovering billions of dollars.

This successful track record stems from our experienced attorneys, including many who came to the Firm from
federal or state law enforcement agencies. The Firm also includes several dozen former federal and state
judicial clerks.

The Firm is committed to practicing law with the highest level of integrity in an ethical and professional manner.
We are a diverse firm with lawyers and staff from all walks of life. Our lawyers and other employees are hired
and promoted based on the quality of their work and their ability to treat others with respect and dignity.

We strive to be good corporate citizens and work with a sense of global responsibility. Contributing to our
communities and environment is important to us. We often take cases on a pro bono basis and are committed
to the rights of workers, and to the extent possible, we contract with union vendors. We care about civil rights,
workers’ rights and treatment, workplace safety and environmental protection. Indeed, while we have built a
reputation as the finest securities and consumer class action law firm in the nation, our lawyers have also
worked tirelessly in less high-profile, but no less important, cases involving human rights and other social issues.




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Practice Areas and Services
Securities Fraud
As recent corporate scandals demonstrate clearly, it has become all too common for companies and their
executives – often with the help of their advisors, such as bankers, lawyers and accountants – to manipulate the
market price of their securities by misleading the public about the company’s financial condition or prospects
for the future. This misleading information has the effect of artificially inflating the price of the company’s
securities above their true value. When the underlying truth is eventually revealed, the prices of these securities
plummet, harming those innocent investors who relied upon the company’s misrepresentations.

Robbins Geller is the leader in the fight to protect investors from corporate securities fraud. We utilize a wide
range of federal and state laws to provide investors with remedies, either by bringing a class action on behalf of
all affected investors or, where appropriate, by bringing individual cases.

The Firm’s reputation for excellence has been repeatedly noted by courts and has resulted in the appointment
of Firm attorneys to lead roles in hundreds of complex class-action securities and other cases. In the securities
area alone, the Firm’s attorneys have been responsible for a number of outstanding recoveries on behalf of
investors. Currently, Robbins Geller attorneys are lead or named counsel in hundreds of securities class action
or large institutional-investor cases. Some notable current and past cases include:

        In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D. Tex.). Robbins Geller attorneys and lead plaintiff
        The Regents of the University of California aggressively pursued numerous defendants, including many
        of Wall Street’s biggest banks, and successfully obtained settlements in excess of $7.2 billion for the
        benefit of investors. This is the largest securities class action recovery in history.

        Jaffe v. Household Int’l, Inc., No. 02-C-05893 (N.D. Ill.). As sole lead counsel, Robbins Geller
        obtained a record-breaking settlement of $1.575 billion after 14 years of litigation, including a six-
        week jury trial in 2009 that resulted in a securities fraud verdict in favor of the class. In 2015, the
        Seventh Circuit Court of Appeals upheld the jury’s verdict that defendants made false or misleading
        statements of material fact about the company’s business practices and financial results, but remanded
        the case for a new trial on the issue of whether the individual defendants “made” certain false
        statements, whether those false statements caused plaintiffs’ losses, and the amount of damages. The
        parties reached an agreement to settle the case just hours before the retrial was scheduled to begin on
        June 6, 2016. The $1.575 billion settlement, approved in October 2016, is the largest ever
        following a securities fraud class action trial, the largest securities fraud settlement in
        the Seventh Circuit and the seventh-largest settlement ever in a post-PSLRA securities
        fraud case. According to published reports, the case was just the seventh securities fraud case tried
        to a verdict since the passage of the PSLRA.

        In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). Robbins Geller
        represented the California Public Employees’ Retirement System (“CalPERS”) and demonstrated its
        willingness to vigorously advocate for its institutional clients, even under the most difficult
        circumstances. The Firm obtained an $895 million recovery on behalf of the UnitedHealth
        shareholders, and former CEO William A. McGuire paid $30 million and returned stock options
        representing more than three million shares to the shareholders, bringing the total recovery for the class
        to over $925 million, the largest stock option backdating recovery ever, and a recovery that is more
        than four times larger than the next largest options backdating recovery. Moreover,
        Robbins Geller obtained unprecedented corporate governance reforms, including election of a
        shareholder-nominated member to the company’s board of directors, a mandatory holding period for


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      shares acquired by executives via option exercise, and executive compensation reforms that tie pay to
      performance.

      Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), No. 03 Civ. 8269
      (S.D.N.Y.). Robbins Geller attorneys represented more than 50 private and public institutions that
      opted out of the class action case and sued WorldCom’s bankers, officers and directors, and auditors
      in courts around the country for losses related to WorldCom bond offerings from 1998 to 2001. The
      Firm’s attorneys recovered more than $650 million for their clients, substantially more than they would
      have recovered as part of the class.

      Luther v. Countrywide Fin. Corp., No. 12-cv-05125 (C.D. Cal.). Robbins Geller attorneys secured
      a $500 million settlement for institutional and individual investors in what is the largest RMBS
      purchaser class action settlement in history, and one of the largest class action securities settlements
      of all time. The unprecedented settlement resolves claims against Countrywide and Wall Street banks
      that issued the securities. The action was the first securities class action case filed against originators
      and Wall Street banks as a result of the credit crisis. As co-lead counsel Robbins Geller forged
      through six years of hard-fought litigation, oftentimes litigating issues of first impression, in order to
      secure the landmark settlement for its clients and the class.

      In re Wachovia Preferred Sec. & Bond/Notes Litig., No. 09-cv-06351 (S.D.N.Y.). On behalf of
      investors in bonds and preferred securities issued between 2006 and 2008, Robbins Geller and co-
      counsel obtained a significant settlement with Wachovia successor Wells Fargo & Company and
      Wachovia auditor KPMG LLP. The total settlement – $627 million – is one of the largest credit-
      crisis settlements involving Securities Act claims and one of the 20 largest securities
      class action recoveries in history. The settlement is also one of the biggest securities class action
      recoveries arising from the credit crisis. The lawsuit focused on Wachovia’s exposure to “pick-a-pay”
      loans, which the bank’s offering materials said were of “pristine credit quality,” but which were actually
      allegedly made to subprime borrowers, and which ultimately massively impaired the bank’s mortgage
      portfolio. Robbins Geller served as co-lead counsel representing the City of Livonia Employees’
      Retirement System, Hawaii Sheet Metal Workers Pension Fund, and the investor class.

      In re Cardinal Health, Inc. Sec. Litig., No. C2-04-575 (S.D. Ohio). As sole lead counsel
      representing Cardinal Health shareholders, Robbins Geller obtained a recovery of $600 million for
      investors on behalf of the lead plaintiffs, Amalgamated Bank, the New Mexico State Investment Council,
      and the California Ironworkers Field Trust Fund. At the time, the $600 million settlement was the tenth-
      largest settlement in the history of securities fraud litigation and is the largest-ever recovery in a
      securities fraud action in the Sixth Circuit.

      AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles Cty.).
      Robbins Geller represented The Regents of the University of California, six Ohio state pension funds,
      Rabo Bank (NL), the Scottish Widows Investment Partnership, several Australian public and private
      funds, insurance companies, and numerous additional institutional investors, both domestic and
      international, in state and federal court opt-out litigation stemming from Time Warner’s disastrous 2001
      merger with Internet high flier America Online. After almost four years of litigation involving extensive
      discovery, the Firm secured combined settlements for its opt-out clients totaling over $629 million just
      weeks before The Regents’ case pending in California state court was scheduled to go to trial. The
      Regents’ gross recovery of $246 million is the largest individual opt-out securities recovery in history.

      In re HealthSouth Corp. Sec. Litig., No. CV-03-BE-1500-S (N.D. Ala.). As court-appointed co-
      lead counsel, Robbins Geller attorneys obtained a combined recovery of $671 million from
      HealthSouth, its auditor Ernst & Young, and its investment banker, UBS, for the benefit of stockholder
      plaintiffs. The settlement against HealthSouth represents one of the larger settlements in securities


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      class action history and is considered among the top 15 settlements achieved after passage of the
      PSLRA. Likewise, the settlement against Ernst & Young is one of the largest securities class action
      settlements entered into by an accounting firm since the passage of the PSLRA.

      Jones v. Pfizer Inc., No. 1:10-cv-03864 (S.D.N.Y.). Lead plaintiff Stichting Philips Pensioenfonds
      obtained a $400 million settlement on behalf of class members who purchased Pfizer Inc. common
      stock during the January 19, 2006 to January 23, 2009 class period. The settlement against Pfizer
      resolves accusations that it misled investors about an alleged off-label drug marketing scheme. As sole
      lead counsel, Robbins Geller attorneys helped achieve this exceptional result after five years of hard-
      fought litigation against the toughest and the brightest members of the securities defense bar by
      litigating this case all the way to trial.

      In re Dynegy Inc. Sec. Litig., No. H-02-1571 (S.D. Tex.). As sole lead counsel representing The
      Regents of the University of California and the class of Dynegy investors, Robbins Geller attorneys
      obtained a combined settlement of $474 million from Dynegy, Citigroup, Inc. and Arthur Andersen LLP
      for their involvement in a clandestine financing scheme known as Project Alpha. Most notably, the
      settlement agreement provides that Dynegy will appoint two board members to be nominated by The
      Regents, which Robbins Geller and The Regents believe will benefit all of Dynegy’s stockholders.

      In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No. 01-cv-1451 (D. Colo.). In July 2001, the Firm
      filed the initial complaint in this action on behalf of its clients, long before any investigation into Qwest’s
      financial statements was initiated by the SEC or Department of Justice. After five years of litigation,
      lead plaintiffs entered into a settlement with Qwest and certain individual defendants that provided a
      $400 million recovery for the class and created a mechanism that allowed the vast majority of class
      members to share in an additional $250 million recovered by the SEC. In 2008, Robbins Geller
      attorneys recovered an additional $45 million for the class in a settlement with defendants Joseph P.
      Nacchio and Robert S. Woodruff, the CEO and CFO, respectively, of Qwest during large portions of
      the class period.

      Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., No. 1:09-cv-03701 (S.D.N.Y.).
      Robbins Geller attorneys served as lead counsel for a class of investors and obtained court approval of
      a $388 million recovery in nine 2007 residential mortgage-backed securities offerings issued by J.P.
      Morgan. The settlement represents, on a percentage basis, the largest recovery ever achieved in an
      MBS purchaser class action. The result was achieved after more than five years of hard-fought
      litigation and an extensive investigation.

      NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783 (S.D.N.Y.).
      As sole lead counsel, Robbins Geller obtained a $272 million settlement on behalf of Goldman Sachs’
      shareholders. The settlement concludes one of the last remaining mortgage-backed securities
      purchaser class actions arising out of the global financial crisis. The remarkable result was achieved
      following seven years of extensive litigation. After the claims were dismissed in 2010, Robbins Geller
      secured a landmark victory from the Second Circuit Court of Appeals that clarified the scope of
      permissible class actions asserting claims under the Securities Act of 1933 on behalf of MBS
      investors. Specifically, the Second Circuit’s decision rejected the concept of “tranche” standing and
      concluded that a lead plaintiff in an MBS class action has class standing to pursue claims on behalf of
      purchasers of other securities that were issued from the same registration statement and backed by
      pools of mortgages originated by the same lenders who had originated mortgages backing the lead
      plaintiff’s securities.

      Schuh v. HCA Holdings, Inc., No. 3:11-cv-01033 (M.D. Tenn.). As sole lead counsel, Robbins
      Geller obtained a groundbreaking $215 million settlement for former HCA Holdings, Inc. shareholders –
      the largest securities class action recovery ever in Tennessee. Reached shortly before trial was


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      scheduled to commence, the settlement resolves claims that the Registration Statement and
      Prospectus HCA filed in connection with the company’s massive $4.3 billion 2011 IPO contained
      material misstatements and omissions. The recovery achieved approximately 70% of classwide
      damages, which as a percentage of damages significantly exceeds the median class action recovery of
      2%-3% of damages.

      In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller attorneys served as lead
      counsel for a class of investors that purchased AT&T common stock. The case charged defendants
      AT&T and its former Chairman and CEO, C. Michael Armstrong, with violations of the federal securities
      laws in connection with AT&T’s April 2000 initial public offering of its wireless tracking stock, the
      largest IPO in American history. After two weeks of trial, and on the eve of scheduled testimony by
      Armstrong and infamous telecom analyst Jack Grubman, defendants agreed to settle the case for $100
      million.

      Silverman v. Motorola, Inc., No. 1:07-cv-04507 (N.D. Ill.). The Firm served as lead counsel on
      behalf of a class of investors in Motorola, Inc., ultimately recovering $200 million for investors just two
      months before the case was set for trial. This outstanding result was obtained despite the lack of an
      SEC investigation or any financial restatement.

      Nieman v. Duke Energy Corp., No. 3:12-cv-00456 (W.D.N.C.). Robbins Geller, along with co-
      counsel, obtained a $146.25 million settlement on behalf of Duke Energy Corporation investors. The
      settlement resolves accusations that defendants misled investors regarding Duke’s future leadership
      following its merger with Progress Energy, Inc., and specifically, their premeditated coup to oust William
      D. Johnson (CEO of Progress) and replace him with Duke’s then-CEO, John Rogers. This historic
      settlement represents the largest recovery ever in a North Carolina securities fraud action, and one of
      the five largest recoveries in the Fourth Circuit.

      Bennett v. Sprint Nextel Corp., No. 2:09-cv-02122 (D. Kan.). As co-lead counsel, Robbins Geller
      obtained a $131 million recovery for a class of Sprint investors. The settlement, secured after five years
      of hard-fought litigation, resolved claims that former Sprint executives misled investors concerning the
      success of Sprint’s ill-advised merger with Nextel and the deteriorating credit quality of Sprint’s
      customer base, artificially inflating the value of Sprint’s securities.

      Marcus v. J.C. Penney Co., Inc., No. 13-cv-00736 (E.D. Tex.). Robbins Geller attorneys obtained a
      $97.5 million recovery on behalf of J.C. Penney shareholders. The result resolves claims that J.C.
      Penney and certain officers and directors made misstatements and/or omissions regarding the
      company’s financial position that resulted in artificially inflated stock prices. Specifically, defendants
      failed to disclose and/or misrepresented adverse facts, including that J.C. Penney would have
      insufficient liquidity to get through year-end and would require additional funds to make it through the
      holiday season, and that the company was concealing its need for liquidity so as not to add to its
      vendors’ concerns.

      Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., No. 3:09-cv-00882 (M.D. Tenn.). In the
      Psychiatric Solutions case, Robbins Geller represented lead plaintiff and class representative Central
      States, Southeast and Southwest Areas Pension Fund in litigation spanning more than four years.
      Psychiatric Solutions and its top executives were accused of insufficiently staffing their in-patient
      hospitals, downplaying the significance of regulatory investigations and manipulating their malpractice
      reserves. Just days before trial was set to commence, attorneys from Robbins Geller achieved a $65
      million settlement that was the third-largest securities recovery ever in the district and the largest in a
      decade.




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        Plumbers & Pipefitters National Pension Fund v. Burns, No. 3:05-cv-07393-JGC (N.D. Ohio).
        After 11 years of hard-fought litigation, Robbins Geller attorneys secured a $64 million recovery for
        shareholders in a case that accused the former heads of Dana Corp. of securities fraud for trumpeting
        the auto parts maker’s condition while it actually spiraled toward bankruptcy. The Firm’s Appellate
        Practice Group successfully appealed to the Sixth Circuit Court of Appeals twice, reversing the district
        court’s dismissal of the action.

        In re St. Jude Med., Inc. Sec. Litig., No. 0:10-cv-00851 (D. Minn.). After four and one half years of
        litigation and mere weeks before the jury selection, Robbins Geller obtained a $50 million settlement on
        behalf of investors in medical device company St. Jude Medical. The settlement resolves accusations
        that St. Jude Medical misled investors by utilizing heavily discounted end-of-quarter bulk sales to meet
        quarterly expectations, which created a false picture of demand by increasing customer inventory due
        of St. Jude Medical devices. The complaint alleged that the risk of St. Jude Medical’s reliance on such
        bulk sales manifested when it failed to meet its forecast guidance for the third quarter of 2009, which
        the company had reaffirmed only weeks earlier.

Robbins Geller’s securities practice is also strengthened by the existence of a strong appellate department,
whose collective work has established numerous legal precedents. The securities practice also utilizes an
extensive group of in-house economic and damage analysts, investigators and forensic accountants to aid in the
prosecution of complex securities issues.



Shareholder Derivative and Corporate Governance Litigation
The Firm’s shareholder derivative and corporate governance practice is focused on preserving corporate assets
and enhancing long-term shareowner value. Shareowner derivative actions are often brought by institutional
investors to vindicate the rights of the corporation injured by its executives’ misconduct, which can effect
violations of the nation’s securities, anti-corruption, false claims, cyber-security, labor, environmental and/or
health & safety laws.

Robbins Geller attorneys have aided Firm clients in significantly enhancing shareowner value by obtaining
hundreds of millions of dollars in financial clawbacks and successfully negotiating corporate governance
enhancements. Robbins Geller has worked with its institutional clients to address corporate misconduct such
as options backdating, bribery of foreign officials, pollution, off-label marketing, and insider trading and related
self-dealing. Additionally, the Firm works closely with noted corporate governance consultants Robert Monks,
Richard Bennett and their firm, ValueEdge Advisors LLC, to shape corporate governance practices that will
benefit shareowners.

Robbins Geller’s efforts have conferred substantial benefits upon shareowners, and the market effect of these
benefits measures in the billions of dollars. The Firm’s significant achievements include:

        City of Westland Police and Fire Retirement System v. Stumpf (Wells Fargo Derivative
        Litigation), No. 3:11-cv-02369 (N.D. Cal.). Prosecuted shareholder derivative action on behalf of
        Wells Fargo & Co. alleging that Wells Fargo’s executives allowed participation in the mass-processing
        of home foreclosure documents by engaging in widespread robo-signing, i.e., the execution and
        submission of false legal documents in courts across the country without verification of their truth or
        accuracy, and failed to disclose Wells Fargo’s lack of cooperation in a federal investigation into the
        bank’s mortgage and foreclosure practices. In settlement of the action, Wells Fargo agreed to provide
        $67 million in homeowner down-payment assistance, credit counseling and improvements to its
        mortgage servicing system. The initiatives will be concentrated in cities severely impacted by the
        bank’s foreclosure practices and the ensuing mortgage foreclosure crisis. Additionally, Wells Fargo


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       agreed to change its procedures for reviewing shareholder proposals and a strict ban on stock pledges
       by Wells Fargo board members.

       In re Ormat Techs., Inc. Derivative Litig., No. CV10-00759 (Nev. Dist. Ct., Washoe Cty.).
       Robbins Geller brought derivative claims for breach of fiduciary duty and unjust enrichment against the
       directors and certain officers of Ormat Technologies, Inc., a leading geothermal and recovered energy
       power business. During the relevant time period, these Ormat insiders caused the company to engage
       in accounting manipulations that ultimately required restatement of the company’s financial statements.
       The settlement in this action includes numerous corporate governance reforms designed to, among
       other things: (i) increase director independence; (ii) provide continuing education to directors; (iii)
       enhance the company’s internal controls; (iv) make the company’s board more independent; and (iv)
       strengthen the company’s internal audit function.

       In re Alphatec Holdings, Inc. Derivative S’holder Litig., No. 37-2010-00058586 (Cal. Super.
       Ct., San Diego Cty.). Obtained sweeping changes to Alphatec’s governance, including separation of
       the Chairman and CEO positions, enhanced conflict of interest procedures to address related-party
       transactions, rigorous director independence standards requiring that at least a majority of directors be
       outside independent directors, and ongoing director education and training.

       In re Finisar Corp. Derivative Litig., No. C-06-07660 (N.D. Cal.). Prosecuted shareholder
       derivative action on behalf of Finisar against certain of its current and former directors and officers for
       engaging in an alleged nearly decade-long stock option backdating scheme that was alleged to have
       inflicted substantial damage upon Finisar. After obtaining a reversal of the district court’s order
       dismissing the complaint for failing to adequately allege that a pre-suit demand was futile, Robbins
       Geller lawyers successfully prosecuted the derivative claims to resolution obtaining over $15 million in
       financial clawbacks for Finisar. Robbins Geller attorneys also obtained significant changes to Finisar’s
       stock option granting procedures and corporate governance. As a part of the settlement, Finisar
       agreed to ban the repricing of stock options without first obtaining specific shareholder approval,
       prohibit the retrospective selection of grant dates for stock options and similar awards, limit the number
       of other boards on which Finisar directors may serve, require directors to own a minimum amount of
       Finisar shares, annually elect a Lead Independent Director whenever the position of Chairman and CEO
       are held by the same person, and require the board to appoint a Trading Compliance officer
       responsible for ensuring compliance with Finisar’s insider trading policies.

       Loizides v. Schramm (Maxwell Technology Derivative Litigation), No. 37-2010-00097953
       (Cal. Super. Ct., San Diego Cty.). Prosecuted shareholder derivative claims arising from the company’s
       alleged violations of the Foreign Corrupt Practices Act of 1977 (“FCPA”). As a result of Robbins
       Geller’s efforts, Maxwell insiders agreed to adopt significant changes in Maxwell’s internal controls and
       systems designed to protect Maxwell against future potential violations of the FCPA. These corporate
       governance changes included, establishing the following, among other things: a compliance plan to
       improve board oversight of Maxwell’s compliance processes and internal controls; a clear corporate
       policy prohibiting bribery and subcontracting kickbacks, whereby individuals are accountable;
       mandatory employee training requirements, including the comprehensive explanation of whistleblower
       provisions, to provide for confidential reporting of FCPA violations or other corruption; enhanced
       resources and internal control and compliance procedures for the audit committee to act quickly if an
       FCPA violation or other corruption is detected; an FCPA and Anti-Corruption Compliance department
       that has the authority and resources required to assess global operations and detect violations of the
       FCPA and other instances of corruption; a rigorous ethics and compliance program applicable to all
       directors, officers and employees, designed to prevent and detect violations of the FCPA and other
       applicable anti-corruption laws; an executive-level position of Chief Compliance Officer with direct
       board-level reporting responsibilities, who shall be responsible for overseeing and managing
       compliance issues within the company; a rigorous insider trading policy buttressed by enhanced review


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       and supervision mechanisms and a requirement that all trades are timely disclosed; and enhanced
       provisions requiring that business entities are only acquired after thorough FCPA and anti-corruption
       due diligence by legal, accounting and compliance personnel at Maxwell.

       In re SciClone Pharm., Inc. S’holder Derivative Litig., No. CIV 499030 (Cal. Super. Ct., San
       Mateo Cty.). Robbins Geller attorneys successfully prosecuted the derivative claims on behalf of
       nominal party SciClone Pharmaceuticals, Inc., resulting in the adoption of state-of-the-art corporate
       governance reforms. The corporate governance reforms included the establishment of an FCPA
       compliance coordinator; the adoption of an FCPA compliance program and code; and the adoption of
       additional internal controls and compliance functions.

       Policemen & Firemen Ret. Sys. of the City of Detroit v. Cornelison (Halliburton Derivative
       Litigation), No. 2009-29987 (Tex. Dist. Ct., Harris Cty.). Prosecuted shareholder derivative claims on
       behalf of Halliburton Company against certain Halliburton insiders for breaches of fiduciary duty arising
       from Halliburton’s alleged violations of the FCPA. In the settlement, Halliburton agreed, among other
       things, to adopt strict intensive controls and systems designed to detect and deter the payment of
       bribes and other improper payments to foreign officials, to enhanced executive compensation clawback,
       director stock ownership requirements, a limitation on the number of other boards that Halliburton
       directors may serve, a lead director charter, enhanced director independence standards, and the
       creation of a management compliance committee.

       In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). In the UnitedHealth case,
       our client, CalPERS, obtained sweeping corporate governance improvements, including the election of
       a shareholder-nominated member to the company’s board of directors, a mandatory holding period for
       shares acquired by executives via option exercises, as well as executive compensation reforms that tie
       pay to performance. In addition, the class obtained $925 million, the largest stock option backdating
       recovery ever and four times the next largest options backdating recovery.

       In re Fossil, Inc. Derivative Litig., No. 3:06-cv-01672 (N.D. Tex.). The settlement agreement
       included the following corporate governance changes: declassification of elected board members;
       retirement of three directors and addition of five new independent directors; two-thirds board
       independence requirements; corporate governance guidelines providing for “Majority Voting” election of
       directors; lead independent director requirements; revised accounting measurement dates of options;
       addition of standing finance committee; compensation clawbacks; director compensation standards;
       revised stock option plans and grant procedures; limited stock option granting authority, timing and
       pricing; enhanced education and training; and audit engagement partner rotation and outside audit firm
       review.

       Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Sinegal (Costco Derivative
       Litigation), No. 2:08-cv-01450 (W.D. Wash.). The parties agreed to settlement terms providing for
       the following corporate governance changes: the amendment of Costco’s bylaws to provide “Majority
       Voting” election of directors; the elimination of overlapping compensation and audit committee
       membership on common subject matters; enhanced Dodd-Frank requirements; enhanced internal audit
       standards and controls, and revised information-sharing procedures; revised compensation policies and
       procedures; revised stock option plans and grant procedures; limited stock option granting authority,
       timing and pricing; and enhanced ethics compliance standards and training.

       In re F5 Networks, Inc. Derivative Litig., No. C-06-0794 (W.D. Wash.). The parties agreed to the
       following corporate governance changes as part of the settlement: revised stock option plans and grant
       procedures; limited stock option granting authority, timing and pricing; “Majority Voting” election of
       directors; lead independent director requirements; director independence standards; elimination of
       director perquisites; and revised compensation practices.


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         In re Community Health Sys., Inc. S’holder Derivative Litig., No. 3:11-cv-00489 (M.D. Tenn.).
         Robbins Geller obtained unprecedented corporate governance reforms on behalf of Community Health
         Systems, Inc. in a case against the company’s directors and officers for breaching their fiduciary duties
         by causing Community Health to develop and implement admissions criteria that systematically steered
         patients into unnecessary inpatient admissions, in contravention of Medicare and Medicaid regulations.
         The governance reforms obtained as part of the settlement include two shareholder-nominated
         directors, the creation of a Healthcare Law Compliance Coordinator with specified qualifications and
         duties, a requirement that the Board’s Compensation Committee be comprised solely of independent
         directors, the implementation of a compensation clawback that will automatically recover compensation
         improperly paid to the company’s CEO or CFO in the event of a restatement, the establishment of an
         insider trading controls committee, and the adoption of a political expenditure disclosure policy. In
         addition to these reforms, $60 million in financial relief was obtained, which is the largest shareholder
         derivative recovery ever in Tennessee and the Sixth Circuit.



 Options Backdating Litigation
 As has been widely reported in the media, the stock options backdating scandal suddenly engulfed hundreds of
 publicly traded companies throughout the country in 2006. Robbins Geller was at the forefront of investigating
 and prosecuting options backdating derivative and securities cases. The Firm has recovered over $1 billion in
 damages on behalf of injured companies and shareholders.

         In re KLA-Tencor Corp. S’holder Derivative Litig., No. C-06-03445 (N.D. Cal.). After
         successfully opposing the special litigation committee of the board of directors’ motion to terminate the
         derivative claims, Robbins Geller recovered $43.6 million in direct financial benefits for KLATencor,
         including $33.2 million in cash payments by certain former executives and their directors’ and officers’
         insurance carriers.

         In re Marvell Technology Grp. Ltd. Derivative Litig., No. C-06-03894 (N.D. Cal.). Robbins
         Geller recovered $54.9 million in financial benefits, including $14.6 million in cash, for Marvell, in
         addition to extensive corporate governance reforms related to Marvell’s stock option granting practices,
         board of directors’ procedures and executive compensation.

         In re KB Home S’holder Derivative Litig., No. 06-CV-05148 (C.D. Cal.). Robbins Geller served
         as co-lead counsel for the plaintiffs and recovered more than $31 million in financial benefits, including
         $21.5 million in cash, for KB Home, plus substantial corporate governance enhancements relating to
         KB Home’s stock option granting practices, director elections and executive compensation practices.



 Corporate Takeover Litigation
 Robbins Geller has earned a reputation as the leading law firm in representing shareholders in corporate
 takeover litigation. Through its aggressive efforts in prosecuting corporate takeovers, the Firm has secured for
 shareholders billions of dollars of additional consideration as well as beneficial changes for shareholders in the
 context of mergers and acquisitions.

 The Firm regularly prosecutes merger and acquisition cases post-merger, often through trial, to maximize the
 benefit for its shareholder class. Some of these cases include:




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       In re Kinder Morgan, Inc. S’holders Litig., No. 06-C-801 (Kan. Dist. Ct., Shawnee Cty.). In the
       largest recovery ever for corporate takeover class action litigation, the Firm negotiated a settlement fund
       of $200 million in 2010.

       In re Dole Food Co., Inc. Stockholder Litig., No. 8703-VCL (Del. Ch.). Robbins Geller and co-
       counsel went to trial in the Delaware Court of Chancery on claims of breach of fiduciary duty on behalf
       of Dole Food Co., Inc. shareholders. The litigation challenged the 2013 buyout of Dole by its billionaire
       Chief Executive Officer and Chairman, David H. Murdock. On August 27, 2015, the court issued a
       post-trial ruling that Murdock and fellow director C. Michael Carter – who also served as Dole’s General
       Counsel, Chief Operating Officer and Murdock’s top lieutenant – had engaged in fraud and other
       misconduct in connection with the buyout and are liable to Dole’s former stockholders for over $148
       million, the largest trial verdict ever in a class action challenging a merger transaction.

       In re Rural Metro Corp. Stockholders Litig., No. 6350-VCL (Del. Ch.). Robbins Geller and co-
       counsel were appointed lead counsel in this case after successfully objecting to an inadequate
       settlement that did not take into account evidence of defendants’ conflicts of interest. In a post-trial
       opinion, Delaware Vice Chancellor J. Travis Laster found defendant RBC Capital Markets, LLC liable for
       aiding and abetting Rural/Metro’s board of directors’ fiduciary duty breaches in the $438 million buyout
       of Rural/Metro, citing “the magnitude of the conflict between RBC’s claims and the evidence.” RBC
       was ordered to pay nearly $110 million as a result of its wrongdoing, the largest damage award ever
       obtained against a bank over its role as a merger adviser. The Delaware Supreme Court issued a
       landmark opinion affirming the judgment on November 30, 2015, RBC Capital Mkts., LLC v. Jervis,
       129 A.3d 816 (Del. 2015).

       In re Del Monte Foods Co. S’holders Litig., No. 6027-VCL (Del. Ch.). Robbins Geller exposed
       the unseemly practice by investment bankers of participating on both sides of large merger and
       acquisition transactions and ultimately secured an $89 million settlement for shareholders of Del
       Monte. For efforts in achieving these results, the Robbins Geller lawyers prosecuting the case were
       named Attorneys of the Year by California Lawyer magazine in 2012.

       In re TD Banknorth S’holders Litig., No. 2557-VCL (Del. Ch.). After objecting to a modest
       recovery of just a few cents per share, the Firm took over the litigation and obtained a common fund
       settlement of $50 million.

       In re Chaparral Res., Inc. S’holders Litig., No. 2633-VCL (Del. Ch.). After a full trial and a
       subsequent mediation before the Delaware Chancellor, the Firm obtained a common fund settlement of
       $41 million (or 45% increase above merger price) for both class and appraisal claims.

       Laborers’ Local #231 Pension Fund v. Websense, Inc., No. 37-2013-00050879-CU-BT-CTL
       (Cal. Super. Ct., San Diego Cty.). Robbins Geller successfully obtained a record-breaking $40 million
       in Websense, Inc., which is believed to be the largest post-merger common fund settlement in
       California state court history. The class action challenged the May 2013 buyout of Websense by Vista
       Equity Partners (and affiliates) for $24.75 per share and alleged breach of fiduciary duty against the
       former Websense Board of Directors, and aiding and abetting against Websense’s financial advisor,
       Merrill Lynch, Pierce, Fenner & Smith, Inc. Claims were pursued by the plaintiff in both California state
       court and the Delaware Court of Chancery.

       In re Onyx Pharm., Inc. S’holder Litig., No. CIV523789 (Cal. Super. Ct., San Mateo Cty.).
       Robbins Geller obtained $30 million in a case against the former Onyx Board of Directors for breaching
       its fiduciary duties in connection with the acquisition of Onyx by Amgen Inc. for $125 per share at the
       expense of shareholders. At the time of the settlement, it was believed to set the record for the largest
       post-merger common fund settlement in California state court history. Over the case’s three years,


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         Robbins Geller defeated defendants’ motions to dismiss, obtained class certification, took over 20
         depositions and reviewed over one million pages of documents. Further, the settlement was reached
         just days before a hearing on the defendants’ motion for summary judgment was set to take place, and
         the result is now believed to be the second largest post-merger common fund settlement in California
         state court history.

         Harrah’s Entertainment, No. A529183 (Nev. Dist. Ct., Clark Cty.). The Firm’s active prosecution of
         the case on several fronts, both in federal and state court, assisted Harrah’s shareholders in securing
         an additional $1.65 billion in merger consideration.

         In re Chiron S’holder Deal Litig., No. RG 05-230567 (Cal. Super. Ct., Alameda Cty.). The Firm’s
         efforts helped to obtain an additional $800 million in increased merger consideration for Chiron
         shareholders.

         In re Dollar Gen. Corp. S’holder Litig., No. 07MD-1 (Tenn. Cir. Ct., Davidson Cty.). As lead
         counsel, the Firm secured a recovery of up to $57 million in cash for former Dollar General
         shareholders on the eve of trial.

         In re Prime Hospitality, Inc. S’holders Litig., No. 652-N (Del. Ch.). The Firm objected to a
         settlement that was unfair to the class and proceeded to litigate breach of fiduciary duty issues
         involving a sale of hotels to a private equity firm. The litigation yielded a common fund of $25 million for
         shareholders.

         In re UnitedGlobalCom, Inc. S’holder Litig., No. 1012-VCS (Del. Ch.). The Firm secured a
         common fund settlement of $25 million just weeks before trial.

         In re eMachines, Inc. Merger Litig., No. 01-CC-00156 (Cal. Super. Ct., Orange Cty.). After four
         years of litigation, the Firm secured a common fund settlement of $24 million on the brink of trial.

         In re PeopleSoft, Inc. S’holder Litig., No. RG-03100291 (Cal. Super. Ct., Alameda Cty.). The Firm
         successfully objected to a proposed compromise of class claims arising from takeover defenses by
         PeopleSoft, Inc. to thwart an acquisition by Oracle Corp., resulting in shareholders receiving an
         increase of over $900 million in merger consideration.

         ACS S’holder Litig., No. CC-09-07377-C (Tex. Cty. Ct., Dallas Cty.). The Firm forced ACS’s
         acquirer, Xerox, to make significant concessions by which shareholders would not be locked out of
         receiving more money from another buyer.



 Insurance
 Fraud and collusion in the insurance industry by executives, agents, brokers, lenders and others is one of the
 most costly crimes in the United States. Some experts have estimated the annual cost of white collar crime in
 the insurance industry to be over $120 billion nationally. Recent legislative proposals seek to curtail anti-
 competitive behavior within the industry. However, in the absence of comprehensive regulation, Robbins Geller
 has played a critical role as private attorney general in protecting the rights of consumers against insurance
 fraud and other unfair business practices within the insurance industry.

 Robbins Geller attorneys have long been at the forefront of litigating race discrimination issues within the life
 insurance industry. For example, the Firm has fought the practice by certain insurers of charging African-
 Americans and other people of color more for life insurance than similarly situated Caucasians. The Firm


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 recovered over $400 million for African-Americans and other minorities as redress for civil rights abuses,
 including landmark recoveries in McNeil v. American General Life & Accident Insurance Company; Thompson
 v. Metropolitan Life Insurance Company; and Williams v. United Insurance Company of America.

 The Firm’s attorneys fight on behalf of elderly victims targeted for the sale of deferred annuity products with
 hidden sales loads and illusory bonus features. Sales agents for life insurance companies such as Allianz Life
 Insurance Company of North America, Midland National Life Insurance Company, and National Western Life
 Insurance Company targeted senior citizens for these annuities with lengthy investment horizons and high sales
 commissions. The Firm recovered millions of dollars for elderly victims and seeks to ensure that senior citizens
 are afforded full and accurate information regarding deferred annuities.

 Robbins Geller attorneys also stopped the fraudulent sale of life insurance policies based on misrepresentations
 about how the life insurance policy would perform, the costs of the policy, and whether premiums would
 “vanish.” Purchasers were also misled about the financing of a new life insurance policy, falling victim to a
 “replacement” or “churning” sales scheme where they were convinced to use loans, partial surrenders or
 withdrawals of cash values from an existing permanent life insurance policy to purchase a new policy.

         Brokerage “Pay to Play” Cases. On behalf of individuals, governmental entities, businesses, and
         non-profits, Robbins Geller has sued the largest commercial and employee benefit insurance brokers
         and insurers for unfair and deceptive business practices. While purporting to provide independent,
         unbiased advice as to the best policy, the brokers failed to adequately disclose that they had entered
         into separate “pay to play” agreements with certain third-party insurance companies. These agreements
         provide additional compensation to the brokers based on such factors as profitability, growth and the
         volume of insurance that they place with a particular insurer, and are akin to a profit-sharing
         arrangement between the brokers and the insurance companies. These agreements create a conflict of
         interest since the brokers have a direct financial interest in selling their customers only the insurance
         products offered by those insurance companies with which the brokers have such agreements.

         Robbins Geller attorneys were among the first to uncover and pursue the allegations of these practices
         in the insurance industry in both state and federal courts. On behalf of the California Insurance
         Commissioner, the Firm brought an injunctive case against the biggest employee benefit insurers and
         local San Diego brokerage, ULR, which resulted in major changes to the way they did business. The
         Firm also sued on behalf of the City and County of San Francisco to recover losses due to these
         practices. Finally, Robbins Geller represents a putative nationwide class of individuals, businesses,
         employers, and governmental entities against the largest brokerage houses and insurers in the nation.
         To date, the Firm has obtained over $200 million on behalf of policyholders and enacted landmark
         business reforms.

         Discriminatory Credit Scoring and Redlining Cases. Robbins Geller attorneys have prosecuted
         cases concerning countrywide schemes of alleged discrimination carried out by Nationwide, Allstate,
         and other insurance companies against African-American and other persons of color who are
         purchasers of homeowner and automobile insurance policies. Such discrimination includes alleged
         redlining and the improper use of “credit scores,” which disparately impact minority communities.
         Plaintiffs in these actions have alleged that the insurance companies’ corporate-driven scheme of
         intentional racial discrimination includes refusing coverage and/or charging them higher premiums for
         homeowners and automobile insurance. On behalf of the class of aggrieved policyholders, the Firm has
         recovered over $400 million for these predatory and racist policies.

         Senior Annuities. Robbins Geller has prosecuted numerous cases against insurance companies and
         their agents who targeted senior citizens for the sale of deferred annuities. Plaintiffs alleged that the
         insurers misrepresented or failed to disclose to senior consumers material facts concerning the costs
         associated with their fixed and equity indexed deferred annuities and enticed seniors to buy the


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         annuities by promising them illusory up-front bonuses. As a result of the Firm’s efforts, hundreds of
         millions of dollars in economic relief has been made available to seniors who have been harmed by
         these practices. Notable recoveries include:

                 Negrete v. Allianz Life Ins. Co. of N. Am., No. CV-05-6838 (C.D. Cal.). Robbins Geller
                 attorneys served as co-lead counsel on behalf of a nationwide RICO class consisting of over
                 200,000 senior citizens who had purchased deferred annuities issued by Allianz Life Insurance
                 Company of North America. In March 2015, after nine years of litigation, District Judge
                 Christina A. Snyder granted final approval of a class action settlement that made available in
                 excess of $250 million in cash payments and other benefits to class members. In approving
                 the settlement, the Court praised the effort of the Firm and noted that “counsel has represented
                 their clients with great skill and they are to be complimented.”

                 In re Am. Equity Annuity Practices & Sales Litig., No. CV-05-6735 (C.D. Cal.). As co-
                 lead counsel, Robbins Geller attorneys secured a settlement that made available $129 million
                 in economic benefits to a nationwide class of 114,000 senior citizens.

                 In re Midland Nat’l Life Ins. Co. Annuity Sales Practices Litig., MDL No. 07-1825 (C.D.
                 Cal.). After four years of litigation, the Firm secured a settlement that made available $79.5
                 million in economic benefits to a nationwide class of 70,000 senior citizens.

                 Negrete v. Fidelity & Guar. Life Ins. Co., No. CV-05-6837 (C.D. Cal.). The Firm’s efforts
                 resulted in a settlement under which Fidelity made available $52.7 in benefits to 56,000 class
                 members across the country.

                 In re Nat’l Western Life Ins. Deferred Annuities Litig., No. 05-CV-1018 (S.D. Cal.). The
                 Firm litigated this action for more than eight years. On the eve of trial, the Firm negotiated a
                 settlement providing over $21 million in value to a nationwide class of 12,000 senior citizens.



 Antitrust
 Robbins Geller’s antitrust practice focuses on representing businesses and individuals who have been the
 victims of price-fixing, unlawful monopolization, market allocation, tying and other anti-competitive conduct. The
 Firm has taken a leading role in many of the largest federal and state price-fixing, monopolization, market
 allocation and tying cases throughout the United States.

         Dahl v. Bain Capital Partners, LLC, No. 07-cv-12388-EFH (D. Mass). Robbins Geller attorneys
         served as co-lead counsel on behalf of shareholders in this antitrust action against the nation’s largest
         private equity firms that colluded to restrain competition and suppress prices paid to shareholders of
         public companies in connection with leveraged buyouts. Robbins Geller attorneys recovered more than
         $590 million for the class from the private equity firm defendants, including Goldman Sachs Group Inc.
         and Carlyle Group LP.

         Alaska Elec. Pension Fund v. Bank of America Corp., No. 14-cv-07126-JMF (S.D.N.Y.).
         Robbins Geller attorneys are prosecuting antitrust claims against 13 major banks and broker ICAP plc
         who are alleged to have conspired to manipulate the ISDAfix rate, the key interest rate for a broad range
         of interest rate derivatives and other financial instruments in contravention of the competition laws. The
         class action is brought on behalf of investors and market participants who entered into interest rate
         derivative transactions between 2006 and 2014. Settlements with eight defendants have collectively
         yielded more than $400 million on behalf of investors.


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         In re Currency Conversion Fee Antitrust Litig., 01 MDL No. 1409 (S.D.N.Y.). Robbins
         Geller attorneys served as lead counsel and recovered $336 million for a class of credit and debit
         cardholders. The court praised the Firm as “indefatigable,” noting that the Firm’s lawyers “vigorously
         litigated every issue against some of the ablest lawyers in the antitrust defense bar.”

         Sheet Metal Workers Pension Plan of Northern California v. Bank of America Corporation,
         No. 1:16-cv-04603-ER (S.D.N.Y.). Robbins Geller attorneys are serving as co-lead counsel in a case
         against several of the world’s largest banks and the traders of certain specialized government bonds.
         They are alleged to have entered into a wide-ranging price-fixing and bid-rigging scheme costing
         pension funds and other investors hundreds of millions. To date, two of the more than a dozen
         corporate defendants have settled for more than $65 million.

         In re Aftermarket Automotive Lighting Products Antitrust Litig., 09 MDL No. 2007 (C.D.
         Cal.). Robbins Geller attorneys are co-lead counsel in this multi-district litigation in which plaintiffs
         allege that defendants conspired to fix prices and allocate markets for automotive lighting products.
         The last defendants settled just before the scheduled trial, resulting in total settlements of more than
         $50 million. Commenting on the quality of representation, the court commended the Firm for
         “expend[ing] substantial and skilled time and efforts in an efficient manner to bring this action to
         conclusion.”

         In re Dig. Music Antitrust Litig., 06 MDL No. 1780 (S.D.N.Y.). Robbins Geller attorneys are co-
         lead counsel in an action against the major music labels (Sony-BMG, EMI, Universal and Warner Music
         Group) in a case involving music that can be downloaded digitally from the Internet. Plaintiffs allege
         that defendants restrained the development of digital downloads and agreed to fix the distribution price
         of digital downloads at supracompetitive prices. Plaintiffs also allege that as a result of defendants’
         restraint of the development of digital downloads, and the market and price for downloads, defendants
         were able to maintain the prices of their CDs at supracompetitive levels. The Second Circuit Court of
         Appeals upheld plaintiffs’ complaint, reversing the trial court’s dismissal. Discovery is ongoing.

         In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 02 MDL No. 1486 (N.D.
         Cal.). Robbins Geller attorneys served on the executive committee in this multi-district class action in
         which a class of purchasers of dynamic random access memory (or DRAM) chips alleged that the
         leading manufacturers of semiconductor products fixed the price of DRAM chips from the fall of 2001
         through at least the end of June 2002. The case settled for more than $300 million.

         Microsoft I-V Cases, JCCP No. 4106 (Cal. Super. Ct., San Francisco Cty.). Robbins Geller
         attorneys served on the executive committee in these consolidated cases in which California indirect
         purchasers challenged Microsoft’s illegal exercise of monopoly power in the operating system, word
         processing and spreadsheet markets. In a settlement approved by the court, class counsel obtained an
         unprecedented $1.1 billion worth of relief for the business and consumer class members who
         purchased the Microsoft products.



 Consumer Fraud
 In our consumer-based economy, working families who purchase products and services must receive truthful
 information so they can make meaningful choices about how to spend their hard-earned money. When financial
 institutions and other corporations deceive consumers or take advantage of unequal bargaining power, class
 action suits provide, in many instances, the only realistic means for an individual to right a corporate wrong.




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 Robbins Geller attorneys represent consumers around the country in a variety of important, complex class
 actions. Our attorneys have taken a leading role in many of the largest federal and state consumer fraud,
 environmental, human rights and public health cases throughout the United States. The Firm is also actively
 involved in many cases relating to banks and the financial services industry, pursuing claims on behalf of
 individuals victimized by abusive telemarketing practices, abusive mortgage lending practices, market timing
 violations in the sale of variable annuities, and deceptive consumer credit lending practices in violation of the
 Truth-In-Lending Act. Below are a few representative samples of our robust, nationwide consumer practice.

         In re Nat’l Prescription Opiate Litig., MDL No. 2804 (N.D. Ohio). Robbins Geller serves on the
         Plaintiffs’ Executive Committee to spearhead more than 200 federal lawsuits brought on behalf of
         governmental entities and other plaintiffs in the sprawling litigation concerning the nationwide
         prescription opioid epidemic. In reporting on the selection of the lawyers to lead the case, The National
         Law Journal reported that “[t]he team reads like a ‘Who’s Who’ in mass torts.”

         Apple Inc. Device Performance Litigation. Robbins Geller serves on the Plaintiffs’ Executive
         Committee to advance judicial interests of efficiency and protect the interests of the proposed class in
         the Apple Inc. litigation. The case alleges Apple Inc. misrepresented its iPhone devices and the nature
         of updates to its mobile operating system (iOS), which allegedly included code that significantly
         reduced the performance of older-model iPhones and forced users to incur expenses replacing these
         devices or their batteries.

         In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liab. Litig., No.
         15-md-2672 (N.D. Cal.). As part of the Plaintiffs’ Steering Committee, Robbins Geller reached a
         series of settlements on behalf of purchasers, lessees and dealers that total well over $17 billion, the
         largest settlement in history, concerning illegal “defeat devices” that Volkswagen installed on many of its
         diesel-engine vehicles. The device tricked regulators into believing the cars were complying with
         emissions standards, while the cars were actually emitting between 10 and 40 times the allowable limit
         for harmful pollutants.

         Trump University. After six and half years of tireless litigation and on the eve of trial, Robbins Geller,
         serving as co-lead counsel, secured a historic recovery on behalf of Trump University students around
         the country. The settlement provides $25 million to approximately 7,000 consumers, including senior
         citizens who accessed retirement accounts and maxed out credit cards to enroll in Trump University.
         The extraordinary result means individual class members will be eligible for upwards of $35,000 in
         restitution. The settlement resolves claims that President Donald J. Trump and Trump University
         violated federal and state laws by misleadingly marketing “Live Events” seminars and mentorships as
         teaching Trump’s “real-estate techniques” through his “hand-picked” “professors” at his so-called
         “university.” Robbins Geller represented the class on a pro bono basis.

         Bank Overdraft Fees Litigation. The banking industry charges consumers exorbitant amounts for
         “overdraft” of their checking accounts, even if the customer did not authorize a charge beyond the
         available balance and even if the account would not have been overdrawn had the transactions been
         ordered chronologically as they occurred – that is, banks reorder transactions to maximize such fees.
         The Firm brought lawsuits against major banks to stop this practice and recover these false fees.
         These cases have recovered over $500 million thus far from a dozen banks and we continue to
         investigate other banks engaging in this practice.

         Schwartz v. Visa Int’l, No. 822404-4 (Cal. Super. Ct., Alameda Cty.). After years of litigation and a
         six-month trial, Robbins Geller attorneys won one of the largest consumer-protection verdicts ever
         awarded in the United States. The Firm’s attorneys represented California consumers in an action
         against Visa and MasterCard for intentionally imposing and concealing a fee from cardholders. The
         court ordered Visa and MasterCard to return $800 million in cardholder losses, which represented


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         100% of the amount illegally taken, plus 2% interest. In addition, the court ordered full disclosure of
         the hidden fee.

         West Telemarketing Case. Robbins Geller attorneys secured a $39 million settlement for class
         members caught up in a telemarketing scheme where consumers were charged for an unwanted
         membership program after purchasing Tae-Bo exercise videos. Under the settlement, consumers were
         entitled to claim between one and one-half to three times the amount of all fees they unknowingly paid.

         Dannon Activia®. Robbins Geller attorneys secured the largest ever settlement for a false
         advertising case involving a food product. The case alleged that Dannon’s advertising for its Activia®
         and DanActive® branded products and their benefits from “probiotic” bacteria were overstated. As part
         of the nationwide settlement, Dannon agreed to modify its advertising and establish a fund of up to $45
         million to compensate consumers for their purchases of Activia® and DanActive®.

         Mattel Lead Paint Toys. In 2006-2007, toy manufacturing giant Mattel and its subsidiary Fisher-
         Price announced the recall of over 14 million toys made in China due to hazardous lead and dangerous
         magnets. Robbins Geller attorneys filed lawsuits on behalf of millions of parents and other consumers
         who purchased or received toys for children that were marketed as safe but were later recalled
         because they were dangerous. The Firm’s attorneys reached a landmark settlement for millions of
         dollars in refunds and lead testing reimbursements, as well as important testing requirements to ensure
         that Mattel’s toys are safe for consumers in the future.

         Tenet Healthcare Cases. Robbins Geller attorneys were co-lead counsel in a class action alleging
         a fraudulent scheme of corporate misconduct, resulting in the overcharging of uninsured patients by the
         Tenet chain of hospitals. The Firm’s attorneys represented uninsured patients of Tenet hospitals
         nationwide who were overcharged by Tenet’s admittedly “aggressive pricing strategy,” which resulted in
         price gouging of the uninsured. The case was settled with Tenet changing its practices and making
         refunds to patients.

         Pet Food Products Liability Litigation. Robbins Geller served as co-lead counsel in this massive,
         100+ case products liability MDL in the District of New Jersey concerning the death of and injury to
         thousands of the nation’s cats and dogs due to tainted pet food. The case settled for $24 million.

         In re Sony Gaming Networks & Customer Data Sec. Breach Litig., No. 3:11-md-2258-AJB
         (MDD) (S.D. Cal.). The Firm served as a member of the Plaintiffs’ Steering Committee, helping to
         obtain a precedential opinion denying in part Sony’s motion to dismiss plaintiffs’ claims involving the
         breach of Sony’s gaming network, leading to a pending $15 million settlement.



 Intellectual Property
 Individual inventors, universities, and research organizations provide the fundamental research behind many
 existing and emerging technologies. Every year, the majority of U.S. patents are issued to this group of
 inventors. Through this fundamental research, these inventors provide a significant competitive advantage to
 this country. Unfortunately, while responsible for most of the inventions that issue into U.S. patents every year,
 individual inventors, universities and research organizations receive very little of the licensing revenues for U.S.
 patents. Large companies reap 99% of all patent licensing revenues.

 Robbins Geller enforces the rights of these inventors by filing and litigating patent infringement cases against
 infringing entities. Our attorneys have decades of patent litigation experience in a variety of technical
 applications. This experience, combined with the Firm’s extensive resources, gives individual inventors the


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 ability to enforce their patent rights against even the largest infringing companies.

 Our attorneys have experience handling cases involving a broad range of technologies, including:

         biochemistry
         telecommunications
         medical devices
         medical diagnostics
         networking systems
         computer hardware devices and software
         mechanical devices
         video gaming technologies
         audio and video recording devices



 Human Rights, Labor Practices and Public Policy
 Robbins Geller attorneys have a long tradition of representing the victims of unfair labor practices and violations
 of human rights. These include:

         Does I v. The Gap, Inc., No. 01 0031 (D. N. Mar. I.). In this groundbreaking case, Robbins Geller
         attorneys represented a class of 30,000 garment workers who alleged that they had worked under
         sweatshop conditions in garment factories in Saipan that produced clothing for top U.S. retailers such
         as The Gap, Target and J.C. Penney. In the first action of its kind, Robbins Geller attorneys pursued
         claims against the factories and the retailers alleging violations of RICO, the Alien Tort Claims Act, and
         the Law of Nations based on the alleged systemic labor and human rights abuses occurring in Saipan.
         This case was a companion to two other actions: Does I v. Advance Textile Corp., No. 99 0002 (D.
         N. Mar. I.), which alleged overtime violations by the garment factories under the Fair Labor Standards
         Act and local labor law, and UNITE v. The Gap, Inc., No. 300474 (Cal. Super. Ct., San Francisco
         Cty.), which alleged violations of California’s Unfair Practices Law by the U.S. retailers. These actions
         resulted in a settlement of approximately $20 million that included a comprehensive monitoring program
         to address past violations by the factories and prevent future ones. The members of the litigation team
         were honored as Trial Lawyers of the Year by the Trial Lawyers for Public Justice in recognition of the
         team’s efforts at bringing about the precedent-setting settlement of the actions.

         Liberty Mutual Overtime Cases, No. JCCP 4234 (Cal. Super. Ct., Los Angeles Cty.). Robbins
         Geller attorneys served as co-lead counsel on behalf of 1,600 current and former insurance claims
         adjusters at Liberty Mutual Insurance Company and several of its subsidiaries. Plaintiffs brought the
         case to recover unpaid overtime compensation and associated penalties, alleging that Liberty Mutual
         had misclassified its claims adjusters as exempt from overtime under California law. After 13 years of
         complex and exhaustive litigation, Robbins Geller secured a settlement in which Liberty Mutual agreed
         to pay $65 million into a fund to compensate the class of claims adjusters for unpaid overtime. The
         Liberty Mutual action is one of a few claims adjuster overtime actions brought in California or elsewhere
         to result in a successful outcome for plaintiffs since 2004.

         Veliz v. Cintas Corp., No. 5:03-cv-01180 (N.D. Cal.). Brought against one of the nation’s largest
         commercial laundries for violations of the Fair Labor Standards Act for misclassifying truck drivers as
         salesmen to avoid payment of overtime.

         Kasky v. Nike, Inc., 27 Cal. 4th 939 (2002). The California Supreme Court upheld claims that an
         apparel manufacturer misled the public regarding its exploitative labor practices, thereby violating


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         California statutes prohibiting unfair competition and false advertising. The Court rejected defense
         contentions that any misconduct was protected by the First Amendment, finding the heightened
         constitutional protection afforded to noncommercial speech inappropriate in such a circumstance.

 Shareholder derivative litigation brought by Robbins Geller attorneys at times also involves stopping anti-union
 activities, including:

         Southern Pacific/Overnite. A shareholder action stemming from several hundred million dollars in
         loss of value in the company due to systematic violations by Overnite of U.S. labor laws.

         Massey Energy. A shareholder action against an anti-union employer for flagrant violations of
         environmental laws resulting in multi-million-dollar penalties.

         Crown Petroleum. A shareholder action against a Texas-based oil company for self-dealing and
         breach of fiduciary duty while also involved in a union lockout.



 Environment and Public Health
 Robbins Geller attorneys have also represented plaintiffs in class actions related to environmental law. The
 Firm’s attorneys represented, on a pro bono basis, the Sierra Club and the National Economic Development and
 Law Center as amici curiae in a federal suit designed to uphold the federal and state use of project labor
 agreements (“PLAs”). The suit represented a legal challenge to President Bush’s Executive Order 13202,
 which prohibits the use of project labor agreements on construction projects receiving federal funds. Our amici
 brief in the matter outlined and stressed the significant environmental and socio-economic benefits associated
 with the use of PLAs on large-scale construction projects.

 Attorneys with Robbins Geller have been involved in several other significant environmental cases, including:

         Public Citizen v. U.S. D.O.T. Robbins Geller attorneys represented a coalition of labor,
         environmental, industry and public health organizations including Public Citizen, The International
         Brotherhood of Teamsters, California AFL-CIO and California Trucking Industry in a challenge to a
         decision by the Bush administration to lift a Congressionally-imposed “moratorium” on cross-border
         trucking from Mexico on the basis that such trucks do not conform to emission controls under the
         Clean Air Act, and further, that the administration did not first complete a comprehensive environmental
         impact analysis as required by the National Environmental Policy Act. The suit was dismissed by the
         United States Supreme Court, the Court holding that because the D.O.T. lacked discretion to prevent
         crossborder trucking, an environmental assessment was not required.

         Sierra Club v. AK Steel. Brought on behalf of the Sierra Club for massive emissions of air and water
         pollution by a steel mill, including homes of workers living in the adjacent communities, in violation of the
         Federal Clean Air Act, Resource Conservation Recovery Act and the Clean Water Act.

         MTBE Litigation. Brought on behalf of various water districts for befouling public drinking water with
         MTBE, a gasoline additive linked to cancer.

         Exxon Valdez. Brought on behalf of fisherman and Alaska residents for billions of dollars in damages
         resulting from the greatest oil spill in U.S. history.

         Avila Beach. A citizens’ suit against UNOCAL for leakage from the oil company pipeline so severe it
         literally destroyed the town of Avila Beach, California.


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 Federal laws such as the Clean Water Act, the Clean Air Act, and the Resource Conservation and Recovery
 Act and state laws such as California’s Proposition 65 exist to protect the environment and the public from
 abuses by corporate and government organizations. Companies can be found liable for negligence, trespass or
 intentional environmental damage, be forced to pay for reparations and to come into compliance with existing
 laws. Prominent cases litigated by Robbins Geller attorneys include representing more than 4,000 individuals
 suing for personal injury and property damage related to the Stringfellow Dump Site in Southern California,
 participation in the Exxon Valdez oil spill litigation, and litigation involving the toxic spill arising from a Southern
 Pacific train derailment near Dunsmuir, California.

 Robbins Geller attorneys have led the fight against Big Tobacco since 1991. As an example, Robbins Geller
 attorneys filed the case that helped get rid of Joe Camel, representing various public and private plaintiffs,
 including the State of Arkansas, the general public in California, the cities of San Francisco, Los Angeles and
 Birmingham, 14 counties in California, and the working men and women of this country in the Union Pension
 and Welfare Fund cases that have been filed in 40 states. In 1992, Robbins Geller attorneys filed the first case
 in the country that alleged a conspiracy by the Big Tobacco companies.



 Pro Bono
 Robbins Geller provides counsel to those unable to afford legal representation as part of a continuous and
 longstanding commitment to the communities in which it serves. Over the years the Firm has dedicated a
 considerable amount of time, energy, and a full range of its resources for many pro bono and charitable actions.

 Robbins Geller has been honored for its pro bono efforts by the California State Bar (including a nomination for
 the President’s Pro Bono Law Firm of the Year award) and the San Diego Volunteer Lawyer’s Program, among
 others.

 Some of the Firm’s and its attorneys’ pro bono and charitable actions include:

         Representing Trump University students in two class actions against President Donald J. Trump. The
         historic settlement provides $25 million to approximately 7,000 consumers. This means individual class
         members will be eligible for upwards of $35,000 in restitution – an extraordinary result.

         Representing children diagnosed with Autism Spectrum Disorder, as well as children with significant
         disabilities, in New York to remedy flawed educational policies and practices that cause substantial
         harm to these and other similar children year after year.

         Representing 19 San Diego County children diagnosed with Autism Spectrum Disorder in their appeal
         of the San Diego Regional Center’s termination of funding for a crucial therapy. The victory resulted in a
         complete reinstatement of funding and set a precedent that allows other children to obtain the
         treatments they need.

         Serving as Northern California and Hawaii District Coordinator for the United States Court of Appeals
         for the Ninth Circuit’s Pro Bono program since 1993.

         Representing the Sierra Club and the National Economic Development and Law Center as amici curiae
         before the U.S. Supreme Court.

         Obtaining political asylum, after an initial application had been denied, for an impoverished Somali
         family whose ethnic minority faced systematic persecution and genocidal violence in Somalia, as well as
         forced female mutilation.


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         Working with the ACLU in a class action filed on behalf of welfare applicants subject to San Diego
         County’s “Project 100%” program. Relief was had when the County admitted that food-stamp eligibility
         could not hinge upon the Project 100% “home visits,” and again when the district court ruled that
         unconsented “collateral contacts” violated state regulations. The decision was noted by the Harvard
         Law Review, The New York Times and The Colbert Report.

         Filing numerous amicus curiae briefs on behalf of religious organizations and clergy that support civil
         rights, oppose government-backed religious-viewpoint discrimination, and uphold the American
         traditions of religious freedom and church-state separation.

         Serving as amicus counsel in a Ninth Circuit appeal from a Board of Immigration Appeals deportation
         decision. In addition to obtaining a reversal of the BIA’s deportation order, the Firm consulted with the
         Federal Defenders’ Office on cases presenting similar fact patterns, which resulted in a precedent-
         setting en banc decision from the Ninth Circuit resolving a question of state and federal law that had
         been contested and conflicted for decades.



 E-Discovery
 Robbins Geller has successfully litigated some of the largest and most complex shareholder and antitrust
 actions in history and has become the vanguard of a rapidly evolving world of e-discovery in complex litigation.
 The Firm has 200 attorneys supported by a large staff of forensic and e-discovery specialists and has a level of
 technological sophistication that is unmatched by any other firm. As the size and stakes of complex litigation
 continue to increase, it is more important than ever to retain counsel with a successful track record of results.
 Robbins Geller has consistently proven to be the right choice for anyone seeking representation in actions
 against the largest corporations in the world.

 Led by 20-year litigation veteran Tor Gronborg, and advised by Lea Bays, e-discovery counsel, and Christine
 Milliron, Director of E-Discovery and Litigation Support, the Robbins Geller e-discovery practice group is a multi-
 disciplinary team of attorneys, forensic analysts and database professionals. No plaintiffs’ firm is better
 equipped to develop the type of comprehensive and case specific e-discovery strategy that is necessary for
 today’s complex litigation. The attorneys have extensive knowledge and experience in drafting and negotiating
 sophisticated e-discovery protocols, including those involving the use of predictive coding. High quality
 document review services are performed by a consistent group of staff attorneys who are experienced in the
 Firm’s litigation practice areas and specialize in document review and analysis. A team of forensic and
 technology professionals work closely with the attorneys to ensure an effective and efficient e-discovery
 strategy. The litigation support team includes six Relativity Certified Administrators. Collectively, the Robbins
 Geller forensic and technology professionals have more than 75 years of e-discovery experience.

 Members of the practice group are also leaders in shaping the broader dialogue on e-discovery issues. They
 regularly contribute to industry publications, speak at conferences organized by leading e-discovery think tanks
 such as The Sedona Conference and Georgetown University Law Center’s Advanced eDiscovery Institute, and
 play prominent roles in the local chapters of Women in eDiscovery and the Relativity Users Steering
 Committee. The e-discovery practice group also offers regular in-house training and education, ensuring that
 members of the Firm are always up-to-date on the evolving world of e-discovery law and technology.

 Robbins Geller has always been a leader in document-intensive litigation. Boasting high-performing
 infrastructure resources, state-of-the-art technology, and a deep bench of some of the most highly trained
 Relativity Certified Administrators and network engineers, the Firm’s capabilities rival, if not outshine, those of
 the top e-discovery vendors in the industry. Additionally, the Firm’s implementation of advanced analytic
 technologies and custom workflows makes its work fast, smart and efficient. Combined with Robbins Geller’s


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 decision to manage and host its litigation support in-house, these technologies reduce the Firm’s reliance on
 third-party vendors, enabling it to offer top-notch e-discovery services to clients at a fair and reasonable cost.

 Security is a top priority at Robbins Geller. The Firm’s hosted e-discovery is secured using bank-level 128
 encryption and is protected behind state-of-the-art Cisco firewalls. All e-discovery data is hosted on Firm-
 owned equipment at an SSAE 16-compliant, SOC 1, 2, and 3 audited facility that features 9.1 megawatts of
 power, N+1 or better redundancy on all data center systems, and security protocols required by leading
 businesses in the most stringent verticals. Originally designed to support a large defense contractor, it is built
 to rigorous standards, complete with redundant power and cooling systems plus multiple generators.




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 Prominent Cases, Precedent-Setting Decisions and Judicial Commendations
 Prominent Cases
 Over the years, Robbins Geller attorneys have obtained outstanding results in some of the most notorious and
 well-known cases, frequently earning judicial commendations for the quality of their representation.

         In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D. Tex.). Investors lost billions of dollars as a result
         of the massive fraud at Enron. In appointing Robbins Geller lawyers as sole lead counsel to represent
         the interests of Enron investors, the court found that the Firm’s zealous prosecution and level of “insight”
         set it apart from its peers. Robbins Geller attorneys and lead plaintiff The Regents of the University of
         California aggressively pursued numerous defendants, including many of Wall Street’s biggest banks,
         and successfully obtained settlements in excess of $7.2 billion for the benefit of investors. This is
         the largest securities class action recovery in history.

         The court overseeing this action had utmost praise for Robbins Geller’s efforts and stated that “[t]he
         experience, ability, and reputation of the attorneys of [Robbins Geller] is not disputed; it is one of the
         most successful law firms in securities class actions, if not the preeminent one, in the country.” In re
         Enron Corp. Sec., Derivative & “ERISA” Litig., 586 F. Supp. 2d 732, 797 (S.D. Tex. 2008).

         The court further commented: “[I]n the face of extraordinary obstacles, the skills, expertise, commitment,
         and tenacity of [Robbins Geller] in this litigation cannot be overstated. Not to be overlooked are the
         unparalleled results, . . . which demonstrate counsel’s clearly superlative litigating and negotiating
         skills.” Id. at 789.

         The court stated that the Firm’s attorneys “are to be commended for their zealousness, their diligence,
         their perseverance, their creativity, the enormous breadth and depth of their investigations and analysis,
         and their expertise in all areas of securities law on behalf of the proposed class.” Id.

         In addition, the court noted, “This Court considers [Robbins Geller] ‘a lion’ at the securities bar on the
         national level,” noting that the Lead Plaintiff selected Robbins Geller because of the Firm’s “outstanding
         reputation, experience, and success in securities litigation nationwide.” Id. at 790.

         The court further stated that “Lead Counsel’s fearsome reputation and successful track record
         undoubtedly were substantial factors in . . . obtaining these recoveries.” Id.

         Finally, Judge Harmon stated: “As this Court has explained [this is] an extraordinary group of attorneys
         who achieved the largest settlement fund ever despite the great odds against them.” Id. at 828.

         Jaffe v. Household Int’l, Inc., No. 02-C-05893 (N.D. Ill). As sole lead counsel, Robbins Geller
         obtained a record-breaking settlement of $1.575 billion after 14 years of litigation, including a six-
         week jury trial in 2009 that resulted in a securities fraud verdict in favor of the class. In 2015, the
         Seventh Circuit Court of Appeals upheld the jury’s verdict that defendants made false or misleading
         statements of material fact about the company’s business practices and financial results, but remanded
         the case for a new trial on the issue of whether the individual defendants “made” certain false
         statements, whether those false statements caused plaintiffs’ losses, and the amount of damages. The
         parties reached an agreement to settle the case just hours before the retrial was scheduled to begin on
         June 6, 2016. The $1.575 billion settlement, approved in October 2016, is the largest ever
         following a securities fraud class action trial, the largest securities fraud settlement in
         the Seventh Circuit and the seventh-largest settlement ever in a post-PSLRA securities


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       fraud case. According to published reports, the case was just the seventh securities fraud case tried
       to a verdict since the passage of the PSLRA.

       In approving the settlement, the Honorable Jorge L. Alonso noted the team’s “skill and determination”
       while recognizing that “Lead Counsel prosecuted the case vigorously and skillfully over 14 years against
       nine of the country’s most prominent law firms” and “achieved an exceptionally significant recovery for
       the class.” The court added that the team faced “significant hurdles” and “uphill battles” throughout the
       case and recognized that “[c]lass counsel performed a very high-quality legal work in the context of a
       thorny case in which the state of the law has been and is in flux.” The court succinctly concluded that
       the settlement was “a spectacular result for the class.” Jaffe v. Household Int’l, Inc., No. 02-C-5892,
       2016 U.S. Dist. LEXIS 156921, at *8 (N.D. Ill. Nov. 10, 2016); Jaffe v. Household Int’l, Inc., No.
       02-C-05893, Transcript at 56, 65 (N.D. Ill. Oct. 20, 2016).

       In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). In the UnitedHealth case,
       Robbins Geller represented the California Public Employees’ Retirement System (“CalPERS”) and
       demonstrated its willingness to vigorously advocate for its institutional clients, even under the most
       difficult circumstances. For example, in 2006, the issue of high-level executives backdating stock
       options made national headlines. During that time, many law firms, including Robbins Geller, brought
       shareholder derivative lawsuits against the companies’ boards of directors for breaches of their
       fiduciary duties or for improperly granting backdated options. Rather than pursuing a shareholder
       derivative case, the Firm filed a securities fraud class action against the company on behalf of
       CalPERS. In doing so, Robbins Geller faced significant and unprecedented legal obstacles with
       respect to loss causation, i.e., that defendants’ actions were responsible for causing the stock losses.
       Despite these legal hurdles, Robbins Geller obtained an $895 million recovery on behalf of the
       UnitedHealth shareholders. Shortly after reaching the $895 million settlement with UnitedHealth, the
       remaining corporate defendants, including former CEO William A. McGuire, also settled. McGuire paid
       $30 million and returned stock options representing more than three million shares to the shareholders.
       The total recovery for the class was over $925 million, the largest stock option backdating recovery
       ever, and a recovery that is more than four times larger than the next largest options
       backdating recovery. Moreover, Robbins Geller obtained unprecedented corporate governance
       reforms, including election of a shareholder-nominated member to the company’s board of directors, a
       mandatory holding period for shares acquired by executives via option exercise, and executive
       compensation reforms that tie pay to performance.

       Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), No. 03 Civ. 8269
       (S.D.N.Y.). Robbins Geller attorneys represented more than 50 private and public institutions that
       opted out of the class action case and sued WorldCom’s bankers, officers and directors, and auditors
       in courts around the country for losses related to WorldCom bond offerings from 1998 to 2001. The
       Firm’s clients included major public institutions from across the country such as CalPERS, CalSTRS,
       the state pension funds of Maine, Illinois, New Mexico and West Virginia, union pension funds, and
       private entities such as AIG and Northwestern Mutual. Robbins Geller attorneys recovered more than
       $650 million for their clients, substantially more than they would have recovered as part of the class.

       Luther v. Countrywide Fin. Corp., No. 12-cv-05125 (C.D. Cal.). Robbins Geller attorneys secured
       a $500 million settlement for institutional and individual investors in what is the largest RMBS
       purchaser class action settlement in history, and one of the largest class action securities settlements
       of all time. The unprecedented settlement resolves claims against Countrywide and Wall Street banks
       that issued the securities. The action was the first securities class action case filed against originators
       and Wall Street banks as a result of the credit crisis. As co-lead counsel Robbins Geller forged
       through six years of hard-fought litigation, oftentimes litigating issues of first impression, in order to
       secure the landmark settlement for its clients and the class.



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       In approving the settlement, Judge Mariana R. Pfaelzer repeatedly complimented plaintiffs’ attorneys,
       noting that it was “beyond serious dispute that Class Counsel has vigorously prosecuted the
       Settlement Actions on both the state and federal level over the last six years.” Judge Pfaelzer also
       commented that “[w]ithout a settlement, these cases would continue indefinitely, resulting in significant
       risks to recovery and continued litigation costs. It is difficult to understate the risks to recovery if
       litigation had continued.” Me. State Ret. Sys. v. Countrywide Fin. Corp., No. 2:10-CV-00302, 2013
       U.S. Dist. LEXIS 179190, at *44, *56 (C.D. Cal. Dec. 5, 2013).

       Judge Pfaelzer further noted that the proposed $500 million settlement represents one of the “largest
       MBS class action settlements to date. Indeed, this settlement easily surpasses the next largest . . .
       MBS settlement.” Id. at *59.

       In re Wachovia Preferred Sec. & Bond/Notes Litig., No. 09-cv-06351 (S.D.N.Y.). In litigation
       over bonds and preferred securities, issued by Wachovia between 2006 and 2008, Robbins Geller and
       co-counsel obtained a significant settlement with Wachovia successor Wells Fargo & Company ($590
       million) and Wachovia auditor KPMG LLP ($37 million). The total settlement – $627 million – is
       one of the largest credit-crisis settlements involving Securities Act claims and one of the
       20 largest securities class action recoveries in history. The settlement is also one of the
       biggest securities class action recoveries arising from the credit crisis.

       As alleged in the complaint, the offering materials for the bonds and preferred securities misstated and
       failed to disclose the true nature and quality of Wachovia’s mortgage loan portfolio, which exposed the
       bank and misled investors to tens of billions of dollars in losses on mortgage-related assets. In reality,
       Wachovia employed high-risk underwriting standards and made loans to subprime borrowers, contrary
       to the offering materials and their statements of “pristine credit quality.” Robbins Geller served as co-
       lead counsel representing the City of Livonia Employees’ Retirement System, Hawaii Sheet Metal
       Workers Pension Fund, and the investor class.

       In re Cardinal Health, Inc. Sec. Litig., No. C2-04-575 (S.D. Ohio). As sole lead counsel
       representing Cardinal Health shareholders, Robbins Geller obtained a recovery of $600 million for
       investors. On behalf of the lead plaintiffs, Amalgamated Bank, the New Mexico State Investment
       Council, and the California Ironworkers Field Trust Fund, the Firm aggressively pursued class claims
       and won notable courtroom victories, including a favorable decision on defendants’ motion to dismiss.
       In re Cardinal Health, Inc. Sec. Litigs., 426 F. Supp. 2d 688 (S.D. Ohio 2006). At the time, the $600
       million settlement was the tenth-largest settlement in the history of securities fraud litigation and is the
       largest-ever recovery in a securities fraud action in the Sixth Circuit. Judge Marbley commented:

                        The quality of representation in this case was superb. Lead Counsel, [Robbins
               Geller], are nationally recognized leaders in complex securities litigation class actions.
               The quality of the representation is demonstrated by the substantial benefit achieved
               for the Class and the efficient, effective prosecution and resolution of this action. Lead
               Counsel defeated a volley of motions to dismiss, thwarting well-formed challenges
               from prominent and capable attorneys from six different law firms.

       In re Cardinal Health Inc. Sec. Litigs., 528 F. Supp. 2d 752, 768 (S.D. Ohio 2007).

       AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles Cty.).
       Robbins Geller represented The Regents of the University of California, six Ohio state pension funds,
       Rabo Bank (NL), the Scottish Widows Investment Partnership, several Australian public and private
       funds, insurance companies, and numerous additional institutional investors, both domestic and
       international, in state and federal court opt-out litigation stemming from Time Warner’s disastrous 2001
       merger with Internet high flier America Online. Robbins Geller attorneys exposed a massive and


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       sophisticated accounting fraud involving America Online’s e-commerce and advertising revenue. After
       almost four years of litigation involving extensive discovery, the Firm secured combined settlements for
       its opt-out clients totaling over $629 million just weeks before The Regents’ case pending in California
       state court was scheduled to go to trial. The Regents’ gross recovery of $246 million is the largest
       individual opt-out securities recovery in history.

       Abu Dhabi Commercial Bank v. Morgan Stanley & Co., No. 1:08-cv-07508-SAS-DCF
       (S.D.N.Y.), and King County, Washington v. IKB Deutsche Industriebank AG, No.
       1:09-cv-08387-SAS (S.D.N.Y.). The Firm represented multiple institutional investors in successfully
       pursuing recoveries from two failed structured investment vehicles, each of which had been rated “AAA”
       by Standard & Poors and Moody’s, but which failed fantastically in 2007. The matter settled just prior
       to trial in 2013. This result was only made possible after Robbins Geller lawyers beat back the rating
       agencies’ longtime argument that ratings were opinions protected by the First Amendment.

       In re HealthSouth Corp. Sec. Litig., No. CV-03-BE-1500-S (N.D. Ala.). As court-appointed co-
       lead counsel, Robbins Geller attorneys obtained a combined recovery of $671 million from
       HealthSouth, its auditor Ernst & Young, and its investment banker, UBS, for the benefit of stockholder
       plaintiffs. The settlement against HealthSouth represents one of the larger settlements in securities
       class action history and is considered among the top 15 settlements achieved after passage of the
       PSLRA. Likewise, the settlement against Ernst & Young is one of the largest securities class action
       settlements entered into by an accounting firm since the passage of the PSLRA. HealthSouth and its
       financial advisors perpetrated one of the largest and most pervasive frauds in the history of U.S.
       healthcare, prompting Congressional and law enforcement inquiry and resulting in guilty pleas of 16
       former HealthSouth executives in related federal criminal prosecutions. In March 2009, Judge Karon
       Bowdre commented in the HealthSouth class certification opinion: “The court has had many
       opportunities since November 2001 to examine the work of class counsel and the supervision by the
       Class Representatives. The court finds both to be far more than adequate.” In re HealthSouth Corp.
       Sec. Litig., 257 F.R.D. 260, 275 (N.D. Ala. 2009).

       In re Dynegy Inc. Sec. Litig., No. H-02-1571 (S.D. Tex.). As sole lead counsel representing The
       Regents of the University of California and the class of Dynegy investors, Robbins Geller attorneys
       obtained a combined settlement of $474 million from Dynegy, Citigroup, Inc. and Arthur Andersen LLP
       for their involvement in a clandestine financing scheme known as Project Alpha. Given Dynegy’s limited
       ability to pay, Robbins Geller attorneys structured a settlement (reached shortly before the
       commencement of trial) that maximized plaintiffs’ recovery without bankrupting the company. Most
       notably, the settlement agreement provides that Dynegy will appoint two board members to be
       nominated by The Regents, which Robbins Geller and The Regents believe will benefit all of Dynegy’s
       stockholders.

       Jones v. Pfizer Inc., No. 1:10-cv-03864 (S.D.N.Y.). Lead plaintiff Stichting Philips Pensioenfonds
       obtained a $400 million settlement on behalf of class members who purchased Pfizer Inc. common
       stock during the January 19, 2006 to January 23, 2009 class period. The settlement against Pfizer
       resolves accusations that it misled investors about an alleged off-label drug marketing scheme. As sole
       lead counsel, Robbins Geller attorneys helped achieve this exceptional result after five years of hard-
       fought litigation against the toughest and the brightest members of the securities defense bar by
       litigating this case all the way to trial.

       In approving the settlement, United States District Judge Alvin K. Hellerstein commended the Firm,
       noting that “[w]ithout the quality and the toughness that you have exhibited, our society would not be as
       good as it is with all its problems. So from me to you is a vote of thanks for devoting yourself to this
       work and doing it well. . . . You did a really good job. Congratulations.”



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       In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No. 01-cv-1451 (D. Colo.). Robbins Geller attorneys
       served as lead counsel for a class of investors that purchased Qwest securities. In July 2001, the Firm
       filed the initial complaint in this action on behalf of its clients, long before any investigation into Qwest’s
       financial statements was initiated by the SEC or Department of Justice. After five years of litigation,
       lead plaintiffs entered into a settlement with Qwest and certain individual defendants that provided a
       $400 million recovery for the class and created a mechanism that allowed the vast majority of class
       members to share in an additional $250 million recovered by the SEC. In 2008, Robbins Geller
       attorneys recovered an additional $45 million for the class in a settlement with defendants Joseph P.
       Nacchio and Robert S. Woodruff, the CEO and CFO, respectively, of Qwest during large portions of
       the class period.

       Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., No. 1:09-cv-03701 (S.D.N.Y.).
       Robbins Geller attorneys served as lead counsel for a class of investors and obtained court approval of
       a $388 million recovery in nine 2007 residential mortgage-backed securities offerings issued by J.P.
       Morgan. The settlement represents, on a percentage basis, the largest recovery ever achieved in an
       MBS purchaser class action. The result was achieved after more than five years of hard-fought
       litigation and an extensive investigation. In granting approval of the settlement, the court stated the
       following about Robbins Geller attorneys litigating the case: “[T]here is no question in my mind that this
       is a very good result for the class and that the plaintiffs’ counsel fought the case very hard with
       extensive discovery, a lot of depositions, several rounds of briefing of various legal issues going all the
       way through class certification.”

       NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783 (S.D.N.Y.).
       As sole lead counsel, Robbins Geller obtained a $272 million settlement on behalf of Goldman Sachs’
       shareholders. The settlement concludes one of the last remaining mortgage-backed securities
       purchaser class actions arising out of the global financial crisis. The remarkable result was achieved
       following seven years of extensive litigation. After the claims were dismissed in 2010, Robbins Geller
       secured a landmark victory from the Second Circuit Court of Appeals that clarified the scope of
       permissible class actions asserting claims under the Securities Act of 1933 on behalf of MBS
       investors. Specifically, the Second Circuit’s decision rejected the concept of “tranche” standing and
       concluded that a lead plaintiff in an MBS class action has class standing to pursue claims on behalf of
       purchasers of other securities that were issued from the same registration statement and backed by
       pools of mortgages originated by the same lenders who had originated mortgages backing the lead
       plaintiff’s securities.

       In approving the settlement, the Honorable Loretta A. Preska of the Southern District of New York
       complimented Robbins Geller attorneys, noting:

                            Counsel, thank you for your papers. They were, by the way, extraordinary
               papers in support of the settlement, and I will particularly note Professor Miller’s
               declaration in which he details the procedural aspects of the case and then speaks of
               plaintiffs’ counsel’s success in the Second Circuit essentially changing the law.

                       I will also note what counsel have said, and that is that this case illustrates the
               proper functioning of the statute.

                                                          *          *        *

                        Counsel, you can all be proud of what you’ve done for your clients. You’ve
               done an extraordinarily good job.




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       NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783, Transcript at
       10-11 (S.D.N.Y. May 2, 2016).

       Schuh v. HCA Holdings, Inc., No. 3:11-cv-01033 (M.D. Tenn.). As sole lead counsel, Robbins
       Geller obtained a groundbreaking $215 million settlement for former HCA Holdings, Inc. shareholders –
       the largest securities class action recovery ever in Tennessee. Reached shortly before trial was
       scheduled to commence, the settlement resolves claims that the Registration Statement and
       Prospectus HCA filed in connection with the company’s massive $4.3 billion 2011 IPO contained
       material misstatements and omissions. The recovery achieved approximately 70% of classwide
       damages, which as a percentage of damages significantly exceeds the median class action recovery of
       2%-3% of damages. At the hearing on final approval of the settlement, the Honorable Kevin H. Sharp
       described Robbins Geller attorneys as “gladiators” and commented: “Looking at the benefit obtained,
       the effort that you had to put into it, [and] the complexity in this case . . . I appreciate the work that you
       all have done on this.” Schuh v. HCA Holdings, Inc., No. 3:11-CV-01033, Transcript at 12-13 (M.D.
       Tenn. Apr. 11, 2016).

       Silverman v. Motorola, Inc., No. 1:07-cv-04507 (N.D. Ill.). The Firm served as lead counsel on
       behalf of a class of investors in Motorola, Inc., ultimately recovering $200 million for investors just two
       months before the case was set for trial. This outstanding result was obtained despite the lack of an
       SEC investigation or any financial restatement. In May 2012, the Honorable Amy J. St. Eve of the
       Northern District of Illinois commented: “The representation that [Robbins Geller] provided to the class
       was significant, both in terms of quality and quantity.” Silverman v. Motorola, Inc., No. 07 C 4507,
       2012 U.S. Dist. LEXIS 63477, at *11 (N.D. Ill. May 7, 2012), aff’d, 739 F.3d 956 (7th Cir. 2013).

       In affirming the district court’s award of attorneys’ fees, the Seventh Circuit noted that “no other law firm
       was willing to serve as lead counsel. Lack of competition not only implies a higher fee but also
       suggests that most members of the securities bar saw this litigation as too risky for their practices.”
       Silverman v. Motorola Sols., Inc., 739 F.3d 956, 958 (7th Cir. 2013).

       In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller attorneys served as lead
       counsel for a class of investors that purchased AT&T common stock. The case charged defendants
       AT&T and its former Chairman and CEO, C. Michael Armstrong, with violations of the federal securities
       laws in connection with AT&T’s April 2000 initial public offering of its wireless tracking stock, the
       largest IPO in American history. After two weeks of trial, and on the eve of scheduled testimony by
       Armstrong and infamous telecom analyst Jack Grubman, defendants agreed to settle the case for $100
       million. In granting approval of the settlement, the court stated the following about the Robbins Geller
       attorneys handling the case:

               Lead Counsel are highly skilled attorneys with great experience in prosecuting complex
               securities action[s], and their professionalism and diligence displayed during [this]
               litigation substantiates this characterization. The Court notes that Lead Counsel
               displayed excellent lawyering skills through their consistent preparedness during court
               proceedings, arguments and the trial, and their well-written and thoroughly researched
               submissions to the Court. Undoubtedly, the attentive and persistent effort of Lead
               Counsel was integral in achieving the excellent result for the Class.

       In re AT&T Corp. Sec. Litig., MDL No. 1399, 2005 U.S. Dist. LEXIS 46144, at *28-*29 (D.N.J. Apr. 25,
       2005), aff’d, 455 F.3d 160 (3d Cir. 2006).

       In re Dollar Gen. Corp. Sec. Litig., No. 01-CV-00388 (M.D. Tenn.). Robbins Geller attorneys
       served as lead counsel in this case in which the Firm recovered $172.5 million for investors. The Dollar
       General settlement was the largest shareholder class action recovery ever in Tennessee.


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       Carpenters Health & Welfare Fund v. Coca-Cola Co., No. 00-CV-2838 (N.D. Ga.). As co-lead
       counsel representing Coca-Cola shareholders, Robbins Geller attorneys obtained a recovery of $137.5
       million after nearly eight years of litigation. Robbins Geller attorneys traveled to three continents to
       uncover the evidence that ultimately resulted in the settlement of this hard-fought litigation. The case
       concerned Coca-Cola’s shipping of excess concentrate at the end of financial reporting periods for the
       sole purpose of meeting analyst earnings expectations, as well as the company’s failure to properly
       account for certain impaired foreign bottling assets.

       Schwartz v. TXU Corp., No. 02-CV-2243 (N.D. Tex.). As co-lead counsel, Robbins Geller attorneys
       obtained a recovery of over $149 million for a class of purchasers of TXU securities. The recovery
       compensated class members for damages they incurred as a result of their purchases of TXU securities
       at inflated prices. Defendants had inflated the price of these securities by concealing the fact that
       TXU’s operating earnings were declining due to a deteriorating gas pipeline and the failure of the
       company’s European operations.

       In re Doral Fin. Corp. Sec. Litig., 05 MDL No. 1706 (S.D.N.Y.). In July 2007, the Honorable
       Richard Owen of the Southern District of New York approved the $129 million settlement, finding in his
       order:

               The services provided by Lead Counsel [Robbins Geller] were efficient and highly
               successful, resulting in an outstanding recovery for the Class without the substantial
               expense, risk and delay of continued litigation. Such efficiency and effectiveness
               supports the requested fee percentage.

                             Cases brought under the federal securities laws are notably difficult and
               notoriously uncertain. . . . Despite the novelty and difficulty of the issues raised, Lead
               Plaintiffs’ counsel secured an excellent result for the Class.

                       . . . Based upon Lead Plaintiff’s counsel’s diligent efforts on behalf of the Class,
               as well as their skill and reputations, Lead Plaintiff’s counsel were able to negotiate a
               very favorable result for the Class. . . . The ability of [Robbins Geller] to obtain such a
               favorable partial settlement for the Class in the face of such formidable opposition
               confirms the superior quality of their representation . . . .

       In re Doral Fin. Corp. Sec. Litig., No. 1:05-md-01706, Order at 4-5 (S.D.N.Y. July 17, 2007).

       In re Exxon Valdez, No. A89 095 Civ. (D. Alaska), and In re Exxon Valdez Oil Spill Litig., No. 3
       AN 89 2533 (Alaska Super. Ct., 3d Jud. Dist.). Robbins Geller attorneys served on the Plaintiffs’
       Coordinating Committee and Plaintiffs’ Law Committee in this massive litigation resulting from the
       Exxon Valdez oil spill in Alaska in March 1989. The jury awarded hundreds of millions in compensatory
       damages, as well as $5 billion in punitive damages (the latter were later reduced by the U.S. Supreme
       Court to $507 million).

       Mangini v. R.J. Reynolds Tobacco Co., No. 939359 (Cal. Super. Ct., San Francisco Cty.). In this
       case, R.J. Reynolds admitted that “the Mangini action, and the way that it was vigorously litigated, was
       an early, significant and unique driver of the overall legal and social controversy regarding underage
       smoking that led to the decision to phase out the Joe Camel Campaign.”

       Does I v. The Gap, Inc., No. 01 0031 (D. N. Mar. I.). In this groundbreaking case, Robbins Geller
       attorneys represented a class of 30,000 garment workers who alleged that they had worked under
       sweatshop conditions in garment factories in Saipan that produced clothing for top U.S. retailers such
       as The Gap, Target and J.C. Penney. In the first action of its kind, Robbins Geller attorneys pursued


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         claims against the factories and the retailers alleging violations of RICO, the Alien Tort Claims Act, and
         the Law of Nations based on the alleged systemic labor and human rights abuses occurring in Saipan.
         This case was a companion to two other actions: Does I v. Advance Textile Corp., No. 99 0002 (D.
         N. Mar. I.), which alleged overtime violations by the garment factories under the Fair Labor Standards
         Act and local labor law, and UNITE v. The Gap, Inc., No. 300474 (Cal. Super. Ct., San Francisco
         Cty.), which alleged violations of California’s Unfair Practices Law by the U.S. retailers. These actions
         resulted in a settlement of approximately $20 million that included a comprehensive monitoring program
         to address past violations by the factories and prevent future ones. The members of the litigation team
         were honored as Trial Lawyers of the Year by the Trial Lawyers for Public Justice in recognition of the
         team’s efforts in bringing about the precedent-setting settlement of the actions.

         Hall v. NCAA (Restricted Earnings Coach Antitrust Litigation), No. 94-2392 (D. Kan.).
         Robbins Geller attorneys were lead counsel and lead trial counsel for one of three classes of coaches
         in these consolidated price-fixing actions against the National Collegiate Athletic Association. On May
         4, 1998, the jury returned verdicts in favor of the three classes for more than $70 million.

         In re Prison Realty Sec. Litig., No. 3:99-0452 (M.D. Tenn.). Robbins Geller attorneys served as
         lead counsel for the class, obtaining a $105 million recovery.

         In re Honeywell Int’l, Inc. Sec. Litig., No. 00-cv-03605 (D.N.J.). Robbins Geller attorneys served
         as lead counsel for a class of investors that purchased Honeywell common stock. The case charged
         Honeywell and its top officers with violations of the federal securities laws, alleging the defendants
         made false public statements concerning Honeywell’s merger with Allied Signal, Inc. and that
         defendants falsified Honeywell’s financial statements. After extensive discovery, Robbins Geller
         attorneys obtained a $100 million settlement for the class.

         Schwartz v. Visa Int’l, No. 822404-4 (Cal. Super. Ct., Alameda Cty.). After years of litigation and a
         six-month trial, Robbins Geller attorneys won one of the largest consumer protection verdicts ever
         awarded in the United States. Robbins Geller attorneys represented California consumers in an action
         against Visa and MasterCard for intentionally imposing and concealing a fee from their cardholders.
         The court ordered Visa and MasterCard to return $800 million in cardholder losses, which represented
         100% of the amount illegally taken, plus 2% interest. In addition, the court ordered full disclosure of
         the hidden fee.

         Thompson v. Metro. Life Ins. Co., No. 00-cv-5071 (S.D.N.Y.). Robbins Geller attorneys served as
         lead counsel and obtained $145 million for the class in a settlement involving racial discrimination
         claims in the sale of life insurance.

         In re Prudential Ins. Co. of Am. Sales Practices Litig., MDL No. 1061 (D.N.J.). In one of the first
         cases of its kind, Robbins Geller attorneys obtained a settlement of $4 billion for deceptive sales
         practices in connection with the sale of life insurance involving the “vanishing premium” sales scheme.



 Precedent-Setting Decisions
 Robbins Geller attorneys operate at the vanguard of complex class action of litigation. Our work often changes
 the legal landscape, resulting in an environment that is more-favorable for obtaining recoveries for our clients.

         Cyan, Inc. v. Beaver County Employees Retirement Fund, No. 15-1439 (U.S.). In March 2018,
         the Supreme Court ruled in favor of investors represented by Robbins Geller, holding that state courts
         continue to have jurisdiction over class actions asserting violations of the Securities Act of 1933. The


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       Court’s ruling secures investors’ ability to bring 1933 Act actions when companies fail to make full and
       fair disclosure of relevant information in offering documents. The Court confirmed that the Securities
       Litigation Uniform Standards Act of 1998 was designed to preclude securities class actions asserting
       violations of state law – not to preclude securities actions asserting federal law violations brought in
       state courts.

       Mineworkers’ Pension Scheme v. First Solar Inc., No. 15-17282 (9th Cir.). In January 2018, the
       Ninth Circuit upheld the district court’s denial of defendants’ motion for summary judgment, agreeing
       with plaintiffs that the test for loss causation in the Ninth Circuit is a general “proximate cause test,” and
       rejecting the more stringent revelation of the fraudulent practices standard advocated by the
       defendants. The opinion is a significant victory for investors, as it forecloses defendants’ ability to
       immunize themselves from liability simply by refusing to publicly acknowledge their fraudulent conduct.

       In re Quality Systems, Inc. Sec. Litig., No. 15-55173 (9th Cir.). In July 2017, Robbins Geller’s
       Appellate Practice Group scored a significant win in the Ninth Circuit in the Quality Systems securities
       class action. On appeal, a three-judge Ninth Circuit panel unanimously reversed the district court’s
       prior dismissal of the action against Quality Systems and remanded the case to the district court for
       further proceedings. The decision addressed an issue of first impression concerning “mixed” future and
       present-tense misstatements. The appellate panel explained that “non-forward-looking portions of
       mixed statements are not eligible for the safe harbor provisions of the PSLRA . . . . Defendants made a
       number of mixed statements that included projections of growth in revenue and earnings based on the
       state of QSI’s sales pipeline.” The panel then held both the non-forward-looking and forward-looking
       statements false and misleading and made with scienter, deeming them actionable. Later, although
       defendants sought rehearing by the Ninth Circuit sitting en banc, the circuit court denied their petition.

       Omnicare, Inc. v. Laborers District Council Construction Industry Pension Fund, No.
       13-435 (U.S.). In March 2015, the Supreme Court ruled in favor of investors represented by Robbins
       Geller that investors asserting a claim under §11 of the Securities Act of 1933 with respect to a
       misleading statement of opinion do not, as defendant Omnicare had contended, have to prove that the
       statement was subjectively disbelieved when made. Rather, the Court held that a statement of opinion
       may be actionable either because it was not believed, or because it lacked a reasonable basis in fact.
       This decision is significant in that it resolved a conflict among the federal circuit courts and expressly
       overruled the Second Circuit’s widely followed, more stringent pleading standard for §11 claims
       involving statements of opinion. The Supreme Court remanded the case back to the district court for
       determination under the newly articulated standard. In August of 2016, upon remand, the district court
       applied the Supreme Court’s new test and denied defendants’ motion to dismiss in full.

       NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145 (2d Cir. 2012). In
       a securities fraud action involving mortgage-backed securities, the Second Circuit rejected the concept
       of “tranche” standing and found that a lead plaintiff has class standing to pursue claims on behalf of
       purchasers of securities that were backed by pools of mortgages originated by the same lenders who
       had originated mortgages backing the lead plaintiff’s securities. The court noted that, given those
       common lenders, the lead plaintiff’s claims as to its purchases implicated “the same set of concerns”
       that purchasers in several of the other offerings possessed. The court also rejected the notion that the
       lead plaintiff lacked standing to represent investors in different tranches.

       In re VeriFone Holdings, Inc. Sec. Litig., 704 F.3d 694 (9th Cir. 2012). The panel reversed in part
       and affirmed in part the dismissal of investors’ securities fraud class action alleging violations of
       §§10(b), 20(a), and 20A of the Securities Exchange Act of 1934 and SEC Rule 10b-5 in connection
       with a restatement of financial results of the company in which the investors had purchased stock.




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       The panel held that the third amended complaint adequately pleaded the §10(b), §20A and Rule 10b-5
       claims. Considering the allegations of scienter holistically, as the U.S. Supreme Court directed in
       Matrixx Initiatives, Inc. v. Siracusano, 563 U.S 27, 48-49 (2011), the panel concluded that the
       inference that the defendant company and its chief executive officer and former chief financial officer
       were deliberately reckless as to the truth of their financial reports and related public statements
       following a merger was at least as compelling as any opposing inference.

       Fox v. JAMDAT Mobile, Inc., 185 Cal. App. 4th 1068 (2010). Concluding that Delaware’s
       shareholder ratification doctrine did not bar the claims, the California Court of Appeal reversed
       dismissal of a shareholder class action alleging breach of fiduciary duty in a corporate merger.

       In re Constar Int’l Inc. Sec. Litig., 585 F.3d 774 (3d Cir. 2009). The Third Circuit flatly rejected
       defense contentions that where relief is sought under §11 of the Securities Act of 1933, which
       imposes liability when securities are issued pursuant to an incomplete or misleading registration
       statement, class certification should depend upon findings concerning market efficiency and loss
       causation.

       Matrixx Initiatives, Inc. v. Siracusano, 563 U.S 27 (2011), aff’g 585 F.3d 1167 (9th Cir. 2009). In
       a securities fraud action involving the defendants’ failure to disclose a possible link between the
       company’s popular cold remedy and a life-altering side effect observed in some users, the U.S.
       Supreme Court unanimously affirmed the Ninth Circuit’s (a) rejection of a bright-line “statistical
       significance” materiality standard, and (b) holding that plaintiffs had successfully pleaded a strong
       inference of the defendants’ scienter.

       Alaska Elec. Pension Fund v. Flowserve Corp., 572 F.3d 221 (5th Cir. 2009). Aided by former
       U.S. Supreme Court Justice O’Connor’s presence on the panel, the Fifth Circuit reversed a district
       court order denying class certification and also reversed an order granting summary judgment to
       defendants. The court held that the district court applied an incorrect fact-for-fact standard of loss
       causation, and that genuine issues of fact on loss causation precluded summary judgment.

       In re F5 Networks, Inc., Derivative Litig., 207 P.3d 433 (Wash. 2009). In a derivative action
       alleging unlawful stock option backdating, the Supreme Court of Washington ruled that shareholders
       need not make a pre-suit demand on the board of directors where this step would be futile, agreeing
       with plaintiffs that favorable Delaware case law should be followed as persuasive authority.

       Lormand v. US Unwired, Inc., 565 F.3d 228 (5th Cir. 2009). In a rare win for investors in the Fifth
       Circuit, the court reversed an order of dismissal, holding that safe harbor warnings were not meaningful
       when the facts alleged established a strong inference that defendants knew their forecasts were false.
       The court also held that plaintiffs sufficiently alleged loss causation.

       Institutional Inv’rs Grp. v. Avaya, Inc., 564 F.3d 242 (3d Cir. 2009). In a victory for investors in
       the Third Circuit, the court reversed an order of dismissal, holding that shareholders pled with
       particularity why the company’s repeated denials of price discounts on products were false and
       misleading when the totality of facts alleged established a strong inference that defendants knew their
       denials were false.

       Alaska Elec. Pension Fund v. Pharmacia Corp., 554 F.3d 342 (3d Cir. 2009). The Third Circuit
       held that claims filed for violation of §10(b) of the Securities Exchange Act of 1934 were timely,
       adopting investors’ argument that because scienter is a critical element of the claims, the time for filing
       them cannot begin to run until the defendants’ fraudulent state of mind should be apparent.




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       Rael v. Page, 222 P.3d 678 (N.M. Ct. App. 2009). In this shareholder class and derivative action,
       Robbins Geller attorneys obtained an appellate decision reversing the trial court’s dismissal of the
       complaint alleging serious director misconduct in connection with the merger of SunCal Companies
       and Westland Development Co., Inc., a New Mexico company with large and historic landholdings and
       other assets in the Albuquerque area. The appellate court held that plaintiff’s claims for breach of
       fiduciary duty were direct, not derivative, because they constituted an attack on the validity or fairness of
       the merger and the conduct of the directors. Although New Mexico law had not addressed this
       question directly, at the urging of the Firm’s attorneys, the court relied on Delaware law for guidance,
       rejecting the “special injury” test for determining the direct versus derivative inquiry and instead applying
       more recent Delaware case law.

       Lane v. Page, No. 06-cv-1071 (D.N.M. 2012). In May 2012, while granting final approval of the
       settlement in the federal component of the Westland cases, Judge Browning in the District of New
       Mexico commented:

               Class Counsel are highly skilled and specialized attorneys who use their substantial
               experience and expertise to prosecute complex securities class actions. In possibly
               one of the best known and most prominent recent securities cases, Robbins Geller
               served as sole lead counsel – In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D.
               Tex.). See Report at 3. The Court has previously noted that the class would “receive
               high caliber legal representation” from class counsel, and throughout the course of the
               litigation the Court has been impressed with the quality of representation on each
               side. Lane v. Page, 250 F.R.D. at 647.

       Lane v. Page, 862 F. Supp. 2d 1182, 1253-54 (D.N.M. 2012).

       In addition, Judge Browning stated, “‘Few plaintiffs’ law firms could have devoted the kind of time, skill,
       and financial resources over a five-year period necessary to achieve the pre- and post-Merger benefits
       obtained for the class here.’ . . . [Robbins Geller is] both skilled and experienced, and used those skills
       and experience for the benefit of the class [Robbins Geller is] both skilled and experienced, and used
       those skills and experience for the benefit of the class.” Id. at 1254.

       Luther v. Countrywide Home Loans Servicing LP, 533 F.3d 1031 (9th Cir. 2008). In a case of
       first impression, the Ninth Circuit held that the Securities Act of 1933’s specific non-removal features
       had not been trumped by the general removal provisions of the Class Action Fairness Act of 2005.

       In re Gilead Scis. Sec. Litig., 536 F.3d 1049 (9th Cir. 2008). The Ninth Circuit upheld defrauded
       investors’ loss causation theory as plausible, ruling that a limited temporal gap between the time
       defendants’ misrepresentation was publicly revealed and the subsequent decline in stock value was
       reasonable where the public had not immediately understood the impact of defendants’ fraud.

       In re WorldCom Sec. Litig., 496 F.3d 245 (2d Cir. 2007). The Second Circuit held that the filing of
       a class action complaint tolls the limitations period for all members of the class, including those who
       choose to opt out of the class action and file their own individual actions without waiting to see whether
       the district court certifies a class – reversing the decision below and effectively overruling multiple
       district court rulings that American Pipe tolling did not apply under these circumstances.

       In re Merck & Co. Sec., Derivative & ERISA Litig., 493 F.3d 393 (3d Cir. 2007). In a shareholder
       derivative suit appeal, the Third Circuit held that the general rule that discovery may not be used to
       supplement demand-futility allegations does not apply where the defendants enter a voluntary
       stipulation to produce materials relevant to demand futility without providing for any limitation as to their
       use. In April 2007, the Honorable D. Brooks Smith praised Robbins Geller partner Joe Daley’s efforts


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       in this litigation:

                 Thank you very much Mr. Daley and a thank you to all counsel. As Judge Cowen
                 mentioned, this was an exquisitely well-briefed case; it was also an extremely well-
                 argued case, and we thank counsel for their respective jobs here in the matter, which
                 we will take under advisement. Thank you.

       In re Merck & Co., Inc. Sec., Derivative & ERISA Litig., No. 06-2911, Transcript at 35:37-36:00 (3d
       Cir. Apr. 12, 2007).

       Alaska Elec. Pension Fund v. Brown, 941 A.2d 1011 (Del. 2007). The Supreme Court of
       Delaware held that the Alaska Electrical Pension Fund, for purposes of the “corporate benefit” attorney-
       fee doctrine, was presumed to have caused a substantial increase in the tender offer price paid in a
       “going private” buyout transaction. The Court of Chancery originally ruled that Alaska’s counsel,
       Robbins Geller, was not entitled to an award of attorney fees, but Delaware’s high court, in its
       published opinion, reversed and remanded for further proceedings.

       Crandon Capital Partners v. Shelk, 157 P.3d 176 (Or. 2007). Oregon’s Supreme Court ruled that
       a shareholder plaintiff in a derivative action may still seek attorney fees even if the defendants took
       actions to moot the underlying claims. The Firm’s attorneys convinced Oregon’s highest court to take
       the case, and reverse, despite the contrary position articulated by both the trial court and the Oregon
       Court of Appeals.

       In re Qwest Commc’ns Int’l, 450 F.3d 1179 (10th Cir. 2006). In a case of first impression, the
       Tenth Circuit held that a corporation’s deliberate release of purportedly privileged materials to
       governmental agencies was not a “selective waiver” of the privileges such that the corporation could
       refuse to produce the same materials to non-governmental plaintiffs in private securities fraud litigation.

       In re Guidant S’holders Derivative Litig., 841 N.E.2d 571 (Ind. 2006). Answering a certified
       question from a federal court, the Supreme Court of Indiana unanimously held that a pre-suit demand in
       a derivative action is excused if the demand would be a futile gesture. The court adopted a “demand
       futility” standard and rejected defendants’ call for a “universal demand” standard that might have
       immediately ended the case.

       Denver Area Meat Cutters v. Clayton, 209 S.W.3d 584 (Tenn. Ct. App. 2006). The Tennessee
       Court of Appeals rejected an objector’s challenge to a class action settlement arising out of Warren
       Buffet’s 2003 acquisition of Tennessee-based Clayton Homes. In their effort to secure relief for
       Clayton Homes stockholders, the Firm’s attorneys obtained a temporary injunction of the Buffet
       acquisition for six weeks in 2003 while the matter was litigated in the courts. The temporary halt to
       Buffet’s acquisition received national press attention.

       DeJulius v. New Eng. Health Care Emps. Pension Fund, 429 F.3d 935 (10th Cir. 2005). The
       Tenth Circuit held that the multi-faceted notice of a $50 million settlement in a securities fraud class
       action had been the best notice practicable under the circumstances, and thus satisfied both
       constitutional due process and Rule 23 of the Federal Rules of Civil Procedure.

       In re Daou Sys., 411 F.3d 1006 (9th Cir. 2005). The Ninth Circuit sustained investors’ allegations of
       accounting fraud and ruled that loss causation was adequately alleged by pleading that the value of the
       stock they purchased declined when the issuer’s true financial condition was revealed.

       Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th Cir.), reh’g denied and opinion modified, 409
       F.3d 653 (5th Cir. 2005). The Fifth Circuit upheld investors’ accounting-fraud claims, holding that


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       fraud is pled as to both defendants when one knowingly utters a false statement and the other
       knowingly fails to correct it, even if the complaint does not specify who spoke and who listened.

       City of Monroe Emps. Ret. Sys. v. Bridgestone Corp., 399 F.3d 651 (6th Cir. 2005). The Sixth
       Circuit held that a statement regarding objective data supposedly supporting a corporation’s belief that
       its tires were safe was actionable where jurors could have found a reasonable basis to believe the
       corporation was aware of undisclosed facts seriously undermining the statement’s accuracy.

       Ill. Mun. Ret. Fund v. Citigroup, Inc., 391 F.3d 844 (7th Cir. 2004). The Seventh Circuit upheld a
       district court’s decision that the Illinois Municipal Retirement Fund was entitled to litigate its claims
       under the Securities Act of 1933 against WorldCom’s underwriters before a state court rather than
       before the federal forum sought by the defendants.

       Nursing Home Pension Fund, Local 144 v. Oracle Corp., 380 F.3d 1226 (9th Cir. 2004). The
       Ninth Circuit ruled that defendants’ fraudulent intent could be inferred from allegations concerning their
       false representations, insider stock sales and improper accounting methods.

       Southland Sec. Corp. v. INSpire Ins. Sols. Inc., 365 F.3d 353 (5th Cir. 2004). The Fifth Circuit
       sustained allegations that an issuer’s CEO made fraudulent statements in connection with a contract
       announcement.

       Smith v. Am. Family Mut. Ins. Co., 289 S.W.3d 675 (Mo. Ct. App. 2009). Capping nearly a
       decade of hotly contested litigation, the Missouri Court of Appeals reversed the trial court’s judgment
       notwithstanding the verdict for auto insurer American Family and reinstated a unanimous jury verdict for
       the plaintiff class.

       Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th 1305 (2009). The California Court of Appeal held
       that Farmers Insurance’s practice of levying a “service charge” on one-month auto insurance policies,
       without specifying the charge in the policy, violated California’s Insurance Code.

       Lebrilla v. Farmers Grp., Inc., 119 Cal. App. 4th 1070 (2004). Reversing the trial court, the
       California Court of Appeal ordered class certification of a suit against Farmers, one of the largest
       automobile insurers in California, and ruled that Farmers’ standard automobile policy requires it to
       provide parts that are as good as those made by vehicle’s manufacturer. The case involved Farmers’
       practice of using inferior imitation parts when repairing insureds’ vehicles.

       In re Monumental Life Ins. Co., 365 F.3d 408, 416 (5th Cir. 2004). The Fifth Circuit Court of
       Appeals reversed a district court’s denial of class certification in a case filed by African-Americans
       seeking to remedy racially discriminatory insurance practices. The Fifth Circuit held that a monetary
       relief claim is viable in a Rule 23(b)(2) class if it flows directly from liability to the class as a whole and is
       capable of classwide “‘computation by means of objective standards and not dependent in any
       significant way on the intangible, subjective differences of each class member’s circumstances.’”

       Kwikset Corp. v. Superior Court, 51 Cal. 4th 310 (2011). In a leading decision interpreting the
       scope of Proposition 64’s new standing requirements under California’s Unfair Competition Law (UCL),
       the California Supreme Court held that consumers alleging that a manufacturer has misrepresented its
       product have “lost money or property” within the meaning of the initiative, and thus have standing to sue
       under the UCL, if they “can truthfully allege that they were deceived by a product’s label into spending
       money to purchase the product, and would not have purchased it otherwise.” Id. at 317. Kwikset
       involved allegations, proven at trial, that defendants violated California’s “Made in the U.S.A.” statute by
       representing on their labels that their products were “Made in U.S.A.” or “All-American Made” when, in
       fact, the products were substantially made with foreign parts and labor.


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       Safeco Ins. Co. of Am. v. Superior Court, 173 Cal. App. 4th 814 (2009). In a class action against
       auto insurer Safeco, the California Court of Appeal agreed that the plaintiff should have access to
       discovery to identify a new class representative after her standing to sue was challenged.

       Consumer Privacy Cases, 175 Cal. App. 4th 545 (2009). The California Court of Appeal rejected
       objections to a nationwide class action settlement benefiting Bank of America customers.

       Koponen v. Pac. Gas & Elec. Co., 165 Cal. App. 4th 345 (2008). The Firm’s attorneys obtained a
       published decision reversing the trial court’s dismissal of the action, and holding that the plaintiff’s
       claims for damages arising from the utility’s unauthorized use of rights-of-way or easements obtained
       from the plaintiff and other landowners were not barred by a statute limiting the authority of California
       courts to review or correct decisions of the California Public Utilities Commission.

       Sanford v. MemberWorks, Inc., 483 F.3d 956 (9th Cir. 2007). In a telemarketing-fraud case,
       where the plaintiff consumer insisted she had never entered the contractual arrangement that
       defendants said bound her to arbitrate individual claims to the exclusion of pursuing class claims, the
       Ninth Circuit reversed an order compelling arbitration – allowing the plaintiff to litigate on behalf of a
       class.

       Ritt v. Billy Blanks Enters., 870 N.E.2d 212 (Ohio Ct. App. 2007). In the Ohio analog to the West
       case, the Ohio Court of Appeals approved certification of a class of Ohio residents seeking relief under
       Ohio’s consumer protection laws for the same telemarketing fraud.

       Haw. Med. Ass’n v. Haw. Med. Serv. Ass’n, 148 P.3d 1179 (Haw. 2006). The Supreme Court of
       Hawaii ruled that claims of unfair competition were not subject to arbitration and that claims of tortious
       interference with prospective economic advantage were adequately alleged.

       Branick v. Downey Sav. & Loan Ass’n, 39 Cal. 4th 235 (2006). Robbins Geller attorneys were
       part of a team of lawyers that briefed this case before the Supreme Court of California. The court
       issued a unanimous decision holding that new plaintiffs may be substituted, if necessary, to preserve
       actions pending when Proposition 64 was passed by California voters in 2004. Proposition 64
       amended California’s Unfair Competition Law and was aggressively cited by defense lawyers in an
       effort to dismiss cases after the initiative was adopted.

       McKell v. Wash. Mut., Inc., 142 Cal. App. 4th 1457 (2006). The California Court of Appeal
       reversed the trial court, holding that plaintiff’s theories attacking a variety of allegedly inflated mortgage-
       related fees were actionable.

       West Corp. v. Superior Court, 116 Cal. App. 4th 1167 (2004). The California Court of Appeal
       upheld the trial court’s finding that jurisdiction in California was appropriate over the out-of-state
       corporate defendant whose telemarketing was aimed at California residents. Exercise of jurisdiction
       was found to be in keeping with considerations of fair play and substantial justice.

       Kruse v. Wells Fargo Home Mortg., Inc., 383 F.3d 49 (2d Cir. 2004), and Santiago v. GMAC
       Mortg. Grp., Inc., 417 F.3d 384 (3d Cir. 2005). In two groundbreaking federal appellate decisions,
       the Second and Third Circuits each ruled that the Real Estate Settlement Practices Act prohibits
       marking up home loan-related fees and charges.




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 Additional Judicial Commendations
 Robbins Geller attorneys have been praised by countless judges all over the country for the quality of their
 representation in class-action lawsuits. In addition to the judicial commendations set forth in the Prominent
 Cases and Precedent-Setting Decisions sections, judges have acknowledged the successful results of the Firm
 and its attorneys with the following plaudits:

         On March 31, 2017, in granting final approval of the settlement, the Honorable Gonzalo P. Curiel hailed
         the settlement as “extraordinary” and “all the more exceptional when viewed in light of the risk” of
         continued litigation. The court further commended Robbins Geller for prosecuting the case on a pro
         bono basis: “Class Counsel’s exceptional decision to provide nearly seven years of legal services to
         Class Members on a pro bono basis evidences not only a lack of collusion, but also that Class Counsel
         are in fact representing the best interests of Plaintiffs and the Class Members in this Settlement.
         Instead of seeking compensation for fees and costs that they would otherwise be entitled to, Class
         Counsel have acted to allow maximum recovery to Plaintiffs and Class Members. Indeed, that Eligible
         Class Members may receive recovery of 90% or greater is a testament to Class Counsel’s
         representation and dedication to act in their clients’ best interest.” In addition, at the final approval
         hearing, the court commented that "this is a case that has been litigated – if not fiercely, zealously
         throughout.” Low v. Trump Univ., LLC, 246 F. Supp. 3d 1295, 1302, 1312 (S.D. Cal. 2017); Low v.
         Trump University LLC and Donald J. Trump, No. 10-cv-0940 GPC-WVG, and Cohen v. Donald J.
         Trump, No. 13-cv-2519-GPC-WVG, Transcript at 7 (S.D. Cal. Mar. 30, 2017).

         In January 2017, at the final approval hearing, the Honorable Kevin H. Sharp of the Middle District of
         Tennessee commended Robbins Geller attorneys, stating: “It was complicated, it was drawn out, and a
         lot of work clearly went into this [case] . . . . I think there is some benefit to the shareholders that are
         above and beyond money, a benefit to the company above and beyond money that changed hands.” In
         re Community Health Sys., Inc. S’holder Derivative Litig., No. 3:11-cv-00489, Transcript at 10 (M.D.
         Tenn. Jan. 17, 2017).

         In November 2016, at the final approval hearing, the Honorable James G. Carr stated: “I kept throwing
         the case out, and you kept coming back. . . . And it’s both remarkable and noteworthy and a credit to
         you and your firm that you did so. . . . [Y]ou persuaded the Sixth Circuit. As we know, that’s no mean
         feat at all.” Judge Carr further complimented the Firm, noting that it “goes without question or even
         saying” that Robbins Geller is very well-known nationally and that the settlement is an excellent result
         for the class. He succinctly concluded that “given the tenacity and the time and the effort that [Robbins
         Geller] lawyers put into [the case]” makes the class “a lot better off.” Plumbers & Pipefitters Nat’l
         Pension Fund v. Burns, No. 3:05-cv-07393-JGC, Transcript at 4, 10, 14, 17 (N.D. Ohio Nov. 18,
         2016).

         In September 2016, in granting final approval of the settlement, Judge Arleo commended the “vigorous
         and skilled efforts” of Robbins Geller attorneys for obtaining “an excellent recovery.” Judge Arleo added
         that the settlement was reached after “contentious, hard-fought litigation” that ended with “a very, very
         good result for the class” in a “risky case.” City of Sterling Heights Gen. Emps.’ Ret. Sys. v. Prudential
         Fin., Inc., No. 2:12-cv-05275-MCA-LDW, Transcript of Hearing at 18-20 (D.N.J. Sept. 28, 2016).

         In August 2015, at the final approval hearing for the settlement, the Honorable Karen M. Humphreys
         praised Robbins Geller’s “extraordinary efforts” and “excellent lawyering,” noting that the settlement
         “really does signal that the best is yet to come for your clients and for your prodigious labor as
         professionals. . . . I wish more citizens in our country could have an appreciation of what this
         [settlement] truly represents.” Bennett v. Sprint Nextel Corp., No. 2:09-cv-02122-EFM-KMH,
         Transcript at 8, 25 (D. Kan. Aug. 12, 2015).


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       In August 2015, the Honorable Judge Max O. Cogburn, Jr. noted that “plaintiffs’ attorneys were able [to]
       achieve the big success early” in the case and obtained an “excellent result.” The “extraordinary”
       settlement was because of “good lawyers . . . doing their good work.” Nieman v. Duke Energy Corp.,
       No. 3:12-cv-456, Transcript at 21, 23, 30 (W.D.N.C. Aug. 12, 2015).

       In July 2015, in approving the settlement, the Honorable Douglas L. Rayes of the District of Arizona
       stated: “Settlement of the case during pendency of appeal for more than an insignificant amount is rare.
       The settlement here is substantial and provides favorable recovery for the settlement class under these
       circumstances.” He continued, noting, “[a]s against the objective measures of . . . settlements [in] other
       similar cases, [the recovery] is on the high end.” Teamsters Local 617 Pension & Welfare Funds v.
       Apollo Grp., Inc., No. 2:06-cv-02674-DLR, Transcript at 8, 11 (D. Ariz. July 28, 2015).

       In June 2015, at the conclusion of the hearing for final approval of the settlement, the Honorable Susan
       Richard Nelson of the District of Minnesota noted that it was “a pleasure to be able to preside over a
       case like this,” praising Robbins Geller in achieving “an outstanding [result] for [its] clients,” as she was
       “very impressed with the work done on th[e] case.” In re St. Jude Med., Inc. Sec. Litig., No.
       0:10-cv-00851-SRN-TNL, Transcript at 7 (D. Minn. June 12, 2015).

       In May 2015, at the fairness hearing on the settlement, the Honorable William G. Young noted that the
       case was “very well litigated” by Robbins Geller attorneys, adding that “I don’t just say that as a matter
       of form. . . . I thank you for the vigorous litigation that I’ve been permitted to be a part of.” Courtney v.
       Avid Tech., Inc., No. 1:13-cv-10686-WGY, Transcript at 8-9 (D. Mass. May 12, 2015).

       In January 2015, the Honorable William J. Haynes, Jr. of the Middle District of Tennessee described the
       settlement as a “highly favorable result achieved for the Class” through Robbins Geller’s “diligent
       prosecution . . . [and] quality of legal services.” The settlement represents the third largest securities
       recovery ever in the Middle District of Tennessee and the largest in more than a decade. Garden City
       Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., No. 3:09-cv-00882, 2015 U.S. Dist. LEXIS 181943, at *6-*7
       (M.D. Tenn. Jan. 16, 2015).

       In September 2014, in approving the settlement for shareholders, Vice Chancellor John W. Noble
       noted “[t]he litigation caused a substantial benefit for the class. It is unusual to see a $29 million
       recovery.” Vice Chancellor Noble characterized the litigation as “novel” and “not easy,” but “[t]he lawyers
       took a case and made something of it.” The Court commended Robbins Geller’s efforts in obtaining
       this result: “The standing and ability of counsel cannot be questioned” and “the benefits achieved by
       plaintiffs’ counsel in this case cannot be ignored.” In re Gardner Denver, Inc. S’holder Litig., No.
       8505-VCN, Transcript at 26-28 (Del. Ch. Sept. 3, 2014).

       In May 2014, at the conclusion of the hearing for final approval of the settlement, the Honorable Elihu
       M. Berle stated: “I would finally like to congratulate counsel on their efforts to resolve this case, on
       excellent work – it was the best interest of the class – and to the exhibition of professionalism. So I do
       thank you for all your efforts.” Liberty Mutual Overtime Cases, No. JCCP 4234, Transcript at 20:1-5
       (Cal. Super. Ct., Los Angeles Cty. May 29, 2014).

       In March 2014, Ninth Circuit Judge J. Clifford Wallace (presiding) expressed the gratitude of the court:
       “Thank you. I want to especially thank counsel for this argument. This is a very complicated case and I
       think we were assisted no matter how we come out by competent counsel coming well prepared. . . . It
       was a model of the type of an exercise that we appreciate. Thank you very much for your work . . . you
       were of service to the court.” Eclectic Properties East, LLC v. The Marcus & Millichap Co., No.
       12-16526, Transcript (9th Cir. Mar. 14, 2014).




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       In February 2014, in approving a settlement, Judge Edward M. Chen noted the “very substantial risks” in
       the case and recognized Robbins Geller had performed “extensive work on the case.” In re VeriFone
       Holdings, Inc. Sec. Litig., No. C-07-6140, 2014 U.S. Dist. LEXIS 20044, at *5, *11-*12 (N.D. Cal. Feb.
       18, 2014).

       In August 2013, in granting final approval of the settlement, the Honorable Richard J. Sullivan stated:
       “Lead Counsel is to be commended for this result: it expended considerable effort and resources over
       the course of the action researching, investigating, and prosecuting the claims, at significant risk to
       itself, and in a skillful and efficient manner, to achieve an outstanding recovery for class members.
       Indeed, the result – and the class’s embrace of it – is a testament to the experience and tenacity Lead
       Counsel brought to bear.” City of Livonia Emps. Ret. Sys. v. Wyeth, No. 07 Civ. 10329, 2013 U.S.
       Dist. LEXIS 113658, at *13 (S.D.N.Y. Aug. 7, 2013).

       In July 2013, in granting final approval of the settlement, the Honorable William H. Alsup stated that
       Robbins Geller did “excellent work in this case,” and continued, “I look forward to seeing you on the next
       case.” Fraser v. Asus Comput. Int’l, No. C 12-0652, Transcript at 12:2-3 (N.D. Cal. July 11, 2013).

       In June 2013, in certifying the class, U.S. District Judge James G. Carr recognized Robbins Geller’s
       steadfast commitment to the class, noting that “plaintiffs, with the help of Robbins Geller, have twice
       successfully appealed this court’s orders granting defendants’ motion to dismiss.” Plumbers &
       Pipefitters Nat’l Pension Fund v. Burns, 292 F.R.D. 515, 524 (N.D. Ohio 2013).

       In November 2012, in granting appointment of lead plaintiff, Chief Judge James F. Holderman
       commended Robbins Geller for its “substantial experience in securities class action litigation” and
       commented that the Firm “is recognized as ‘one of the most successful law firms in securities class
       actions, if not the preeminent one, in the country.’ In re Enron Corp. Sec., 586 F. Supp. 2d 732, 797
       (S.D. Tex. 2008) (Harmon, J.).” He continued further that, “‘Robbins Geller attorneys are responsible for
       obtaining the largest securities fraud class action recovery ever [$7.2 billion in Enron], as well as the
       largest recoveries in the Fifth, Sixth, Eighth, Tenth and Eleventh Circuits.’” Bristol Cty. Ret. Sys. v.
       Allscripts Healthcare Sols., Inc., No. 12 C 3297, 2012 U.S. Dist. LEXIS 161441 at *21 (N.D. Ill. Nov. 9,
       2012).

       In June 2012, in granting plaintiffs’ motion for class certification, the Honorable Inge Prytz Johnson
       noted that other courts have referred to Robbins Geller as “‘one of the most successful law firms in
       securities class actions . . . in the country.’” Local 703, I.B. v. Regions Fin. Corp., 282 F.R.D. 607, 616
       (N.D. Ala. 2012) (quoting In re Enron Corp. Sec. Litig., 586 F. Supp. 2d 732, 797 (S.D. Tex. 2008)),
       aff’d in part and vacated in part on other grounds, 762 F.3d 1248 (11th Cir. 2014).

       In June 2012, in granting final approval of the settlement, the Honorable Barbara S. Jones commented
       that “class counsel’s representation, from the work that I saw, appeared to me to be of the highest
       quality.” In re CIT Grp. Inc. Sec. Litig., No. 08 Civ. 6613, Transcript at 9:16-18 (S.D.N.Y. June 13,
       2012).

       In March 2012, in granting certification for the class, Judge Robert W. Sweet referenced the Enron
       case, agreeing that Robbins Geller’s “‘clearly superlative litigating and negotiating skills’” give the Firm
       an “‘outstanding reputation, experience, and success in securities litigation nationwide,’” thus, “‘[t]he
       experience, ability, and reputation of the attorneys of [Robbins Geller] is not disputed; it is one of the
       most successful law firms in securities class actions, if not the preeminent one, in the country.’”
       Billhofer v. Flamel Techs., S.A., 281 F.R.D. 150, 158 (S.D.N.Y. 2012).

       In March 2011, in denying defendants’ motion to dismiss, Judge Richard Sullivan commented: “Let me
       thank you all. . . . [The motion] was well argued . . . and . . . well briefed . . . . I certainly appreciate


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       having good lawyers who put the time in to be prepared . . . .” Anegada Master Fund Ltd. v. PxRE Grp.
       Ltd., No. 08-cv-10584, Transcript at 83 (S.D.N.Y. Mar. 16, 2011).

       In January 2011, the court praised Robbins Geller attorneys: “They have gotten very good results for
       stockholders. . . . [Robbins Geller has] such a good track record.” In re Compellent Technologies, Inc.
       S’holder Litig., No. 6084-VCL, Transcript at 20-21 (Del. Ch. Jan. 13, 2011).

       In August 2010, in reviewing the settlement papers submitted by the Firm, Judge Carlos Murguia stated
       that Robbins Geller performed “a commendable job of addressing the relevant issues with great detail
       and in a comprehensive manner . . . . The court respects the [Firm’s] experience in the field of derivative
       [litigation].” Alaska Elec. Pension Fund v. Olofson, No. 08-cv-02344-CM-JPO (D. Kan.) (Aug. 20,
       2010 e-mail from court re: settlement papers).

       In June 2009, Judge Ira Warshawsky praised the Firm’s efforts in In re Aeroflex, Inc. S’holder Litig.:
       “There is no doubt that the law firms involved in this matter represented in my opinion the cream of the
       crop of class action business law and mergers and acquisition litigators, and from a judicial point of
       view it was a pleasure working with them.” In re Aeroflex, Inc. S’holder Litig., No. 003943/07,
       Transcript at 25:14-18 (N.Y. Sup. Ct., Nassau Cty. June 30, 2009).

       In March 2009, in granting class certification, the Honorable Robert Sweet of the Southern District of
       New York commented in In re NYSE Specialists Sec. Litig., 260 F.R.D. 55, 74 (S.D.N.Y. 2009): “As to
       the second prong, the Specialist Firms have not challenged, in this motion, the qualifications,
       experience, or ability of counsel for Lead Plaintiff, [Robbins Geller], to conduct this litigation. Given
       [Robbins Geller’s] substantial experience in securities class action litigation and the extensive discovery
       already conducted in this case, this element of adequacy has also been satisfied.”

       In June 2008, the court commented, “Plaintiffs’ lead counsel in this litigation, [Robbins Geller], has
       demonstrated its considerable expertise in shareholder litigation, diligently advocating the rights of
       Home Depot shareholders in this Litigation. [Robbins Geller] has acted with substantial skill and
       professionalism in representing the plaintiffs and the interests of Home Depot and its shareholders in
       prosecuting this case.” City of Pontiac General Employees’ Ret. Sys. v. Langone, No. 2006-122302,
       Findings of Fact in Support of Order and Final Judgment at 2 (Ga. Super. Ct., Fulton Cty. June 10,
       2008).

       In a December 2006 hearing on the $50 million consumer privacy class action settlement in Kehoe v.
       Fidelity Fed. Bank & Tr., No. 03-80593-CIV (S.D. Fla.), United States District Court Judge Daniel T.K.
       Hurley said the following:

               First, I thank counsel. As I said repeatedly on both sides, we have been very, very
               fortunate. We have had fine lawyers on both sides. The issues in the case are
               significant issues. We are talking about issues dealing with consumer protection and
               privacy. Something that is increasingly important today in our society. . . . I want you to
               know I thought long and hard about this. I am absolutely satisfied that the settlement is
               a fair and reasonable settlement. . . . I thank the lawyers on both sides for the
               extraordinary effort that has been brought to bear here . . . .

       Kehoe v. Fidelity Fed. Bank & Tr., No. 03-80593-CIV, Transcript at 26, 28-29 (S.D. Fla. Dec. 7, 2006).

       In Stanley v. Safeskin Corp., No. 99 CV 454 (S.D. Cal.), where Robbins Geller attorneys obtained $55
       million for the class of investors, Judge Moskowitz stated:




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               I said this once before, and I’ll say it again. I thought the way that your firm handled
               this case was outstanding. This was not an easy case. It was a complicated case, and
               every step of the way, I thought they did a very professional job.

       Stanley v. Safeskin Corp., No. 99 CV 454, Transcript at 13 (S.D. Cal. May 25, 2004).




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 Attorney Biographies
 Mario Alba Jr. | Partner
 Mario Alba is a partner in the Firm’s Melville office. He has served as lead counsel in numerous cases and is
 responsible for initiating, investigating, researching, and filing securities and consumer fraud class actions. He
 has recovered millions of dollars in numerous actions, including cases against NBTY, Inc. ($16 million), OSI
 Pharmaceuticals ($9 million recovery) and PXRe Group, Ltd. ($5.9 million). Alba is also a member of the Firm’s
 Institutional Outreach Team, which provides advice to the Firm’s institutional clients, including numerous public
 pension systems and Taft-Hartley funds throughout the United States, and consults with them on issues relating
 to corporate fraud in the U.S. securities markets, as well as corporate governance issues and shareholder
 litigation. Some of Alba’s institutional clients are currently involved in cases involving Microsoft Corp., Endo
 International PLC, L-3 Communications Holdings, Inc., Iconix Brand Group and BHP Billiton Limited. Alba has
 lectured at institutional investor conferences throughout the United States on various shareholder issues,
 including at the Illinois Public Pension Fund Association, the New York State Teamsters Conference, the
 American Alliance Conference, and the TEXPERS/IPPFA Joint Conference at the New York Stock Exchange,
 among others.


 Education
 B.S., St. John’s University, 1999; J.D., Hofstra University School of Law, 2002

 Honors / Awards
 Super Lawyer “Rising Star,” 2012-2013, 2016-2017; B.S., Dean’s List, St. John’s University, 1999; Selected
 as participant in Hofstra Moot Court Seminar, Hofstra University School of Law




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 Susan K. Alexander | Partner
 Susan Alexander is a partner in the Firm’s San Francisco office. Alexander’s practice specializes in federal
 appeals of securities fraud class actions on behalf of investors. With nearly 30 years of federal appellate
 experience, she has argued on behalf of defrauded investors in circuit courts throughout the United States.
 Among her most notable cases are In re VeriFone Holdings, Inc. Sec. Litig. ($95 million recovery), which is one
 of the largest securities class action settlements ever achieved in the Northern District of California, and the
 successful appellate ruling in Alaska Elec. Pension Fund v. Flowserve Corp. ($55 million recovery). Other
 representative results include: W. Va. Pipe Trades Health & Welfare Fund v. Medtronic, Inc., 845 F.3d 384 (8th
 Cir. 2016) (reversing summary judgment of securities fraud action on statute of limitations grounds); In re
 Ubiquiti Networks, Inc. Sec. Litig., 2016 U.S. App. LEXIS 19141 (9th Cir. 2016) (reversing dismissal of §11
 claim); Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC, 750 F.3d 227 (2d Cir. 2014) (reversing
 dismissal of securities fraud complaint, focused on loss causation); Panther Partners Inc. v. Ikanos Commc’ns,
 Inc., 681 F.3d 114 (2d Cir. 2012) (reversing dismissal of §11 claim); City of Pontiac Gen. Emps. Ret. Sys. v.
 MBIA, Inc., 637 F.3d 169 (2d Cir. 2011) (reversing dismissal of securities fraud complaint, focused on statute
 of limitations); In re Gilead Scis. Sec. Litig., 536 F.3d 1049 (9th Cir. 2008) (reversing dismissal of securities
 fraud complaint, focused on loss causation); and Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th Cir. 2005)
 (reversing dismissal of securities fraud complaint, focused on scienter). Alexander’s prior appellate work was
 with the California Appellate Project (“CAP”), where she prepared appeals and petitions for writs of habeas
 corpus on behalf of individuals sentenced to death. At CAP, and subsequently in private practice, she litigated
 and consulted on death penalty direct and collateral appeals for ten years.


 Education
 B.A., Stanford University, 1983; J.D., University of California, Los Angeles, 1986

 Honors / Awards
 Super Lawyer, 2015-2017; American Academy of Appellate Lawyers; California Academy of Appellate
 Lawyers; Ninth Circuit Advisory Rules Committee; Appellate Delegate, Ninth Circuit Judicial Conference; ABA
 Council of Appellate Lawyers




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                                                                                                          Attorney Biographies



 Jason H. Alperstein | Partner
 Jason Alperstein is a partner in the Firm’s Boca Raton office. His practices focuses on consumer fraud,
 securities fraud, mass torts and data breach litigation. Alperstein was an integral member of the In re
 Volkswagen “Clean Diesel” Marketing, Sales Practices, & Prods. Liab. Litig., No. 15-md-2672 (N.D. Cal.),
 litigation team, prosecuting claims on behalf of almost 600,000 consumers who were duped into purchasing
 and leasing Volkswagen, Audi and Porsche vehicles that were marketed as environmentally friendly, yet spewed
 toxic pollutants up to 40 times the legal limit permitted by the EPA. Working closely with Plaintiffs’ Steering
 Committee (“PSC”) member Paul J. Geller, Alperstein was involved in almost all aspects of the litigation. The
 PSC and government agencies ultimately reached a series of settlements on behalf of purchasers, lessees and
 dealers that totaled well over $17 billion, the largest consumer automotive settlement in history. Alperstein is
 actively involved in a number of other class actions and MDLs pending throughout the country, including: In re
 Yahoo! Inc. Customer Data Security Breach Litig., No. 16-md-02752 (N.D. Cal.), regarding the largest data
 breach in history; In re FieldTurf Artificial Turf Mktg. & Sales Practices Litig., No. 17-md-02779 (D.N.J.),
 concerning the sale of defective synthetic turf for use in athletic fields; In re Chrysler-Dodge-Jeep Ecodiesel
 Mktg., Sales Practices & Prods. Liab. Litig., No. 17-md-02777 (N.D. Cal.), pertaining to Fiat Chrysler’s use of
 defeat devices to hide emission levels on its Jeep and Dodge “EcoDiesel” vehicles; Benkle v. Ford Motor Co.,
 No. 16-cv-01569 (C.D. Cal.), involving defective electronic throttle body units in Ford vehicles; and Zimmerman
 v. The 3M Company, No. 17-cv-01062 (W.D. Mich.), relating to the dumping of toxic waste and polluting of
 groundwater in Kent County, Michigan.

 Prior to joining Robbins Geller, Alperstein served on lead and co-lead litigation teams in nationwide and
 statewide class action lawsuits against dozens of the largest banking institutions in connection with the unlawful
 assessment of checking account overdraft fees. His efforts resulted in over $250 million in settlements for his
 clients and significant changes in the way banks charge overdraft fees to their customers. In addition, he led
 consumer class actions against product manufacturers for false and deceptive labeling, and some of the world’s
 largest clothing retailers for their use of false and deceptive comparative pricing in their outlet stores.


 Education
 B.A., Brown University, 2004; M.B.A., University of Miami School of Business, 2008, J.D., University of Miami
 School of Law, 2008

 Honors / Awards
 Super Lawyer “Rising Star,” 2014-2018; Top Litigator Under 40, Benchmark Litigation, 2017; Rising Star,
 Consumer Protection, Law360, 2017; J.D., Cum Laude, University of Miami School of Law, 2008




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 Matthew I. Alpert | Partner
 Matthew Alpert is a partner in the Firm’s San Diego office and focuses on the prosecution of securities fraud
 litigation. He has helped recover over $800 million for individual and institutional investors financially harmed by
 corporate fraud. Alpert’s current cases include securities fraud cases against Diplomat Pharmacy (E.D. Mich.),
 Valeant (D.N.J.), Santander Consumer USA (N.D. Tex.) and Banc of California (C.D. Cal.). Alpert is part of the
 litigation team that successfully obtained class certification in a securities fraud class action against Regions
 Financial, a class certification decision which was substantively affirmed by the United States Court of Appeals
 for the Eleventh Circuit in Local 703, I.B. of T. Grocery & Food Emps. Welfare Fund v. Regions Fin. Corp., 762
 F.3d 1248 (11th Cir. 2014). Upon remand, the United States District Court for the Northern District of
 Alabama granted class certification again, rejecting defendants’ post-Halliburton II arguments concerning stock
 price impact.


 Education
 B.A., University of Wisconsin at Madison, 2001; J.D., Washington University, St. Louis, 2005

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2018



 Darryl J. Alvarado | Partner
 Darryl Alvarado is a partner in the Firm’s San Diego office. Alvarado focuses his practice on securities fraud
 and other complex civil litigation. Alvarado helped secure $388 million for investors in J.P. Morgan RMBS in
 Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co. That settlement is, on a percentage basis, the largest
 recovery ever achieved in an RMBS class action. He was also a member of a team of attorneys that secured
 $95 million for investors in Morgan Stanley-issued RMBS in In re Morgan Stanley Mortgage Pass-Through
 Certificates Litig. In addition, Alvarado was a member of a team of lawyers that obtained landmark settlements,
 on the eve of trial, from the major credit rating agencies and Morgan Stanley arising out of the fraudulent ratings
 of bonds issued by the Cheyne and Rhinebridge structured investment vehicles in Abu Dhabi Commercial
 Bank v. Morgan Stanley & Co. Incorporated and King County, Washington v. IKB Deutsche Industriebank AG.
 He was integral in obtaining several precedent-setting decisions in those cases, including defeating the rating
 agencies’ historic First Amendment defense and defeating the ratings agencies’ motions for summary judgment
 concerning the actionability of credit ratings.


 Education
 B.A., University of California, Santa Barbara, 2004; J.D., University of San Diego School of Law, 2007

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2018; “Outstanding Young Attorneys,” San Diego Daily Transcript, 2011




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                                                                                                           Attorney Biographies



 X. Jay Alvarez | Partner
 Jay Alvarez is a partner in the Firm’s San Diego office. He focuses his practice on securities fraud litigation and
 other complex litigation. Alvarez’s notable cases include In re Qwest Commc’ns Int’l, Inc. Sec. Litig. ($400
 million recovery), In re Coca-Cola Sec. Litig. ($137.5 million settlement), In re St. Jude Medical, Inc. Sec. Litig.
 ($50 million settlement) and In re Cooper Cos. Sec. Litig. ($27 million recovery). Most recently, Alvarez was a
 member of the litigation team that secured a historic recovery on behalf of Trump University students in two
 class actions against President Donald J. Trump. The settlement provides $25 million to approximately 7,000
 consumers. This result means individual class members will be eligible for upwards of $35,000 in restitution.
 He represented the class on a pro bono basis.

 Prior to joining the Firm, Alvarez served as an Assistant United States Attorney for the Southern District of
 California from 1991-2003. As an Assistant United States Attorney, he obtained extensive trial experience,
 including the prosecution of bank fraud, money laundering and complex narcotics conspiracy cases. During his
 tenure as an Assistant United States Attorney, Alvarez also briefed and argued numerous appeals before the
 Ninth Circuit Court of Appeals.


 Education
 B.A., University of California, Berkeley, 1984; J.D., University of California, Berkeley, Boalt Hall School of Law,
 1987




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 Stephen R. Astley | Partner
 Stephen Astley is a partner in the Firm’s Boca Raton office. Astley devotes his practice to representing
 institutional and individual shareholders in their pursuit to recover investment losses caused by fraud. He has
 been lead counsel in numerous securities fraud class actions across the country, helping secure significant
 recoveries for his clients and investors. He was on the trial team that recovered $60 million on behalf of
 investors in City of Sterling Heights Gen. Emps.’ Ret. Sys. v. Hospira, Inc. Other notable representations
 include: In re Red Hat, Inc. Sec. Litig. (E.D.N.C.) ($20 million settlement); Eshe Fund v. Fifth Third Bancorp
 (S.D. Ohio) ($16 million); City of St. Clair Shores Gen. Emps.’ Ret. Sys. v. Lender Processing Servs., Inc. (M.D.
 Fla.) ($14 million); and In re Synovus Fin. Corp. (N.D. Ga.) ($11.75 million).

 Prior to joining the Firm, Astley was with the Miami office of Hunton & Williams, where he concentrated his
 practice on class action defense, including securities class actions and white collar criminal defense.
 Additionally, he represented numerous corporate clients accused of engaging in unfair and deceptive
 practices. Astley was also an active duty member of the United States Navy’s Judge Advocate General’s Corps
 where he was the Senior Defense Counsel for the Naval Legal Service Office Pearl Harbor Detachment. In that
 capacity, Astley oversaw trial operations for the Detachment and gained substantial first-chair trial experience as
 the lead defense counsel in over 75 courts-martial and administrative proceedings. Additionally, from
 2002-2003, Astley clerked for the Honorable Peter T. Fay, U.S. Court of Appeals for the Eleventh Circuit.


 Education
 B.S., Florida State University, 1992; M. Acc., University of Hawaii at Manoa, 2001; J.D., University of Miami
 School of Law, 1997

 Honors / Awards
 J.D., Cum Laude, University of Miami School of Law, 1997; United States Navy Judge Advocate General’s
 Corps., Lieutenant




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 A. Rick Atwood, Jr. | Partner
 Rick Atwood is a partner in the Firm’s San Diego office. As a recipient of the California Lawyer Attorney of the
 Year (“CLAY”) Award for his work on behalf of shareholders, he has successfully represented shareholders in
 securities class actions, merger-related class actions, and shareholder derivative suits in federal and state
 courts in more than 30 jurisdictions. Through his litigation efforts at both the trial and appellate levels, Atwood
 has helped recover billions of dollars for public shareholders, including the largest post-merger common fund
 recoveries on record.

 Most recently, in In re Dole Food Co., Inc. Stockholder Litig., which went to trial in the Delaware Court of
 Chancery on claims of breach of fiduciary duty on behalf of Dole Food Co., Inc. shareholders, Atwood helped
 obtain $148 million, the largest trial verdict ever in a class action challenging a merger transaction. He was also
 a key member of the litigation team in In re Kinder Morgan, Inc. S’holders Litig., where he helped obtain an
 unprecedented $200 million common fund for former Kinder Morgan shareholders, the largest merger &
 acquisition class action recovery in history.

 Atwood also led the litigation team that obtained an $89.4 million recovery for shareholders in In re Del Monte
 Foods Co. S’holders Litig., after which the Delaware Court of Chancery stated that “it was only through the
 effective use of discovery that the plaintiffs were able to ‘disturb[ ] the patina of normalcy surrounding the
 transaction.’” The court further commented that “Lead Counsel engaged in hard-nosed discovery to penetrate
 and expose problems with practices that Wall Street considered ‘typical.’” One Wall Street banker even wrote
 in The Wall Street Journal that “‘Everybody does it, but Barclays is the one that got caught with their hand in the
 cookie jar . . . . Now everybody has to rethink how we conduct ourselves in financing situations.’” Atwood’s
 other significant opinions include Brown v. Brewer ($45 million recovery) and In re Prime Hospitality, Inc.
 S’holders Litig. ($25 million recovery).


 Education
 B.A., University of Tennessee, Knoxville, 1987; B.A., Katholieke Universiteit Leuven, Belgium, 1988; J.D.,
 Vanderbilt School of Law, 1991

 Honors / Awards
 Recommended Lawyer, The Legal 500, 2017-2018; M&A Litigation Attorney of the Year in California,
 Corporate International, 2015; Super Lawyer, 2014-2017; Attorney of the Year, California Lawyer, 2012; B.A.,
 Great Distinction, Katholieke Universiteit Leuven, Belgium, 1988; B.A., Honors, University of Tennessee,
 Knoxville, 1987; Authorities Editor, Vanderbilt Journal of Transnational Law, 1991




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 Aelish M. Baig | Partner
 Aelish Marie Baig is a partner in the Firm’s San Francisco office. She specializes in federal securities and
 consumer class actions. She focuses primarily on securities fraud litigation on behalf of individual and
 institutional investors, including state and municipal pension funds, Taft-Hartley funds, and private retirement
 and investment funds. Baig has litigated a number of cases through jury trial, resulting in multi-million dollar
 awards and settlements for her clients and has prosecuted securities fraud, consumer and derivative actions
 obtaining millions of dollars in recoveries against corporations such as Wells Fargo, Verizon, Celera, Pall and
 Prudential.

 Baig prosecuted an action against Wells Fargo’s directors and officers accusing the giant of engaging in
 robosigning foreclosure papers so as to mass-process home foreclosures, a practice which contributed
 significantly to the 2008-2009 financial crisis. The resulting settlement was worth more than $67 million in
 cash, corporate preventative measures and new lending initiatives for residents of cities devastated by Wells
 Fargo’s alleged unlawful foreclosure practices. Baig was part of the litigation and trial team in White v. Cellco
 Partnership d/b/a Verizon Wireless, which resulted in a $25 million settlement and Verizon’s agreement to an
 injunction restricting its ability to impose early termination fees in future subscriber agreements. She was also
 part of the team that prosecuted dozens of stock option backdating actions, securing tens of millions of dollars
 in cash recoveries as well as the implementation of comprehensive corporate governance enhancements for
 numerous companies victimized by their directors’ and officers’ fraudulent stock option backdating practices.
 Additionally, Baig prosecuted an action against Prudential Insurance for its alleged failure to pay life insurance
 benefits to beneficiaries of policyholders it knew or had reason to know had died, resulting in a settlement in
 excess of $30 million.


 Education
 B.A., Brown University, 1992; J.D., Washington College of Law at American University, 1998

 Honors / Awards
 Super Lawyer, 2012-2013; J.D., Cum Laude, Washington College of Law at American University, 1998; Senior
 Editor, Administrative Law Review, Washington College of Law at American University




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 Randall J. Baron | Partner
 Randy Baron is a partner in the Firm’s San Diego office. He specializes in securities litigation, corporate
 takeover litigation and breach of fiduciary duty actions. For almost two decades, Baron has headed up a team
 of lawyers whose accomplishments include obtaining instrumental rulings both at injunction and trial phases,
 establishing liability of financial advisors and investment banks. With an in-depth understanding of merger and
 acquisition and breach of fiduciary duty law, an ability to work under extreme time pressures, and the experience
 and willingness to take a case through trial, he has been responsible for recovering more than a billion dollars
 for shareholders. Notable achievements over the years include: In re Kinder Morgan, Inc. S’holders Litig. (Kan.
 Dist. Ct., Shawnee Cty.) ($200 million common fund for former Kinder Morgan shareholders, the largest merger
 & acquisition class action recovery in history); In re Dole Food Co., Inc. Stockholder Litig. (Del. Ch.) (obtained
 $148 million, the largest trial verdict ever in a class action challenging a merger transaction); and In re
 Rural/Metro Corp. Stockholders Litig. (Del. Ch.) (Baron and co-counsel obtained nearly $110 million for
 shareholders against Royal Bank of Canada Capital Markets LLC). In In re Del Monte Foods Co. S’holders
 Litig. (Del. Ch.), he exposed the unseemly practice by investment bankers of participating on both sides of large
 merger and acquisition transactions and ultimately secured an $89 million settlement for shareholders of Del
 Monte. Baron was one of the lead attorneys representing about 75 public and private institutional investors that
 filed and settled individual actions in In re WorldCom Sec. Litig. (S.D.N.Y.), where more than $657 million was
 recovered, the largest opt-out (non-class) securities action in history. In In re Dollar Gen. Corp. S’holder
 Litig. (Tenn. Cir. Ct., Davidson Cty.), Baron was lead trial counsel and helped to secure a settlement of up to
 $57 million in a common fund shortly before trial, and in Brown v. Brewer (C.D. Cal.), he secured $45 million for
 shareholders of Intermix Corporation, relating to News Corp.’s acquisition of that company. Formerly, Baron
 served as a Deputy District Attorney from 1990-1997 in Los Angeles County.


 Education
 B.A., University of Colorado at Boulder, 1987; J.D., University of San Diego School of Law, 1990

 Honors / Awards
 Leading Lawyer, Chambers USA, 2016-2018; Local Litigation Star, Benchmark Litigation, 2018; Litigation
 Star, Benchmark Litigation, 2016-2018; Leading Lawyer in America, Lawdragon, 2011, 2017-2018; Super
 Lawyer, 2014-2016, 2018; Leading Lawyer, The Legal 500, 2014-2018; Recommended Lawyer, The Legal
 500, 2017; Mergers & Acquisitions Trailblazer, The National Law Journal, 2015-2016; Litigator of the Week,
 The American Lawyer, October 16, 2014; Attorney of the Year, California Lawyer, 2012; Litigator of the Week,
 The American Lawyer, October 7, 2011; J.D., Cum Laude, University of San Diego School of Law, 1990




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 James E. Barz | Partner
 James Barz is a partner at the Firm and manages the Firm’s Chicago office. He is a registered CPA, a former
 federal prosecutor, and he has been an adjunct professor at Northwestern University School of Law from 2008
 to 2017, teaching courses on trial advocacy and class action litigation. Barz has focused on representing
 investors in securities fraud class actions that have resulted in recoveries of over $900 million, including: HCA
 ($215 million, M.D. Tenn.); Motorola ($200 million, N.D. Ill.); Sprint ($131 million, D. Kan.); Psychiatric
 Solutions ($65 million, M.D. Tenn.); Dana Corp. ($64 million, N.D. Ohio); and Hospira ($60 million, N.D. Ill.).
 He has been lead or co-lead trial counsel in several of these cases obtaining favorable settlements just days or
 weeks before trial and after obtaining denials of summary judgment. Barz is currently representing investors in
 securities fraud litigation against Valeant Pharmaceuticals Inc. (D.N.J.). Barz also handles whistleblower,
 antitrust, and consumer class actions and has responsibilities for Firm training and professional responsibility
 matters.

 Prior to joining the Firm, Barz was a partner at Mayer Brown LLP from 2006 to 2011 and an associate from
 1998 to 2002. At Mayer Brown, Barz handled commercial litigation, internal investigations, and antitrust cases.
 Barz was also active in their pro bono program where, in his first jury trial, he won an acquittal on all charges
 and, in his first appeal, he obtained the reversal of a conviction based on the trial judge having solicited a bribe.
 From 2002 to 2006 he served as an Assistant United States Attorney in Chicago, trying cases and supervising
 investigations involving public corruption, financial frauds, tax offenses, money laundering, and drug and firearm
 offenses. He successfully obtained a conviction against every defendant who went to trial.


 Education
 B.B.A., Loyola University Chicago, School of Business Administration, 1995; J.D., Northwestern University
 School of Law, 1998

 Honors / Awards
 Super Lawyer, 2018; B.B.A., Summa Cum Laude, Loyola University Chicago, School of Business
 Administration, 1995; J.D., Cum Laude, Northwestern University School of Law, 1998




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                                                                                                             Attorney Biographies



 Nathan W. Bear | Partner
 Nate Bear is a partner in the Firm’s San Diego office. Bear advises institutional investors on a global basis. His
 clients include Taft-Hartley funds, public and multi-employer pension funds, fund managers, insurance
 companies and banks around the world. He counsels clients on securities fraud and corporate governance,
 and frequently speaks at conferences worldwide. He has recovered over $1 billion for investors, including In re
 Cardinal Health, Inc. Sec. Litig. ($600 million) and Jones v. Pfizer Inc. ($400 million). In addition to initiating
 securities fraud class actions in the United States, he possesses direct experience in potential group actions in
 the United Kingdom, settlements in the European Union under the Wet Collectieve Afwikkeling Massaschade
 (WCAM), the Dutch Collective Mass Claims Settlement Act, as well as representative actions in Germany
 utilizing the Kapitalanlegermusterverfahrensgesetz (KapMuG), the Capital Market Investors’ Model Proceeding
 Act. In Abu Dhabi Commercial Bank v. Morgan Stanley & Co. Inc., Bear commenced a lawsuit resulting in the
 first major ruling upholding fraud allegations against the chief credit rating agencies. That ruling led to the filing
 of a similar case, King County, Washington v. IKB Deutsche Industriebank AG. These cases, arising from the
 fraudulent ratings of bonds issued by the Cheyne and Rhinebridge structured investment vehicles, ultimately
 obtained landmark settlements – on the eve of trial – from the major credit rating agencies and Morgan Stanley.
 Bear maintained an active role in litigation at the heart of the worldwide financial crisis, and is currently pursuing
 banks over their manipulation of LIBOR, FOREX and other benchmark rates.


 Education
 B.A., University of California at Berkeley, 1998; J.D., University of San Diego School of Law, 2006

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2016; “Outstanding Young Attorneys,” San Diego Daily Transcript, 2011




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 Alexandra S. Bernay | Partner
 Xan Bernay is a partner in the Firm’s San Diego office, where she specializes in antitrust and unfair competition
 class-action litigation. She has also worked on some of the Firm’s largest securities fraud class actions,
 including the Enron litigation, which recovered an unprecedented $7.2 billion for investors. Bernay’s current
 practice focuses on the prosecution of antitrust and consumer fraud cases. In In re Payment Card Interchange
 Fee and Merchant Discount Antitrust Litig. Bernay serves as co-lead counsel. That case, pending in the
 Eastern District of New York, is brought on behalf of millions of U.S. merchants against Visa and MasterCard
 and various card-issuing banks. The case challenges the way these companies set and collect tens of billions
 of dollars annually in merchant fees.

 Additionally, Bernay is involved in antitrust cases on behalf of various generic drug purchasers who allege a
 wide-ranging scheme against major drug companies. She is also involved in In re Remicade Antitrust Litig.
 pending in the Eastern District of Pennsylvania – a large case involving anticompetitive conduct in the biosimilars
 market. She is also part of the litigation team in a case involving anticompetitive conduct related to dealer
 management systems on behalf of auto dealerships across the country. That case, In re Dealer Mgmt. Sys.
 Antitrust Litig., is pending in the Northern District of Illinois. In the past, Bernay was actively involved in the
 consumer action on behalf of bank customers who were overcharged for debit card transactions. That case, In
 re Checking Account Overdraft Litig., resulted in more than $500 million in settlements with major banks that
 manipulated customers’ debit transactions to maximize overdraft fees.


 Education
 B.A., Humboldt State University, 1997; J.D., University of San Diego School of Law, 2000

 Honors / Awards
 Litigator of the Week, Global Competition Review, October 1, 2014




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 Erin W. Boardman | Partner
 Erin Boardman is a partner in the Firm’s Melville office, where her practice focuses on representing individual
 and institutional investors in class actions brought pursuant to the federal securities laws. She has been
 involved in the prosecution of numerous securities class actions that have resulted in millions of dollars in
 recoveries for defrauded investors, including: Medoff v. CVS Caremark Corp. (D.R.I.) ($48 million recovery);
 Construction Laborers Pension Trust of Greater St. Louis v. Autoliv Inc. (S.D.N.Y.) ($22.5 million recovery); In
 re Gildan Activewear Inc. Sec. Litig. (S.D.N.Y.) (resolved as part of a $22.5 million global settlement); In re L.G.
 Phillips LCD Co., Ltd., Sec. Litig. (S.D.N.Y.) ($18 million recovery); In re Giant Interactive Grp., Inc. Sec. Litig.
 (S.D.N.Y.) ($13 million recovery); In re Coventry HealthCare, Inc. Sec. Litig. (D. Md.) ($10 million recovery);
 Lenartz v. American Superconductor Corp. (D. Mass.) ($10 million recovery); Dudley v. Haub (D.N.J.) ($9
 million recovery); Hildenbrand v. W Holding Co. (D.P.R.) ($8.75 million recovery); In re Doral Financial Corp.
 Sec. Litig. (D.P.R.) ($7 million recovery); and Van Dongen v. CNinsure Inc. (S.D.N.Y.) ($6.625 million
 recovery). During law school, Boardman served as Associate Managing Editor of the Journal of Corporate,
 Financial and Commercial Law interned in the chambers of the Honorable Kiyo A. Matsumoto in the United
 States District Court for the Eastern District of New York, and represented individuals on a pro bono basis
 through the Workers’ Rights Clinic.


 Education
 B.A., State University of New York at Binghamton, 2003; J.D., Brooklyn Law School, 2007

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2017; B.A., Magna Cum Laude, State University of New York at
 Binghamton, 2003



 Douglas R. Britton | Partner
 Doug Britton is a partner in the Firm’s San Diego office. His practice focuses on securities fraud and corporate
 governance. Britton has been involved in settlements exceeding $1 billion and has secured significant
 corporate governance enhancements to improve corporate functioning. Notable achievements include In re
 WorldCom, Inc. Sec. & “ERISA” Litig., where he was one of the lead partners that represented a number of opt-
 out institutional investors and secured an unprecedented recovery of $651 million; In re SureBeam Corp. Sec.
 Litig., where he was the lead trial counsel and secured an impressive recovery of $32.75 million; and In re
 Amazon.com, Inc. Sec. Litig., where he was one of the lead attorneys securing a $27.5 million recovery for
 investors.


 Education
 B.B.A., Washburn University, 1991; J.D., Pepperdine University School of Law, 1996

 Honors / Awards
 J.D., Cum Laude, Pepperdine University School of Law, 1996




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 Luke O. Brooks | Partner
 Luke Brooks is a partner in the Firm’s securities litigation practice group in the San Diego office. He focuses
 primarily on securities fraud litigation on behalf of individual and institutional investors, including state and
 municipal pension funds, Taft-Hartley funds, and private retirement and investment funds. Brooks was on the
 trial team in Jaffe v. Household Int’l, Inc., a securities class action that obtained a record-breaking $1.575
 billion settlement after 14 years of litigation, including a six-week jury trial in 2009 that resulted in a verdict for
 plaintiffs. Other prominent cases recently prosecuted by Brooks include Fort Worth Employees’ Retirement
 Fund v. J.P. Morgan Chase & Co., in which plaintiffs recovered $388 million for investors in J.P. Morgan
 residential mortgage-backed securities, and a pair of cases – Abu Dhabi Commercial Bank v. Morgan Stanley
 & Co. Inc. (“Cheyne”) and King County, Washington, et al. v. IKB Deutsche Industriebank AG (“Rhinebridge”) –
 in which plaintiffs obtained a settlement, on the eve of trial in Cheyne, from the major credit rating agencies and
 Morgan Stanley arising out of the fraudulent ratings of bonds issued by the Cheyne and Rhinebridge structured
 investment vehicles.


 Education
 B.A., University of Massachusetts at Amherst, 1997; J.D., University of San Francisco, 2000

 Honors / Awards
 Local Litigation Star, Benchmark Litigation, 2017-2018; Recommended Lawyer, The Legal 500, 2017-2018;
 Member, University of San Francisco Law Review, University of San Francisco



 Spencer A. Burkholz | Partner
 Spence Burkholz is a partner in the Firm’s San Diego office and a member of the Firm’s Executive and
 Management Committees. He has 21 years of experience in prosecuting securities class actions and private
 actions on behalf of large institutional investors. Burkholz was one of the lead trial attorneys in Jaffe v.
 Household Int’l, Inc., a securities class action that obtained a record-breaking $1.575 billion settlement after 14
 years of litigation, including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Burkholz has also
 recovered billions of dollars for injured shareholders in cases such as Enron ($7.2 billion), WorldCom ($657
 million), Countrywide ($500 million) and Qwest ($445 million). He is currently representing large institutional
 investors in actions involving the credit crisis.


 Education
 B.A., Clark University, 1985; J.D., University of Virginia School of Law, 1989

 Honors / Awards
 Plaintiff Attorney of the Year, Benchmark Litigation, 2018; Leading Lawyer in America, Lawdragon, 2018; Local
 Litigation Star, Benchmark Litigation, 2015-2018; Top 100 Trial Lawyer, Benchmark Litigation, 2018; Best
 Lawyer in America, Best Lawyers®, 2018; Recommended Lawyer, The Legal 500, 2017-2018; Top Lawyer in
 San Diego, San Diego Magazine, 2013-2017; Super Lawyer, 2015-2016; B.A., Cum Laude, Clark University,
 1985; Phi Beta Kappa, Clark University, 1985




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                                                                                                           Attorney Biographies



 Susannah R. Conn | Partner
 Susannah Conn is a partner in the Firm’s San Diego office, where her practice focuses on complex securities
 litigation. Since joining the Firm, Conn has participated in the prosecution of several cases that have resulted in
 substantial recoveries for investors, including Alaska Elec. Pension Fund v. Pharmacia Corp., City of Livonia
 Emps.’ Ret. Sys. v. Wyeth and In re Sanofi-Aventis Sec. Litig. Conn is currently a member of the team
 prosecuting In re Medtronic, Inc. Sec. Litig., No. 13-cv-01686 (D. Minn.), and Teachers Ret. Sys. of Ill. v. Am.
 Int’l Grp., Inc., No. 13-cv-03377 (S.D.N.Y.).


 Education
 B.A., University of Wyoming, 1995; J.D., California Western School of Law, 1999

 Honors / Awards
 J.D., Magna Cum Laude, California Western School of Law, 1999; Executive Lead Articles Editor, California
 Western Law Review, California Western School of Law; B.A., Cum Laude, University of Wyoming, 1995;
 Outstanding Graduate Award, University of Wyoming



 Joseph D. Daley | Partner
 Joseph Daley is a partner in the Firm’s San Diego office, serves on the Firm’s Securities Hiring Committee, and
 is a member of the Firm’s Appellate Practice Group. Precedents include: City of Providence v. Bats Glob.
 Mkts., Inc., 878 F.3d 36 (2d Cir. 2017); DeJulius v. New Eng. Health Care Emps. Pension Fund, 429 F.3d 935
 (10th Cir. 2005); Frank v. Dana Corp. (“Dana I”), 547 F.3d 564 (6th Cir. 2008); Frank v. Dana Corp. (“Dana
 II”), 646 F.3d 954 (6th Cir. 2011); Freidus v. Barclays Bank Plc, 734 F.3d 132 (2d Cir. 2013); In re
 HealthSouth Corp. Sec. Litig., 334 F. App’x 248 (11th Cir. 2009); In re Merck & Co. Sec., Derivative & ERISA
 Litig., 493 F.3d 393 (3d Cir. 2007); In re Quality Sys., Inc. Sec. Litig., 865 F.3d 1130 (9th Cir. 2017); In re
 Qwest Commc’ns Int’l, 450 F.3d 1179 (10th Cir. 2006); Luther v. Countrywide Home Loans Servicing LP,
 533 F.3d 1031 (9th Cir. 2008); NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145
 (2d Cir. 2012); Rosenbloom v. Pyott (“Allergan”), 765 F.3d 1137 (9th Cir. 2014); Silverman v. Motorola
 Solutions, Inc., 739 F.3d 956 (7th Cir. 2013); Siracusano v. Matrixx Initiatives, Inc., 585 F.3d 1167 (9th Cir.
 2009), aff’d, 563 U.S. 27 (2011); and Southland Sec. Corp. v. INSpire Ins. Solutions Inc., 365 F.3d 353 (5th
 Cir. 2004). Daley is admitted to practice before the U.S. Supreme Court, as well as before 12 U.S. Courts of
 Appeals around the nation.


 Education
 B.S., Jacksonville University, 1981; J.D., University of San Diego School of Law, 1996

 Honors / Awards
 Super Lawyer, 2011-2012, 2014-2018; Appellate Moot Court Board, Order of the Barristers, University of San
 Diego School of Law; Best Advocate Award (Traynore Constitutional Law Moot Court Competition), First Place
 and Best Briefs (Alumni Torts Moot Court Competition and USD Jessup International Law Moot Court
 Competition)




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                                                                                                         Attorney Biographies



 Patrick W. Daniels | Partner
 Patrick Daniels is a founding and managing partner in the Firm’s San Diego office. He is widely recognized as a
 leading corporate governance and investor advocate. The Daily Journal, the leading legal publisher in
 California, named him one of the 20 most influential lawyers in California under 40 years of age. Additionally,
 the Yale School of Management’s Millstein Center for Corporate Governance and Performance awarded
 Daniels its “Rising Star of Corporate Governance” honor for his outstanding leadership in shareholder advocacy
 and activism. Daniels counsels private and state government pension funds, central banks and fund managers in
 the United States, Australia, United Arab Emirates, United Kingdom, the Netherlands, and other countries within
 the European Union on issues related to corporate fraud in the United States securities markets and on “best
 practices” in the corporate governance of publicly traded companies. Daniels has represented dozens of
 institutional investors in some of the largest and most significant shareholder actions, including Enron,
 WorldCom, AOL Time Warner, BP, Pfizer, Countrywide, Petrobras and Volkswagen, to name just a few. In the
 wake of the financial crisis, he represented dozens of investors in structured investment products in ground-
 breaking actions against the ratings agencies and Wall Street banks that packaged and sold supposedly highly
 rated shoddy securities to institutional investors all around the world.


 Education
 B.A., University of California, Berkeley, 1993; J.D., University of San Diego School of Law, 1997

 Honors / Awards
 One of the Most 20 Most Influential Lawyers in the State of California Under 40 Years of Age, Daily Journal;
 Rising Star of Corporate Governance, Yale School of Management’s Milstein Center for Corporate Governance
 & Performance; B.A., Cum Laude, University of California, Berkeley, 1993




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                                                                                                           Attorney Biographies



 Stuart A. Davidson | Partner
 Stuart Davidson is a partner in the Firm’s Boca Raton office. His practice focuses on complex consumer class
 actions, including cases involving deceptive and unfair trade practices, privacy and data breach issues, as well
 as representing investors in class actions involving mergers and acquisitions, and prosecuting derivative
 lawsuits on behalf of public corporations. Since joining the Firm, Davidson has obtained multi-million dollar
 recoveries for consumers, healthcare providers and shareholders, including cases involving Aetna Health, Vista
 Healthplan, Fidelity Federal Bank & Trust, Winn-Dixie, and UnitedGlobalCom. He currently serves as co-lead
 counsel for hundreds of retired NHL players in In re NHL Players’ Concussion Injury Litigation in the District of
 Minnesota, serves as a member of the Plaintiffs’ Executive Committee in In re Yahoo! Inc. Customer Data
 Security Breach Litigation in the Northern District of California regarding the the largest data breach in history,
 and is spearheading several aspects of In re EpiPen (Epinephrine Injection, USP) Marketing, Sales Practices
 and Antitrust Litigation in the District of Kansas, a case involving the illegal monopolization of the epinephrine
 auto-injector market, which allowed the prices of the life-saving EpiPen to rise over 600% in 9 years, and where
 Robbins Geller named partner Paul J. Geller was appointed Co-Lead Counsel.

 Davidson is a former lead assistant public defender in the Felony Division of the Broward County, Florida Public
 Defender’s Office. During his tenure at the Public Defender’s Office, he tried over 30 jury trials, conducted
 hundreds of depositions, handled numerous evidentiary hearings, engaged in extensive motion practice, and
 defended individuals charged with major crimes ranging from third-degree felonies to life and capital felonies.


 Education
 B.A., State University of New York at Geneseo, 1993; J.D., Nova Southeastern University Shepard Broad Law
 Center, 1996

 Honors / Awards
 J.D., Summa Cum Laude, Nova Southeastern University Shepard Broad Law Center, 1996; Associate Editor,
 Nova Law Review, Book Awards in Trial Advocacy, Criminal Pretrial Practice and International Law




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                                                                                                            Attorney Biographies



 Jason C. Davis | Partner
 Jason Davis is a partner in the Firm’s San Francisco office where he practices securities class actions and
 complex litigation involving equities, fixed-income, synthetic and structured securities issued in public and
 private transactions. Davis was on the trial team in Jaffe v. Household Int’l, Inc., a securities class action that
 obtained a record-breaking $1.575 billion settlement after 14 years of litigation, including a six-week jury trial in
 2009 that resulted in a verdict for plaintiffs.

 Prior to joining the Firm, Davis focused on cross-border transactions, mergers and acquisitions at Cravath,
 Swaine and Moore LLP in New York.


 Education
 B.A., Syracuse University, 1998; J.D., University of California at Berkeley, Boalt Hall School of Law, 2002

 Honors / Awards
 B.A., Summa Cum Laude, Syracuse University, 1998; International Relations Scholar of the year, Syracuse
 University; Teaching fellow, examination awards, Moot court award, University of California at Berkeley, Boalt
 Hall School of Law



 Mark J. Dearman | Partner
 Mark Dearman is a partner in the Firm’s Boca Raton office, where his practice focuses on consumer fraud,
 securities fraud, mass torts, antitrust, whistleblower and corporate takeover litigation. Dearman was most
 recently appointed to the Plaintiffs’ Executive Committee in In re FieldTurf Artificial Turf Mktg. Practices
 Litig., which alleges that FieldTurf USA Inc. and its related companies sold defective synthetic turf for use in
 athletic fields. His other recent representative cases include: In re NHL Players’ Concussion Injury Litig., 2015
 U.S. Dist. LEXIS 38755 (D. Minn. 2015); In re Sony Gaming Networks & Customer Data Sec. Breach Litig.,
 903 F. Supp. 2d 942 (S.D. Cal. 2012); In re Volkswagen “Clean Diesel” Mktg. Sales Practice, & Prods. Liab.
 Litig., 2016 U.S. Dist. LEXIS 1357 (N.D. Cal. 2016); In re Ford Fusion & C-Max Fuel Econ. Litig., 2015 U.S.
 Dist. LEXIS 155383 (S.D.N.Y. 2015); Looper v. FCA US LLC, No. 5:14-cv-00700 (C.D. Cal.); In re Aluminum
 Warehousing Antitrust Litig., 95 F. Supp. 3d 419 (S.D.N.Y. 2015), aff’d, 833 F.3d 151 (2d Cir. 2016); In re
 Liquid Aluminum Sulfate Antitrust Litig., No. 16-md-2687 (D.N.J.); In re Winn-Dixie Stores, Inc. S’holder Litig.,
 No. 16-2011-CA-010616 (Fla. 4th Jud. Cir. Ct., Duval Cty.); Gemelas v. Dannon Co. Inc., No. 1:08-cv-00236
 (N.D. Ohio); and In re AuthenTec, Inc. S’holder Litig., No. 05-2012-CA-57589 (Fla. 18th Jud. Cir. Ct., Brevard
 Cty.). Prior to joining the Firm, he founded Dearman & Gerson, where he defended Fortune 500 companies,
 with an emphasis on complex commercial litigation, consumer claims, and mass torts (products liability and
 personal injury), and has obtained extensive jury trial experience throughout the United States. Having
 represented defendants for so many years before joining the Firm, Dearman has a unique perspective that
 enables him to represent clients effectively.


 Education
 B.A., University of Florida, 1990; J.D., Nova Southeastern University, 1993

 Honors / Awards
 AV rated by Martindale-Hubbell; Super Lawyer, 2014-2018; In top 1.5% of Florida Civil Trial Lawyers in Florida
 Trend’s Florida Legal Elite, 2006, 2004



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                                                                                                           Attorney Biographies



 Travis E. Downs III | Partner
 Travis Downs is a partner in the Firm’s San Diego office. His areas of expertise include prosecution of
 shareholder and securities litigation, including complex shareholder derivative actions. Downs led a team of
 lawyers who successfully prosecuted over 65 stock option backdating derivative actions in federal and state
 courts across the country, resulting in hundreds of millions in financial givebacks for the plaintiffs and extensive
 corporate governance enhancements, including annual directors elections, majority voting for directors and
 shareholder nomination of directors. Notable cases include: In re Community Health Sys., Inc. S'holder
 Derivative Litig. ($60 million in financial relief and unprecedented corporate governance reforms); In re Marvell
 Tech. Grp. Ltd. Derivative Litig. ($54 million in financial relief and extensive corporate governance
 enhancements); In re McAfee, Inc. Derivative Litig. ($30 million in financial relief and extensive corporate
 governance enhancements); In re Affiliated Computer Servs. Derivative Litig. ($30 million in financial relief and
 extensive corporate governance enhancements); In re KB Home S’holder Derivative Litig. ($30 million in
 financial relief and extensive corporate governance enhancements); In re Juniper Networks Derivative Litig.
 ($22.7 million in financial relief and extensive corporate governance enhancements); and In re Nvidia Corp.
 Derivative Litig. ($15 million in financial relief and extensive corporate governance enhancements).

 He was also part of the litigation team that obtained a $67 million settlement in City of Westland Police & Fire
 Ret. Sys. v. Stumpf, a shareholder derivative action alleging that Wells Fargo participated in the mass-
 processing of home foreclosure documents by engaging in widespread robo-signing, and a $250 million
 settlement in In re Google, Inc. Derivative Litig., an action alleging that Google facilitated in the improper
 advertising of prescription drugs. Downs is a frequent speaker at conferences and seminars and has lectured
 on a variety of topics related to shareholder derivative and class action litigation.


 Education
 B.A., Whitworth University, 1985; J.D., University of Washington School of Law, 1990

 Honors / Awards
 Best Lawyer in America, Best Lawyers®, 2018; Top Lawyer in San Diego, San Diego Magazine, 2013-2017;
 Board of Trustees, Whitworth University; Super Lawyer, 2008; B.A., Honors, Whitworth University, 1985




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                                                                                                              Attorney Biographies



 Daniel S. Drosman | Partner
 Dan Drosman is a partner in the Firm’s San Diego office and a member of the Firm’s Management Committee.
 He focuses his practice on securities fraud and other complex civil litigation and has obtained significant
 recoveries for investors in cases such as Morgan Stanley, Cisco Systems, Coca-Cola, Petco, PMI and America
 West. Drosman served as one of the lead trial attorneys in Jaffe v. Household Int’l, Inc. in the Northern District
 of Illinois, a securities class action that obtained a record-breaking $1.575 billion settlement after 14 years of
 litigation, including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Drosman also led a group
 of attorneys prosecuting fraud claims against the credit rating agencies, where he was distinguished as one of
 the few plaintiffs’ counsel to overcome the credit rating agencies’ motions to dismiss.

 Prior to joining the Firm, Drosman served as an Assistant District Attorney for the Manhattan District Attorney’s
 Office, and an Assistant United States Attorney in the Southern District of California, where he investigated and
 prosecuted violations of the federal narcotics, immigration, and official corruption law.


 Education
 B.A., Reed College, 1990; J.D., Harvard Law School, 1993

 Honors / Awards
 Leading Lawyer in America, Lawdragon, 2018; Recommended Lawyer, The Legal 500, 2017-2018; Super
 Lawyer, 2017-2018; Top 100 Lawyer, Daily Journal, 2017; Department of Justice Special Achievement Award,
 Sustained Superior Performance of Duty; B.A., Honors, Reed College, 1990; Phi Beta Kappa, Reed College,
 1990



 Thomas E. Egler | Partner
 Tom Egler is a partner in the Firm’s San Diego office and focuses his practice on representing clients in major
 complex, multidistrict litigations, such as Lehman Brothers, Countrywide Mortgage Backed
 Securities, WorldCom, AOL Time Warner and Qwest. He has represented institutional investors both as
 plaintiffs in individual actions and as lead plaintiffs in class actions. Prior to joining the Firm, Egler was a law
 clerk to the Honorable Donald E. Ziegler, Chief Judge, United States District Court, Western District of
 Pennsylvania.


 Education
 B.A., Northwestern University, 1989; J.D., The Catholic University of America, Columbus School of Law, 1995

 Honors / Awards
 Super Lawyer, 2017-2018; Associate Editor, the Catholic University Law Review




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                                                                                                         Attorney Biographies



 Alan I. Ellman | Partner
 Alan Ellman is a partner in the Firm’s Melville office, where he concentrates his practice on prosecuting complex
 securities fraud cases on behalf of institutional investors. Most recently, Ellman was on the team of Robbins
 Geller attorneys who obtained a $34.5 million recovery in Patel v. L-3 Communications Holdings, Inc., which
 represents a high percentage of damages that plaintiffs could reasonably expect to be recovered at trial and is
 more than eight times higher than the average settlement of cases with comparable investor losses. He was
 also on the team of attorneys who recovered in excess of $34 million for investors in In re OSG Sec. Litig.,
 which represented an outsized recovery of 93% of bond purchasers’ damages and 28% of stock purchasers’
 damages. The creatively structured settlement included more than $15 million paid by a bankrupt entity. In
 2006, Ellman received a Volunteer and Leadership Award from Housing Conservation Coordinators (HCC) for
 his pro bono service defending a client in Housing Court against a non-payment action, arguing an appeal
 before the Appellate Term, and staffing HCC’s legal clinic. He also successfully appealed a pro bono client’s
 criminal sentence before the Appellate Division.


 Education
 B.S., B.A., State University of New York at Binghamton, 1999; J.D., Georgetown University Law Center, 2003

 Honors / Awards
 Super Lawyer, 2017; Super Lawyer “Rising Star,” 2014-2015; B.S., B.A., Cum Laude, State University of New
 York at Binghamton, 1999




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 Jason A. Forge | Partner
 Jason Forge is a partner in the Firm’s San Diego office, specializing in complex investigations, litigation and
 trials. As a federal prosecutor and private practitioner, he has conducted and supervised scores of jury and
 bench trials in federal and state courts, including the month-long trial of a defense contractor who conspired
 with Congressman Randy “Duke” Cunningham in the largest bribery scheme in congressional history.

 Forge was a key member of the litigation team that secured a historic recovery on behalf of Trump University
 students in two class actions against President Donald J. Trump. The settlement refunds over 90% of the
 money thousands of students paid to “enroll” in Trump University. He represented the class on a pro bono
 basis. Forge has also successfully defeated motions to dismiss and obtained class certification against several
 prominent defendants, including the first securities fraud case against Wal-Mart Stores, Inc. and the first federal
 RICO case against Scotts Miracle-Gro. In a case against another prominent defendant, Pfizer Inc., he led an
 investigation that uncovered key documents that Pfizer had not produced in discovery. Although fact discovery
 in the case had already closed, the district judge ruled that the documents had been improperly withheld, and
 ordered that discovery be reopened, including reopening the depositions of Pfizer’s former CEO, CFO and
 General Counsel. Less than six months after completing these depositions, Pfizer settled the case for $400
 million. Forge has also taught trial practice techniques on local and national levels, and has written and argued
 many state and federal appeals, including an en banc argument in the Ninth Circuit. He also teaches White
 Collar Crime at the University of San Diego School of Law.


 Education
 B.B.A., The University of Michigan Ross School of Business, 1990; J.D., The University of Michigan Law School,
 1993

 Honors / Awards
 Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2018; Top 100 Lawyer, Daily Journal, 2017; Litigator of
 the Year, Our City San Diego, 2017; Two-time recipient of one of Department of Justice’s highest awards:
 Director’s Award for Superior Performance by Litigation Team; numerous commendations from Federal Bureau
 of Investigation (including commendation from FBI Director Robert Mueller III), Internal Revenue Service, and
 Defense Criminal Investigative Service; J.D., Magna Cum Laude, Order of the Coif, The University of Michigan
 Law School, 1993; B.B.A., High Distinction, The University of Michigan Ross School of Business, 1990




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                                                                                                          Attorney Biographies



 Paul J. Geller | Partner
 Paul Geller, Managing Partner of Robbins Geller Rudman & Dowd LLP’s Boca Raton, Florida of?ce, is a
 Founding Partner of the Firm, a member of its Executive and Management Committees and head of the Firm’s
 Consumer Practice Group. Geller’s 25 years of litigation experience is broad, and he has handled cases in
 each of the Firm’s practice areas. Notably, before devoting his practice to the representation of consumers and
 investors, he defended companies in high-stakes class action litigation, providing him an invaluable
 perspective. Geller has tried bench and jury trials on both the plaintiffs’ and defendants’ sides, and has argued
 before numerous state, federal and appellate courts throughout the country.

 Geller was recently selected to serve in a leadership position on behalf of governmental entities and other
 plaintiffs in the sprawling litigation concerning the nationwide prescription opioid epidemic. In reporting on the
 selection of the lawyers to lead the case, The National Law Journal reported that “[t]he team reads like a ‘Who’s
 Who’ in mass torts.” Geller was also part of the leadership team representing consumers in the massive
 Volkswagen “Clean Diesel” Emissions case. The San Francisco legal newspaper The Recorder labeled the
 group that was appointed in that case, which settled for more than $17 billion, a “class action dream team.”

 Geller is also currently serving as Co-Lead Counsel in In re EpiPen (Epinephrine Injection, USP) Mktg., Sales
 Practices & Antitrust Litig., a nationwide class action that alleges that pharmaceutical company Mylan N.V. and
 others engaged in anticompetitive and unfair business conduct in its sale and marketing of the EpiPen Auto-
 Injector device.

 Some of Geller’s other recent noteworthy successes include a $265 million recovery against Massey Energy in
 In re Massey Energy Co. Sec. Litig., in which Massey was found accountable for a tragic explosion at the Upper
 Big Branch mine in Raleigh County, West Virginia. Geller also secured a $146.25 million recovery against
 Duke Energy in Nieman v. Duke Energy Corp., the largest recovery in North Carolina for a case involving
 securities fraud, and one of the ?ve largest recoveries in the Fourth Circuit.


 Education
 B.S., University of Florida, 1990; J.D., Emory University School of Law, 1993

 Honors / Awards
 Rated AV by Martindale-Hubbell; Fellow, Litigation Counsel of America (LCA) Proven Trial Lawyers; Super
 Lawyer, 2007-2018; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2018; Lawyer of the Year, Best
 Lawyers®, 2018; Best Lawyer in America, Best Lawyers®, 2017-2018; Leading Lawyer in America,
 Lawdragon, 2006-2007, 2009-2018; Attorney of the Month, Attorney At Law, 2017; Featured in “Lawyer
 Limelight” series, Lawdragon, 2017; Recommended Lawyer, The Legal 500, 2016; Top Rated Lawyer, South
 Florida’s Legal Leaders, Miami Herald, 2015; Litigation Star, Benchmark Litigation, 2013; “Legal Elite,” Florida
 Trend Magazine; One of “Florida’s Most Effective Lawyers,” American Law Media, One of Florida’s top lawyers
 in South Florida Business Journal, One of the Nation’s Top “40 Under 40,” The National Law Journal; One of
 Florida’s Top Lawyers, Law & Politics; Editor, Emory Law Journal; Order of the Coif, Emory University School of
 Law




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                                                                                                             Attorney Biographies



 Christopher C. Gold | Partner
 Christopher Gold is a partner in the Firm’s Boca Raton office. His practice focuses on merger and acquisition,
 securities fraud, and consumer fraud litigation.

 Gold is licensed to practice in Florida at both the state and the federal level and has worked on a number of
 notable cases, including: In re Sony Gaming Networks & Customer Data Sec. Breach Litig. (S.D. Cal.),
 involving the massive data breach of Sony’s PlayStation Network in 2011, which settled for benefits valued at
 $15 million; In re Winn-Dixie Stores, Inc. S’holder Litig. (Fla. 4th Cir. Ct.), which recovered $9 million for former
 Winn-Dixie shareholders following the corporate buyout by BI-LO, the then-largest merger and acquisition
 recovery in Florida history; In re AuthenTec, Inc. S’holder Litig. (Fla. 18th Cir. Ct.), which settled for $10 million
 (a new Florida record) on behalf of the former shareholders of AuthenTec following a buyout by Apple, which
 incorporated AuthenTec’s fingerprint technology into the Apple iPhone; and Boland v. Gerdau S.A., et al.
 (S.D.N.Y.), which settled for $15 million.


 Education
 B.S., Lynn University, 2006; J.D., DePaul University College of Law, 2010



 Jonah H. Goldstein | Partner
 Jonah Goldstein is a partner in the Firm’s San Diego office and is responsible for prosecuting complex
 securities cases and obtaining recoveries for investors. He also represents corporate whistleblowers who
 report violations of the securities laws. Goldstein has achieved significant settlements on behalf of investors
 including in In re HealthSouth Sec. Litig. (over $670 million recovered against HealthSouth, UBS and Ernst &
 Young), In re Cisco Sec. Litig. (approximately $100 million), and Marcus v. J.C. Penney Company, Inc. ($97.5
 million recovery). Goldstein also served on the Firm’s trial team in In re AT&T Corp. Sec. Litig., MDL No. 1399
 (D.N.J.), which settled after two weeks of trial for $100 million, and aided in the $65 million recovery in Garden
 City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc., the third largest securities recovery ever in the Middle
 District of Tennessee and the largest in more than a decade. Most recently, he was part of the litigation team
 in Luna v. Marvell Tech. Grp., Ltd., resulting in a $72.5 million settlement that represents approximately 24% to
 50% of the best estimate of classwide damages suffered by investors. Prior to joining the Firm, Goldstein
 served as a law clerk for the Honorable William H. Erickson on the Colorado Supreme Court and as an
 Assistant United States Attorney for the Southern District of California, where he tried numerous cases and
 briefed and argued appeals before the Ninth Circuit Court of Appeals.


 Education
 B.A., Duke University, 1991; J.D., University of Denver College of Law, 1995

 Honors / Awards
 Recommended Lawyer, The Legal 500, 2018; Comments Editor, University of Denver Law Review, University
 of Denver College of Law




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                                                                                                           Attorney Biographies



 Benny C. Goodman III | Partner
 Benny Goodman is a partner in the Firm’s San Diego office. He primarily represents plaintiffs in shareholder
 actions on behalf of aggrieved corporations. Goodman has recovered hundreds of millions of dollars in
 shareholder derivative actions pending in state and federal courts across the nation. Most recently, he led a
 team of lawyers in litigation brought on behalf of Community Health Systems, Inc., resulting in a $60 million
 payment to the company, the largest recovery in a shareholder derivative action in Tennessee and the Sixth
 Circuit, as well as best in class value enhancing corporate governance reforms that included two shareholder
 nominated directors to the Community Health Board of Directors.

 Similarly, Goodman recovered a $25 million payment to Lumber Liquidators and numerous corporate
 governance reforms, including a shareholder nominated director, in In re Lumber Liquidators Holdings, Inc.
 S'holder Derivative Litig. In In re Google Inc. S'holder Derivative Litig., Goodman achieved groundbreaking
 corporate governance reforms designed to mitigate regulatory and legal compliance risk associated with online
 pharmaceutical advertising, including among other things, the creation of a $250 million fund to help combat
 rogue pharmacies from improperly selling drugs online.


 Education
 B.S., Arizona State University, 1994; J.D., University of San Diego School of Law, 2000

 Honors / Awards
 Super Lawyer, 2018; Recommended Lawyer, The Legal 500, 2017



 Elise J. Grace | Partner
 Elise Grace is a partner in the San Diego office and counsels the Firm’s institutional clients on options to secure
 premium recoveries in securities litigation both within the United States and internationally. Grace is a frequent
 lecturer and author on securities and accounting fraud, and develops annual MCLE and CPE accredited
 educational programs designed to train public fund representatives on practices to protect and maximize
 portfolio assets, create long-term portfolio value and best fulfill fiduciary duties. Grace has routinely been
 named a Recommended Lawyer by The Legal 500. Grace has prosecuted various significant securities fraud
 class actions, as well as the AOL Time Warner state and federal securities opt-out litigations, which resulted in
 a combined settlement of over $629 million for defrauded investors. Prior to joining the Firm, Grace practiced
 at Clifford Chance, where she defended numerous Fortune 500 companies in securities class actions and
 complex business litigation.


 Education
 B.A., University of California, Los Angeles, 1993; J.D., Pepperdine School of Law, 1999

 Honors / Awards
 Recommended Lawyer, The Legal 500, 2016-2017; J.D., Magna Cum Laude, Pepperdine School of Law,
 1999; American Jurisprudence Bancroft-Whitney Award – Civil Procedure, Evidence, and Dalsimer Moot Court
 Oral Argument; Dean’s Academic Scholarship Recipient, Pepperdine School of Law; B.A., Summa Cum Laude,
 University of California, Los Angeles, 1993; B.A., Phi Beta Kappa, University of California, Los Angeles, 1993




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                                                                                                         Attorney Biographies



 Tor Gronborg | Partner
 Tor Gronborg is a partner in the Firm’s San Diego office and a member of the Firm’s Management Committee.
 He often lectures on topics such as the Federal Rules of Civil Procedure and electronic discovery. Gronborg
 has served as lead or co-lead counsel in numerous securities fraud cases that have collectively recovered
 nearly $2 billion for investors. Gronborg’s work has included significant recoveries against corporations such
 as Cardinal Health ($600 million), Motorola ($200 million), Duke Energy ($146.25 million), Sprint Nextel Corp.
 ($131 million), Prison Realty ($104 million), CIT Group ($75 million), Wyeth ($67.5 million) and Intercept
 Pharmaceuticals ($55 million). On three separate occasions, his pleadings have been upheld by the federal
 Courts of Appeals (Broudo v. Dura Pharm., Inc., 339 F.3d 933 (9th Cir. 2003), rev’d on other grounds, 554
 U.S. 336 (2005); In re Daou Sys., 411 F.3d 1006 (9th Cir. 2005); Staehr v. Hartford Fin. Servs. Grp., 547 F.3d
 406 (2d Cir. 2008)), and he has been responsible for a number of significant rulings, including In re Sanofi-
 Aventis Sec. Litig., 293 F.R.D. 449 (S.D.N.Y. 2013); Silverman v. Motorola, Inc., 798 F. Supp. 2d 954 (N.D. Ill.
 2011); Roth v. Aon Corp., 2008 U.S. Dist. LEXIS 18471 (N.D. Ill. 2008); In re Cardinal Health, Inc. Sec. Litigs.,
 426 F. Supp. 2d 688 (S.D. Ohio 2006); and In re Dura Pharm., Inc. Sec. Litig., 452 F. Supp. 2d 1005 (S.D.
 Cal. 2006).


 Education
 B.A., University of California, Santa Barbara, 1991; Rotary International Scholar, University of Lancaster, U.K.,
 1992; J.D., University of California, Berkeley, 1995

 Honors / Awards
 Super Lawyer, 2013-2018; Moot Court Board Member, University of California, Berkeley; AFL-CIO history
 scholarship, University of California, Santa Barbara



 Ellen Gusikoff Stewart | Partner
 Ellen Gusikoff Stewart is a partner in the Firm’s San Diego office. She currently practices in the Firm’s
 settlement department, negotiating and documenting complex securities, merger, ERISA and derivative action
 settlements. Notable settlements include: Landmen Partners Inc. v. The Blackstone Grp. L.P. (S.D.N.Y. 2013)
 ($85 million); Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc. (M.D. Tenn. 2015) ($65 million); City of
 Sterling Heights Gen. Emps.’ Ret. Sys v. Hospira, Inc. (N.D. Ill. 2014) ($60 million); and The Bd. of Trs. of the
 Operating Eng’rs Pension Tr. v. JPMorgan Chase Bank, N.A. (S.D.N.Y. 2013) ($23 million).


 Education
 B.A., Muhlenberg College, 1986; J.D., Case Western Reserve University, 1989

 Honors / Awards
 Peer-Rated by Martindale-Hubbell




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                                                                                                        Attorney Biographies



 Robert Henssler | Partner
 Bobby Henssler is a partner in the Firm’s San Diego office, where he focuses his practice on securities fraud
 and other complex civil litigation. He has obtained significant recoveries for investors in cases such as Enron,
 Blackstone and CIT Group. Henssler is currently a key member of the team of attorneys prosecuting fraud
 claims against Goldman Sachs stemming from Goldman’s conduct in subprime mortgage transactions
 (including “Abacus”).

 Most recently, Henssler served on the litigation team for Schuh v. HCA Holdings, Inc., which resulted in a $215
 million recovery for shareholders, the largest securities class action recovery ever in Tennessee. The recovery
 achieved approximately 70% of classwide damages, which as a percentage of damages significantly exceeds
 the median class action recovery of 2%-3% of damages. Henssler was also part of the litigation teams
 for Marcus v. J.C. Penney Company, Inc. ($97.5 million recovery); Landmen Partners Inc. v. The Blackstone
 Group L.P. ($85 million recovery); In re Novatel Wireless Sec. Litig. ($16 million recovery); Carpenters Pension
 Trust Fund of St. Louis v. Barclays PLC ($14 million settlement); and Kmiec v. Powerwave Technologies,
 Inc. ($8.2 million settlement).


 Education
 B.A., University of New Hampshire, 1997; J.D., University of San Diego School of Law, 2001

 Honors / Awards
 Recommended Lawyer, The Legal 500, 2018



 Dennis J. Herman | Partner
 Dennis Herman is a partner in the Firm’s San Francisco office where he focuses his practice on securities class
 actions. He has led or been significantly involved in the prosecution of numerous securities fraud claims that
 have resulted in substantial recoveries for investors, including settled actions against Massey Energy ($265
 million), Coca-Cola ($137 million), VeriSign ($78 million), Psychiatric Solutions, Inc. ($65 million), St. Jude
 Medical, Inc. ($50 million), NorthWestern ($40 million), BancorpSouth ($29.5 million), America Service Group
 ($15 million), Specialty Laboratories ($12 million), Stellent ($12 million) and Threshold Pharmaceuticals ($10
 million).


 Education
 B.S., Syracuse University, 1982; J.D., Stanford Law School, 1992

 Honors / Awards
 Best Lawyer in America, Best Lawyers®, 2018; Super Lawyer, 2017; Order of the Coif, Stanford Law School;
 Urban A. Sontheimer Award (graduating second in his class), Stanford Law School; Award-winning
 Investigative Newspaper Reporter and Editor in California and Connecticut




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                                                                                                           Attorney Biographies



 John Herman | Partner
 John Herman is a partner at the Firm, the Chair of the Firm’s Intellectual Property and Technology Practice and
 manages the Firm’s Atlanta office. His practice focuses on complex civil litigation, with a particular emphasis on
 high technology matters. His experience includes securities, patent, antitrust, data breach, whistleblower and
 class action litigation. Herman also has significant first chair trial experience, handling numerous cases through
 verdict in both federal and state courts. Herman has worked on many noteworthy cases and successfully
 achieved favorable results for his clients. His notable cases include a recent derivative settlement of $60 million
 on behalf of Community Health Systems, as well as leading a team of attorneys enforcing the 3Com Ethernet
 patents, winning two jury trial victories in federal court. Herman also represented renowned inventor Ed Phillips
 in the landmark case of Phillips v. AWH Corp. He has represented the pioneers of mesh technology – David
 Petite, Edwin Brownrigg and SIPCO – in connection with their mesh technology portfolio. Herman has also
 worked on numerous class action cases, including acting as lead plaintiffs’ counsel in the Home Depot
 shareholder derivative action, which achieved landmark corporate governance reforms for investors.


 Education
 B.S., Marquette University, 1988; J.D., Vanderbilt University Law School, 1992

 Honors / Awards
 Fellow, Litigation Counsel of America (LCA) Proven Trial Lawyers; Super Lawyer, 2005-2010, 2016-2018; Top
 Lawyers, Atlanta Magazine, 2017; Top 100 Georgia Super Lawyers list, 2007; One of “Georgia’s Most
 Effective Lawyers,” Legal Trend; John Wade Scholar, Vanderbilt University Law School; Editor-in-Chief,
 Vanderbilt Journal, Vanderbilt University Law School; B.S., Summa Cum Laude, Marquette University, 1988



 Steven F. Hubachek | Partner
 Steve Hubachek is a partner in the Firm’s San Diego office. He is a member of the Firm’s appellate group,
 where his practice concentrates on federal appeals. He has more than 25 years of appellate experience, has
 argued over 100 federal appeals, including 3 cases before the United States Supreme Court and 7 cases
 before en banc panels of the Ninth Circuit Court of Appeals. Prior to his work with the Firm, Hubachek joined
 Perkins Coie in Seattle, Washington, as an associate. He was admitted to the Washington State Bar in 1987
 and was admitted to the California State Bar in 1990, practicing for many years with Federal Defenders of San
 Diego, Inc. He also had an active trial practice, including over 30 jury trials, and was Chief Appellate Attorney
 for Federal Defenders.


 Education
 B.A., University of California, Berkeley, 1983; J.D., Hastings College of the Law, 1987

 Honors / Awards
 Top Lawyer in San Diego, San Diego Magazine, 2014-2017; Assistant Federal Public Defender of the Year,
 National Federal Public Defenders Association, 2011; Appellate Attorney of the Year, San Diego Criminal
 Defense Bar Association, 2011 (co-recipient); President’s Award for Outstanding Volunteer Service, Mid City
 Little League, San Diego, 2011; E. Stanley Conant Award for exceptional and unselfish devotion to protecting
 the rights of the indigent accused, 2009 (joint recipient); Super Lawyer, 2007-2009; The Daily Transcript Top
 Attorneys, 2007; AV rated by Martindale-Hubbell; J.D., Cum Laude, Order of the Coif, Thurston Honor Society,
 Hastings College of Law, 1987



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                                                                                                           Attorney Biographies



 Maxwell R. Huffman | Partner
 Maxwell Huffman is a partner in the Firm’s San Diego office. He focuses his practice on representing both
 institutional and individual shareholders in securities class action litigation in the context of mergers and
 acquisitions. Huffman was part of the litigation team for In re Dole Food Co., Inc. Stockholder Litig., where he
 went to trial in the Delaware Court of Chancery on claims of breach of fiduciary duty on behalf of Dole Food
 Co., Inc. shareholders and obtained $148 million, the largest trial verdict ever in a class action challenging a
 merger transaction.


 Education
 B.A., California State University, Sacramento, 2005; J.D., Gonzaga University School of Law, 2009



 James I. Jaconette | Partner
 James Jaconette is one of the founding partners of the Firm and is located in its San Diego office. He manages
 cases in the Firm’s securities class action and shareholder derivative litigation practices. He has served as one
 of the lead counsel in securities cases with recoveries to individual and institutional investors totaling over $8
 billion. He also advises institutional investors, including hedge funds, pension funds and financial institutions.
 Landmark securities actions in which he contributed in a primary litigating role include In re Informix Corp. Sec.
 Litig., and In re Dynegy Inc. Sec. Litig. and In re Enron Corp. Sec. Litig., where he represented lead plaintiff The
 Regents of the University of California. Most recently, Jaconette was part of the trial team in Schuh v. HCA
 Holdings, Inc., which resulted in a $215 million recovery for shareholders, the largest securities class action
 recovery ever in Tennessee. The recovery achieved approximately 70% of classwide damages, which as a
 percentage of damages significantly exceeds the median class action recovery of 2%-3% of damages.


 Education
 B.A., San Diego State University, 1989; M.B.A., San Diego State University, 1992; J.D., University of California
 Hastings College of the Law, 1995

 Honors / Awards
 J.D., Cum Laude, University of California Hastings College of the Law, 1995; Associate Articles Editor,
 Hastings Law Journal, University of California Hastings College of the Law; B.A., with Honors and Distinction,
 San Diego State University, 1989




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                                                                                                        Attorney Biographies



 Rachel L. Jensen | Partner
 Rachel Jensen is a partner in the Firm’s San Diego office. Her practice focuses on consumer, antitrust and
 securities fraud class actions. Jensen has played a key role in recovering billions of dollars for individuals,
 government entities, and businesses injured by fraudulent schemes, anti-competitive conduct, and hazardous
 products placed in the stream of commerce.

 Jensen was one of the lead attorneys who secured a historic recovery on behalf of Trump University students
 nationwide in two class actions against President Donald J. Trump. The settlement provides $25 million to
 approximately 7,000 consumers, which is projected to compensate eligible class members for up to 90% of
 their out-of-pocket losses. She represented the class on a pro bono basis. Jensen was appointed by Judge
 Chen in the Northern District of California to serve on the plaintiffs’ steering committee in MDL litigation
 concerning alleged defeat devices in certain Fiat Chrysler vehicles and also represents car owners suing
 Volkswagen and Bosch for cheating on emission testing. She also serves as one of class counsel in litigation
 against Scotts Miracle-Gro, which has pled guilty to selling poisonous bird food, and litigation against certain
 Lloyd’s Syndicates for collusive practices in the Lloyd’s of London insurance market.

 Among other recoveries, Jensen has played significant roles in the following cases: In re Ins. Brokerage
 Antitrust Litig., No. 04-5184(CCC) (D.N.J.) ($200 million recovered for policyholders who paid inflated
 premiums due to a kickback scheme among major insurers and brokers); In re Mattel, Inc., Toy Lead Paint
 Prods. Liab. Litig., No. 2:07-ml-01897-DSF-AJW (C.D. Cal.) (“Mattel”) ($50 million in refunds and other relief
 for Mattel and Fisher-Price toys made in China with lead and dangerous magnets); In re Nat’l Western Life Ins.
 Deferred Annuities Litig., No. 05-CV-1018-GPC (WVG) (S.D. Cal.) ($25 million in relief to senior citizens
 targeted for exorbitant deferred annuities that would not mature in their lifetime); In re Checking Account
 Overdraft Litig., No. 1:09-md-2036-JLK (S.D. Fla.) ($500 million in settlements with major banks that
 manipulated customers’ debit transactions to maximize overdraft fees); In re Groupon Mktg. & Sales Practices
 Litig., No. 3:11-md-02238-DMS-RBB (S.D. Cal.) ($8.5 million in refunds for consumers sold vouchers with
 illegal expiration dates). Prior to joining the Firm, Jensen was part of the litigation department of Morrison &
 Foerster in San Francisco, clerked for the Honorable Warren J. Ferguson on the Ninth Circuit Court of Appeals,
 worked abroad in Arusha, Tanzania as a law clerk in the Office of the Prosecutor at the International Criminal
 Tribunal for Rwanda (“ICTR”) and then worked at the International Criminal Tribunal for the Former Yugoslavia
 (“ICTY”), located in the Hague, Netherlands.


 Education
 B.A., Florida State University, 1997; University of Oxford, International Human Rights Law Program at New
 College, Summer 1998; J.D., Georgetown University Law School, 2000

 Honors / Awards
 Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2018; Leading Lawyer in America, Lawdragon,
 2017-2018; Super Lawyer, 2016-2018; Top Woman Lawyer, Daily Journal, 2017; Super Lawyer “Rising Star,”
 2015; Nominated for 2011 Woman of the Year, San Diego Magazine; Editor-in-Chief, First Annual Review of
 Gender and Sexuality Law, Georgetown University Law School; Dean’s List 1998-1999; B.A., Cum Laude,
 Florida State University’s Honors Program, 1997; Phi Beta Kappa




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                                                                                                            Attorney Biographies



 Steven M. Jodlowski | Partner
 Steven Jodlowski is a partner in the Firm’s San Diego office. His practice focuses on high-stakes complex
 litigation, often involving antitrust, securities and consumer claims. In recent years, he has specialized in
 representing investors in a series of antitrust actions involving the manipulation of benchmark rates, including
 the ISDAFix Benchmark litigation, which to date has resulted in the recovery of nearly $400 million on behalf of
 investors, In re Treasuries Sec. Auction Antitrust Litig., and In re SSA Bonds Antitrust Litig. Jodlowski was also
 part of the trial team in an antitrust monopolization case against a multinational computer and software
 company.

 Jodlowski has successfully prosecuted numerous antitrust and RICO cases. These cases resulted in the
 recovery of more than $1 billion for investors and policyholders. Jodlowski has also represented institutional
 and individual shareholders in corporate takeover actions in state and federal court. He has handled pre- and
 post-merger litigation stemming from the acquisition of publicly listed companies in the biotechnology, oil and
 gas, information technology, specialty retail, electrical, banking, finance and real estate industries, among others.


 Education
 B.B.A., University of Central Oklahoma, 2002; J.D., California Western School of Law, 2005

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2018; CAOC Consumer Attorney of the Year Award Finalist, 2015; J.D.,
 Cum Laude, California Western School of Law, 2005



 Peter M. Jones | Partner
 Peter Jones is a partner in the Firm’s Atlanta office. Though his practice primarily focuses on patent litigation,
 Jones has experience handling a wide range of complex litigation matters, including product liability actions and
 commercial disputes. Jones was part of the litigation team in U.S. Ethernet Innovations, LLC v. Texas
 Instruments Incorporated, in which he helped to enforce the 3Com Ethernet patents, winning two jury trial
 victories in federal court. Prior to joining the Firm, Jones practiced at King & Spalding LLP and clerked for the
 Honorable J.L. Edmondson, then Chief Judge of the United States Court of Appeals for the Eleventh Circuit.


 Education
 B.A., University of the South, 1999; J.D., University of Georgia School of Law, 2003

 Honors / Awards
 Super Lawyer “Rising Star,” 2012-2013; Member, Georgia Law Review, Order of the Barristers, University of
 Georgia School of Law




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                                                                                                             Attorney Biographies



 Evan J. Kaufman | Partner
 Evan Kaufman is a partner in the Firm’s Melville office. He focuses his practice in the area of complex litigation,
 including securities, ERISA, corporate fiduciary duty, derivative, and consumer fraud class actions. Kaufman
 has served as lead counsel or played a significant role in numerous actions, including In re TD Banknorth
 S’holders Litig. ($50 million recovery); In re Gen. Elec. Co. ERISA Litig. ($40 million cost to GE, including
 significant improvements to GE’s employee retirement plan, and benefits to GE plan participants valued in
 excess of $100 million); EnergySolutions, Inc. Sec. Litig. ($26 million recovery); Lockheed Martin Corp. Sec.
 Litig. ($19.5 million recovery); In re Warner Chilcott Ltd. Sec. Litig. ($16.5 million recovery); In re Third Avenue
 Mgmt. Sec. Litig. ($14.25 million recovery); In re Giant Interactive Grp., Inc. Sec. Litig. ($13 million recovery); In
 re Royal Grp. Tech. Sec. Litig. ($9 million recovery); Fidelity Ultra Short Bond Fund Litig. ($7.5 million recovery);
 In re Audiovox Derivative Litig. ($6.75 million recovery and corporate governance reforms); State Street Yield
 Plus Fund Litig. ($6.25 million recovery); In re Merrill Lynch & Co., Inc., Internet Strategies Sec. Litig. (resolved
 as part of a $39 million global settlement); and In re MONY Grp., Inc. S’holder Litig. (obtained preliminary
 injunction requiring disclosures in proxy statement).


 Education
 B.A., University of Michigan, 1992; J.D., Fordham University School of Law, 1995

 Honors / Awards
 Super Lawyer, 2013-2015, 2017; Member, Fordham International Law Journal, Fordham University School of
 Law



 David A. Knotts | Partner
 David Knotts is a partner in the Firm’s San Diego office and, in addition to ongoing litigation work, teaches a full-
 semester course on M&A litigation at the University of California Berkeley School of Law as a Lecturer. He
 focuses his practice on securities class action litigation in the context of mergers and acquisitions, representing
 both individual shareholders and institutional investors. Knotts has been counsel of record for shareholders on
 a number of significant recoveries in California state courts and in the Delaware Court of Chancery, including In
 re Rural/Metro Corp. Stockholders Litig. (nearly $110 million total recovery, affirmed by the Delaware Supreme
 Court in RBC v. Jervis), In re Del Monte Foods Co. S’holders Litig. ($89.4 million), Websense ($40 million),
 and In re Onyx S’holders Litig. ($30 million). Indeed, Websense and Onyx – both approved in late 2016 – are
 believed to be the largest post-merger class settlements in California state court history.

 Prior to joining Robbins Geller, Knotts was an associate at one of the largest law firms in the world and
 represented corporate clients in various aspects of state and federal litigation, including major antitrust matters,
 trade secret disputes, unfair competition claims, and intellectual property litigation.


 Education
 B.S., University of Pittsburgh, 2001; J.D., Cornell Law School, 2004

 Honors / Awards
 Recommended Lawyer, The Legal 500, 2017-2018; Wiley W. Manuel Award for Pro Bono Legal Services,
 State Bar of California; Casa Cornelia Inns of Court; J.D., Cum Laude, Cornell Law School, 2004




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                                                                                                           Attorney Biographies



 Laurie L. Largent | Partner
 Laurie Largent is a partner in the Firm’s San Diego, California office. Her practice focuses on securities class
 action and shareholder derivative litigation and she has helped recover millions of dollars for injured
 shareholders. Largent was part of the litigation team that obtained a $265 million recovery in In re Massey
 Energy Co. Sec. Litig., in which Massey was found accountable for a tragic explosion at the Upper Big Branch
 mine in Raleigh County, West Virginia. She also helped obtain $67.5 million for Wyeth shareholders in City of
 Livonia Employees’ Retirement System v. Wyeth, et al., settling claims that the defendants misled investors
 about the safety and commercial viability of one of the company’s leading drug candidates. Most recently,
 Largent was on the team that secured a $64 million recovery for Dana Corp. shareholders in Plumbers &
 Pipefitters National Pension Fund v. Burns, in which the Firm’s Appellate Practice Group successfully appealed
 to the Sixth Circuit Court of Appeals twice, reversing the district court’s dismissal of the action. She has been a
 board member on the San Diego County Bar Foundation and the San Diego Volunteer Lawyer Program since
 2014. Largent has also served as an Adjunct Business Law Professor at Southwestern College in Chula Vista,
 California.


 Education
 B.B.A., University of Oklahoma, 1985; J.D., University of Tulsa, 1988

 Honors / Awards
 Board Member, San Diego County Bar Foundation, 2014-present; Board Member, San Diego Volunteer Lawyer
 Program, 2014-present



 Arthur C. Leahy | Partner
 Art Leahy is a founding partner in the Firm’s San Diego office and a member of the Firm’s Executive and
 Management Committees. He has over 20 years of experience successfully litigating securities actions and
 derivative cases. Leahy has recovered well over two billion dollars for the Firm’s clients and has negotiated
 comprehensive pro-investor corporate governance reforms at several large public companies. Most recently,
 Leahy helped secure a $272 million recovery on behalf of mortgage-backed securities investors in NECA-
 IBEW Health & Welfare Fund v. Goldman Sachs & Co. In the Goldman Sachs case, he helped achieve
 favorable decisions in the Second Circuit Court of Appeals on behalf of investors of Goldman Sachs mortgage-
 backed securities and again in the Supreme Court, which denied Goldman Sachs’ petition for certiorari, or
 review, of the Second Circuit’s reinstatement of the plaintiff’s case. He was also part of the Firm’s trial team in
 the AT&T securities litigation, which AT&T and its former officers paid $100 million to settle after two weeks of
 trial. Prior to joining the Firm, he served as a judicial extern for the Honorable J. Clifford Wallace of the United
 States Court of Appeals for the Ninth Circuit, and served as a judicial law clerk for the Honorable Alan C. Kay of
 the United States District Court for the District of Hawaii.


 Education
 B.A., Point Loma Nazarene University, 1987; J.D., University of San Diego School of Law, 1990

 Honors / Awards
 Super Lawyer, 2016-2017; Top Lawyer in San Diego, San Diego Magazine, 2013-2017; J.D., Cum Laude,
 University of San Diego School of Law, 1990; Managing Editor, San Diego Law Review, University of San
 Diego School of Law



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                                                                                                           Attorney Biographies



 Nathan R. Lindell | Partner
 Nate Lindell is a partner in the Firm’s San Diego office, where his practice focuses on representing aggrieved
 investors in complex civil litigation. He has helped achieve numerous significant recoveries for investors,
 including: In re Enron Corp. Sec. Litig. ($7.2 billion recovery); In re HealthSouth Corp. Sec. Litig. ($671 million
 recovery); Luther v. Countrywide Fin. Corp. ($500 million recovery); Fort Worth Employees’ Retirement Fund v.
 J.P. Morgan Chase & Co. ($388 million recovery); NECA-IBEW Health & Welfare Fund v. Goldman Sachs &
 Co. ($272 million recovery); In re Morgan Stanley Mortgage Pass-Through Certificates Litig. ($95 million
 recovery); Massachusetts Bricklayers and Masons Trust Funds v. Deutsche Alt-A Securities, Inc. ($32.5 million
 recovery); City of Ann Arbor Employees’ Ret. Sys. v. Citigroup Mortgage Loan Trust Inc. ($24.9 million
 recovery); and Plumbers’ Union Local No. 12 Pension Fund v. Nomura Asset Acceptance Corp. ($21.2 million
 recovery). In October 2016, Lindell successfully argued in front of the New York Supreme Court, Appellate
 Division, First Judicial Department, for the reversal of an earlier order granting defendants’ motion to dismiss in
 Phoenix Light SF Limited, et al. v. Morgan Stanley, et al.

 Lindell was also a member of the litigation team responsible for securing a landmark victory from the Second
 Circuit Court of Appeals in its precedent-setting NECA-IBEW Health & Welfare Fund v. Goldman Sachs &
 Co. decision, which dramatically expanded the scope of permissible class actions asserting claims under the
 Securities Act of 1933 on behalf of mortgage-backed securities investors, and ultimately resulted in a $272
 million recovery for investors.


 Education
 B.S., Princeton University, 2003; J.D., University of San Diego School of Law, 2006

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2017; Charles W. Caldwell Alumni Scholarship, University of San Diego
 School of Law; CALI/AmJur Award in Sports and the Law



 Ryan Llorens | Partner
 Ryan Llorens is a partner in the Firm’s San Diego office. Llorens’ practice focuses on litigating complex
 securities fraud cases. He has worked on a number of securities cases that have resulted in significant
 recoveries for investors, including In re HealthSouth Corp. Sec. Litig. ($670 million); AOL Time Warner ($629
 million); In re AT&T Corp. Sec. Litig. ($100 million); In re Fleming Cos. Sec. Litig. ($95 million); and In re
 Cooper Cos., Inc. Sec Litig. ($27 million).


 Education
 B.A., Pitzer College, 1997; J.D., University of San Diego School of Law, 2002

 Honors / Awards
 Super Lawyer “Rising Star,” 2015




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                                                                                                          Attorney Biographies



 Andrew S. Love | Partner
 Andrew Love is a partner in the Firm’s San Francisco office. His practice focuses primarily on appeals of
 securities fraud class action cases. Love has briefed and argued cases on behalf of defrauded investors and
 consumers in several U.S. Courts of Appeal, as well as in the California appellate courts. Prior to joining the
 Firm, Love represented inmates on California’s death row in appellate and habeas corpus proceedings,
 successfully arguing capital cases in both the California Supreme Court and the Ninth Circuit. During his many
 years as a death penalty lawyer, he co-chaired the Capital Case Defense Seminar (2004-2013), recognized as
 the largest conference for death penalty practitioners in the country. He regularly presented at the seminar and
 at other conferences on a wide variety of topics geared towards effective appellate practice. Additionally, he
 was on the faculty of the National Institute for Trial Advocacy’s Post-Conviction Skills Seminar. Love has also
 written several articles on appellate advocacy and capital punishment that have appeared in The Daily
 Journal, CACJ Forum, American Constitution Society, and other publications.


 Education
 University of Vermont, 1981; J.D., University of San Francisco School of Law, 1985

 Honors / Awards
 J.D., Cum Laude, University of San Francisco School of Law, 1985; McAuliffe Honor Society, University of San
 Francisco School of Law, 1982-1985



 Erik W. Luedeke | Partner
 Erik Luedeke is a partner in the Firm’s San Diego office, where his practice focuses on the prosecution of
 complex securities and shareholder derivative litigation. Luedeke was a member of the trial team in Jaffe v.
 Household Int’l, Inc., No. 02-C-5893 (N.D. Ill.), a securities class action that obtained a record-breaking
 $1.575 billion settlement after 14 years of litigation, including a six-week jury trial in 2009 that resulted in a
 verdict for plaintiffs. He was also part of the litigation teams in In re UnitedHealth Grp. Inc. PSLRA Litig., No.
 06-CV-1691 (D. Minn.) ($925 million recovery), and In re Questcor Pharm., Inc. Sec. Litig., No. 8:12-cv-01623
 (C.D. Cal.) ($38 million recovery).

 Currently, Luedeke is involved in prosecuting a variety of shareholder derivative actions on behalf of
 corporations and shareholders injured by wayward corporate fiduciaries. Notable shareholder derivative actions
 in which he participated and the recoveries he helped to achieve include In re Community Health Sys., Inc.
 S'holder Derivative Litig. ($60 million in financial relief and unprecedented corporate governance reforms), In re
 Lumber Liquidators Holdings, Inc. S’holder Derivative Litig. ($26 million in financial relief plus substantial
 governance) and In re Google Inc. S’holder Derivative Litig. ($250 million in financial relief to fund substantial
 governance).


 Education
 B.S./B.A., University of California Santa Barbara, 2001; J.D., University of San Diego School of Law, 2006

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2017; Student Comment Editor, San Diego International Law
 Journal, University of San Diego School of Law




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                                                                                                           Attorney Biographies



 Carmen A. Medici | Partner
 Carmen Medici is a partner in the Firm’s San Diego office and focuses on complex antitrust class action
 litigation and unfair competition law. He represents businesses and consumers who are the victims of price-
 fixing, monopolization, collusion, and other anticompetitive and unfair business practices. Medici specializes in
 litigation against giants in the financial sector, and has worked on behalf of merchants in payment card cases for
 a decade. A veteran of litigation in the credit card industry, Medici is currently representing merchants in In re
 Payment Card Interchange Fee and Merchant Discount Litigation, a large-scale case charging Visa,
 MasterCard and the country's major banks with antitrust violations related to the allegedly collusive way rules
 are set in the industry, including rules requiring payment of ever-increasing interchange fees by merchants. He
 is also a part of the co-lead counsel team in In re SSA Bonds Antitrust Litig., pending in the Southern District of
 New York, representing bond purchasers who were defrauded by a brazen price-fixing scheme perpetrated at
 some of the nation’s largest banks.

 In federal district court in New Jersey, Medici litigates Lincoln Adventures, LLC v. Those Certain Underwriters
 at Lloyd’s London, where he represents buyers of insurance in an antitrust action against insurance companies
 in the London market. He is also a member of the co-lead litigation team in In re Aluminum Warehousing
 Antitrust Litig., currently on appeal before the Second Circuit. He is also a member of the team in In re Digital
 Music Antitrust Litig., pending in the Southern District of New York. In the past, Medici was a member of the
 discovery team in In re NCAA Student-Athlete Name & Likeness Licensing Litig., which culminated in a trial
 victory for student athletes against the NCAA. He was also on the litigation team in In re Fresh & Process
 Potatoes Antitrust Litig., which resulted in a multi-million dollar settlement. In addition, he is involved in a
 number of the Firm’s other major antitrust and consumer actions. Medici regularly identifies and pursues
 potential new antitrust matters and drafts complaints on behalf of individual and class plaintiffs.


 Education
 B.S., Arizona State University, 2003; J.D., University of San Diego School of Law, 2006

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2018




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                                                                                                             Attorney Biographies



 Matthew S. Melamed | Partner
 Matt Melamed is a partner in the Firm’s San Francisco office, where he focuses on complex securities litigation
 and whistleblower representation. Since joining the Firm, he has been a member of litigation teams responsible
 for substantial investor recoveries, including Jones v. Pfizer (S.D.N.Y.), In re St. Jude Medical, Inc. Securities
 Litigation (D. Minn.) and Oklahoma Police Pension & Retirement System v. Sientra, Inc. (Cal. Super. Ct., San
 Mateo Cty.). He has also contributed to the Firm’s appellate work, including in Mineworkers’ Pension Scheme,
 British Coal Staff Superannuation v. First Solar, Inc. (9th Cir.) and China Development Industrial Bank v.
 Morgan Stanley & Co. Incorporated (N.Y. App. Div.).


 Education
 B.A., Wesleyan University, 1996; J.D., University of California, Hastings College of the Law, 2008

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2017; J.D., Magna Cum Laude, University of California, Hastings College of
 the Law, 2008; Tony Patino Fellow, University of California, Hastings College of the Law; Order of the
 Coif, University of California, Hastings College of the Law; Senior Articles Editor, Hastings Law
 Journal, University of California, Hastings College of the Law; Student Director, General Assistance Advocacy
 Project, University of California, Hastings College of the Law



 Mark T. Millkey | Partner
 Mark Millkey is a partner in the Firm’s Melville office. He has significant experience in the areas of securities and
 consumer litigation, as well as in federal and state court appeals.

 During his career, Millkey has worked on a major consumer litigation against MetLife that resulted in a benefit to
 the class of approximately $1.7 billion, as well as a securities class action against Royal Dutch/Shell that settled
 for a minimum cash benefit to the class of $130 million and a contingent value of more than $180 million.
 Since joining Robbins Geller, he has worked on securities class actions that have resulted in approximately
 $300 million in settlements.


 Education
 B.A., Yale University, 1981; M.A., University of Virginia, 1983; J.D., University of Virginia, 1987

 Honors / Awards
 Super Lawyer, 2013-2017




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                                                                                                            Attorney Biographies



 David W. Mitchell | Partner
 David Mitchell is a partner in the Firm’s San Diego office and focuses his practice on securities fraud, antitrust
 and derivative litigation. He leads the Firm’s antitrust benchmark litigations as well as the Firm’s pay-for-delay
 actions. He has served as lead or co-lead counsel in numerous cases and has helped achieve substantial
 settlements for shareholders. His recent cases include Dahl v. Bain Capital Partners, LLC, obtaining more than
 $590 million for shareholders, and In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig.
 Currently, Mitchell serves as court-appointed counsel in the ISDAfix Benchmark action and In re Aluminum
 Warehousing Antitrust Litig.

 Prior to joining the Firm, he served as an Assistant United States Attorney in the Southern District of California
 and prosecuted cases involving narcotics trafficking, bank robbery, murder-for-hire, alien smuggling, and
 terrorism. Mitchell has tried nearly 20 cases to verdict before federal criminal juries and made numerous
 appellate arguments before the Ninth Circuit Court of Appeals.


 Education
 B.A., University of Richmond, 1995; J.D., University of San Diego School of Law, 1998

 Honors / Awards
 Member, Enright Inn of Court; Best Lawyer in America, Best Lawyers®, 2018; Super Lawyer, 2016-2018;
 Antitrust Trailblazer, The National Law Journal, 2015; “Best of the Bar,” San Diego Business Journal, 2014



 Maureen E. Mueller | Partner
 Maureen Mueller is a partner in the Firm’s Boca Raton office, where her practice focuses on complex securities
 litigation. Mueller has helped recover more than $1 billion for investors. She was a member of the team of
 attorneys responsible for recovering a record-breaking $925 million for investors in In re UnitedHealth Grp. Inc.
 PSLRA Litig. Mueller was also a member of the Firm’s trial team in Jaffe v. Household Int’l, Inc., a securities
 class action that obtained a record-breaking $1.575 billion settlement after 14 years of litigation, including a six-
 week jury trial in 2009 that resulted in a verdict for plaintiffs. She also served as co-lead counsel in In re
 Wachovia Preferred Securities and Bond/Notes Litig., which recovered $627 million.


 Education
 B.S., Trinity University, 2002; J.D., University of San Diego School of Law, 2007

 Honors / Awards
 Next Generation Lawyer, The Legal 500, 2018; Top Litigator Under 40, Benchmark Litigation, 2017; Top
 Women Lawyer, Daily Journal, 2017; Recommended Lawyer, The Legal 500, 2017; Super Lawyer “Rising
 Star,” 2015-2017; “Outstanding Young Attorneys,” San Diego Daily Transcript, 2010; Lead Articles Editor,
 San Diego Law Review, University of San Diego School of Law




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                                                                                                          Attorney Biographies



 Danielle S. Myers | Partner
 Danielle Myers is a partner in the Firm’s San Diego office, and focuses her practice on complex securities
 litigation. Myers is one of the partners that oversees the Portfolio Monitoring Program® and provides legal
 recommendations to the Firm’s institutional investor clients on their options to maximize recoveries in securities
 litigation, both within the United States and internationally, from inception to settlement. In addition, Myers
 advises the Firm’s clients in connection with lead plaintiff applications and has secured appointment of the
 Firm’s clients as lead plaintiff in over 100 cases, including Knurr v. Orbital ATK, Inc., No. 1:16-cv-01031 (E.D.
 Va.), Evellard v. LendingClub Corp., No. 3:16-cv-02627 (N.D. Cal.), In re Plains All American Pipeline, L.P.
 Sec. Litig., No. 4:15-cv-02404 (S.D. Tex.), Marcus v. J.C. Penney Co., Inc., No. 6:13-cv-00736 (E.D. Tex.), In
 re Hot Topic, Inc. Sec. Litig., No. 2:13-cv-02939 (C.D. Cal.), Smilovits v. First Solar, Inc., No. 2:12-cv-00555
 (D. Ariz.), and In re Goldman Sachs Grp., Inc. Sec. Litig., No. 1:10-cv-03461 (S.D.N.Y.). Myers has obtained
 significant recoveries for shareholders in several cases, including: Marcus v. J.C. Penney Co., Inc., No.
 13-cv-00736 (E.D. Tex.) ($97.5 million recovery); In re Hot Topic, Inc. Sec. Litig., No. 2:13-cv-02939 (C.D.
 Cal.) ($14.9 million recovery); Genesee Cty. Emps.’ Ret. Sys. v. Thornburg Mortg., Inc., No. 1:09-cv-00300
 (D.N.M.) ($11.25 million recovery); Goldstein v. Tongxin Int’l Ltd., No. 2:11-cv-00348 (C.D. Cal.) ($3 million
 recovery); and Lane v. Page, No. Civ-06-1071 (D.N.M.) (pre-merger increase in cash consideration and post-
 merger cash settlement). Myers is also a frequent lecturer on securities fraud and corporate governance reform
 at conferences and events around the world.


 Education
 B.A., University of California at San Diego, 1997; J.D., University of San Diego, 2008

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2018; Next Generation Lawyer, The Legal 500, 2017-2018; One of the
 “Five Associates to Watch in 2012,” Daily Journal; Member, San Diego Law Review; CALI Excellence Award in
 Statutory Interpretation



 Eric I. Niehaus | Partner
 Eric Niehaus is a partner in the Firm’s San Diego office, where his practice focuses on complex securities and
 derivative litigation. His efforts have resulted in numerous multi-million dollar recoveries to shareholders and
 extensive corporate governance changes.            Recent examples include: In re NYSE Specialists Sec.
 Litig. (S.D.N.Y.); In re Novatel Wireless Sec. Litig. (S.D. Cal.); Batwin v. Occam Networks, Inc. (C.D.
 Cal.); Commc’ns Workers of Am. Plan for Emps.’ Pensions and Death Benefits v. CSK Auto Corp. (D. Ariz.);
 Marie Raymond Revocable Tr. v. Mat Five (Del. Ch.); and Kelleher v. ADVO, Inc. (D. Conn.). Niehaus is
 currently prosecuting cases against several financial institutions arising from their role in the collapse of the
 mortgage-backed securities market. Prior to joining the Firm, Niehaus worked as a Market Maker on the
 American Stock Exchange in New York, and the Pacific Stock Exchange in San Francisco.


 Education
 B.S., University of Southern California, 1999; J.D., California Western School of Law, 2005

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2016; J.D., Cum Laude, California Western School of Law, 2005; Member,
 California Western Law Review



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                                                                                                           Attorney Biographies



 Brian O. O'Mara | Partner
 Brian O’Mara is a partner in the Firm’s San Diego office. His practice focuses on complex securities and
 antitrust litigation. Since 2003, O’Mara has served as lead or co-lead counsel in numerous shareholder and
 antitrust actions, including: Bennett v. Sprint Nextel Corp. (D. Kan.) ($131 million recovery); In re CIT Grp. Inc.
 Sec. Litig. (S.D.N.Y.) ($75 million recovery); In re MGM Mirage Sec. Litig. (D. Nev.) ($75 million recovery);
 C.D.T.S. No. 1 v. UBS AG (S.D.N.Y.); In re Aluminum Warehousing Antitrust Litig. (S.D.N.Y.); and Alaska
 Elec. Pension Fund v. Bank of Am. Corp. (S.D.N.Y.). O’Mara has been responsible for a number of significant
 rulings, including: Alaska Elec. Pension Fund v. Bank of Am. Corp., 175 F. Supp. 3d 44 (S.D.N.Y. 2016);
 Bennett v. Sprint Nextel Corp., 298 F.R.D. 498 (D. Kan. 2014); In re MGM Mirage Sec. Litig., 2013 U.S. Dist.
 LEXIS 139356 (D. Nev. 2013); In re Constar Int’l, Inc. Sec. Litig., 2008 U.S. Dist. LEXIS 16966 (E.D. Pa.
 2008), aff’d, 585 F.3d 774 (3d Cir. 2009); In re Direct Gen. Corp. Sec. Litig., 2006 U.S. Dist. LEXIS 56128
 (M.D. Tenn. 2006); and In re Dura Pharm., Inc. Sec. Litig., 452 F. Supp. 2d 1005 (S.D. Cal. 2006). Prior to
 joining the Firm, he served as law clerk to the Honorable Jerome M. Polaha of the Second Judicial District Court
 of the State of Nevada.


 Education
 B.A., University of Kansas, 1997; J.D., DePaul University, College of Law, 2002

 Honors / Awards
 Super Lawyer, 2016-2018; CALI Excellence Award in Securities Regulation, DePaul University, College of Law



 Lucas F. Olts | Partner
 Luke Olts is a partner in the Firm’s San Diego office, where his practice focuses on securities litigation on
 behalf of individual and institutional investors. Olts has recently focused on litigation related to residential
 mortgage-backed securities, and has served as lead counsel or co-lead counsel in some of the largest
 recoveries arising from the collapse of the mortgage market. For example, he was a member of the team that
 recovered $388 million for investors in J.P. Morgan residential mortgage-backed securities in Fort Worth
 Employees’ Retirement Fund v. J.P. Morgan Chase & Co., and a member of the litigation team responsible for
 securing a $272 million settlement on behalf of mortgage-backed securities investors in NECA-IBEW Health &
 Welfare Fund v. Goldman Sachs & Co. Olts also served as co-lead counsel in In re Wachovia Preferred
 Securities and Bond/Notes Litig., which recovered $627 million under the Securities Act of 1933. He also
 served as lead counsel in Siracusano v. Matrixx Initiatives, Inc., in which the U.S. Supreme Court unanimously
 affirmed the decision of the Ninth Circuit that plaintiffs stated a claim for securities fraud under §10(b) of the
 Securities Exchange Act of 1934 and SEC Rule 10b-5. Prior to joining the Firm, Olts served as a Deputy
 District Attorney for the County of Sacramento, where he tried numerous cases to verdict, including crimes of
 domestic violence, child abuse and sexual assault.


 Education
 B.A., University of California, Santa Barbara, 2001; J.D., University of San Diego School of Law, 2004

 Honors / Awards
 Future Star, Benchmark Litigation, 2018; Next Generation Lawyer, The Legal 500, 2017; Top Litigator Under
 40, Benchmark Litigation, 2017; Under 40 Hotlist, Benchmark Litigation, 2016




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 Steven W. Pepich | Partner
 Steve Pepich is a partner in the Firm’s San Diego office. His practice has focused primarily on securities class
 action litigation, but has also included a wide variety of complex civil cases, including representing plaintiffs in
 mass tort, royalty, civil rights, human rights, ERISA and employment law actions. Pepich has participated in the
 successful prosecution of numerous securities class actions, including: Carpenters Health & Welfare Fund v.
 Coca-Cola Co., No. 1:00-CV-2838 ($137.5 million recovery); In re Fleming Cos. Inc. Sec. & Derivative Litig.,
 No. 5-03-MD-1530 ($95 million recovered); In re Boeing Sec. Litig., No. C-97-1715Z ($92 million
 recovery); In re Louisiana-Pacific Corp. Sec. Litig., No. C-95-707 ($65 million recovery); Haw. Structural
 Ironworkers Pension Trust Fund v. Calpine Corp., No. 1-04-CV-021465 ($43 million recovery); In re
 Advanced Micro Devices Sec. Litig., No. C-93-20662 ($34 million recovery); and Gohler v. Wood, No.
 92-C-181 ($17.2 million recovery). Pepich was a member of the plaintiffs’ trial team in Mynaf v. Taco Bell
 Corp., which settled after two months of trial on terms favorable to two plaintiff classes of restaurant workers for
 recovery of unpaid wages. He was also a member of the plaintiffs’ trial team in Newman v. Stringfellow where,
 after a nine-month trial in Riverside, California, all claims for exposure to toxic chemicals were ultimately resolved
 for $109 million.


 Education
 B.S., Utah State University, 1980; J.D., DePaul University, 1983



 Daniel J. Pfefferbaum | Partner
 Daniel Pfefferbaum is a partner in the Firm’s San Francisco office, where his practice focuses on complex
 securities litigation. He has been a member of litigation teams that have recovered more than $100 million for
 investors, including: Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc. ($65 million recovery); In re PMI
 Grp., Inc. Sec. Litig. ($31.25 million recovery); Cunha v. Hansen Natural Corp. ($16.25 million recovery); In re
 Accuray Inc. Sec. Litig. ($13.5 million recovery); and Twinde v. Threshold Pharm., Inc. ($10 million recovery).
 Pfefferbaum was a member of the litigation team that secured a historic recovery on behalf of Trump University
 students in two class actions against President Donald J. Trump. The settlement provides $25 million to
 approximately 7,000 consumers. This result means individual class members will be eligible for upwards of
 $35,000 in restitution. He represented the class on a pro bono basis.


 Education
 B.A., Pomona College, 2002; J.D., University of San Francisco School of Law, 2006; LL.M. in Taxation, New
 York University School of Law, 2007

 Honors / Awards
 Future Star, Benchmark Litigation, 2018; Top Litigator Under 40, Benchmark Litigation, 2016-2017; Top 40
 Under 40, Daily Journal, 2017; Super Lawyer “Rising Star,” 2013-2017




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 Theodore J. Pintar | Partner
 Ted Pintar is a partner in the Firm’s San Diego office. Pintar has over 20 years of experience prosecuting
 securities fraud actions and derivative actions and over 15 years of experience prosecuting insurance-related
 consumer class actions, with recoveries in excess of $1 billion. He was part of the litigation team in the AOL
 Time Warner state and federal court securities opt-out actions, which arose from the 2001 merger of America
 Online and Time Warner. These cases resulted in a global settlement of $618 million. Pintar was also on the
 trial team in Knapp v. Gomez, which resulted in a plaintiff’s verdict. Pintar has successfully prosecuted several
 RICO cases involving the deceptive sale of deferred annuities, including cases against Allianz Life Insurance
 Company of North America ($250 million), American Equity Investment Life Insurance Company ($129 million),
 Midland National Life Insurance Company ($80 million) and Fidelity & Guarantee Life Insurance Company ($53
 million). He has participated in the successful prosecution of numerous other insurance and consumer class
 actions, including: (i) actions against major life insurance companies such as Manufacturer’s Life ($555 million
 initial estimated settlement value) and Principal Mutual Life Insurance Company ($380+ million) involving the
 deceptive sale of life insurance; (ii) actions against major homeowners insurance companies such as Allstate
 ($50 million) and Prudential Property and Casualty Co. ($7 million); (iii) actions against automobile insurance
 companies such as the Auto Club and GEICO; and (iv) actions against Columbia House ($55 million) and
 BMG Direct, direct marketers of CDs and cassettes. Additionally, Pintar has served as a panelist for numerous
 Continuing Legal Education seminars on federal and state court practice and procedure.


 Education
 B.A., University of California, Berkeley, 1984; J.D., University of Utah College of Law, 1987

 Honors / Awards
 Super Lawyer, 2014-2017; Top Lawyer in San Diego, San Diego Magazine, 2013-2017; CAOC Consumer
 Attorney of the Year Award Finalist, 2015; Note and Comment Editor, Journal of Contemporary Law, University
 of Utah College of Law; Note and Comment Editor, Journal of Energy Law and Policy, University of Utah
 College of Law



 Willow E. Radcliffe | Partner
 Willow Radcliffe is a partner in the Firm’s San Francisco office and concentrates her practice on securities
 class action litigation in federal court. Radcliffe has been significantly involved in the prosecution of numerous
 securities fraud claims, including actions filed against Flowserve, NorthWestern and Ashworth, and has
 represented plaintiffs in other complex actions, including a class action against a major bank regarding the
 adequacy of disclosures made to consumers in California related to Access Checks. Prior to joining the Firm,
 she clerked for the Honorable Maria-Elena James, Magistrate Judge for the United States District Court for the
 Northern District of California.


 Education
 B.A., University of California, Los Angeles 1994; J.D., Seton Hall University School of Law, 1998

 Honors / Awards
 J.D., Cum Laude, Seton Hall University School of Law, 1998; Most Outstanding Clinician Award; Constitutional
 Law Scholar Award




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 Mark S. Reich | Partner
 Mark Reich is a partner in the Firm’s Melville office. Reich focuses his practice on challenging unfair mergers
 and acquisitions in courts throughout the country. Reich’s notable cases include: In re Aramark Corp.
 S’holders Litig., where he achieved a $222 million increase in consideration paid to shareholders of Aramark
 and a substantial reduction to management’s voting power – from 37% to 3.5% – in connection with the
 approval of the going-private transaction; In re Delphi Fin. Grp. S’holders Litig., resulting in a $49 million post-
 merger settlement for Class A Delphi shareholders; and In re TD Banknorth S’holders Litig., where Reich
 played a significant role in raising the inadequacy of the $3 million initial settlement, which the court rejected as
 wholly inadequate, and later resulted in a vastly increased $50 million recovery.

 Reich has also played a central role in other shareholder related litigation. His cases include In re Gen. Elec.
 Co. ERISA Litig., resulting in structural changes to company’s 401(k) plan valued at over $100 million,
 benefiting current and future plan participants, and In re Doral Fin. Corp. Sec. Litig., obtaining a $129 million
 recovery for shareholders in a securities fraud litigation.


 Education
 B.A., Queens College, 1997; J.D., Brooklyn Law School, 2000

 Honors / Awards
 Super Lawyer, 2013-2017; Member, The Journal of Law and Policy, Brooklyn Law School; Member, Moot
 Court Honor Society, Brooklyn Law School



 Jack Reise | Partner
 Jack Reise is a partner in the Firm’s Boca Raton office. Devoted to protecting the rights of those who have
 been harmed by corporate misconduct, his practice focuses on class action litigation (including securities fraud,
 shareholder derivative actions, consumer protection, antitrust, and unfair and deceptive insurance practices).
 Reise also dedicates a substantial portion of his practice to representing shareholders in actions brought under
 the federal securities laws. He is currently serving as lead counsel in more than a dozen cases nationwide. As
 lead counsel, Reise represented investors in a series of cases involving mutual funds charged with improperly
 valuating their net assets, which settled for a total of more than $50 million. Other notable actions include: In re
 NewPower Holdings Sec. Litig. ($41 million settlement); In re Red Hat Sec. Litig. ($20 million settlement); and
 In re AFC Enters., Inc. Sec. Litig. ($17.2 million settlement). Prior to joining the Firm, Reise represented
 individuals suffering the debilitating effects of asbestos exposure back in the 1950s and 1960s.


 Education
 B.A., Binghamton University, 1992; J.D., University of Miami School of Law, 1995

 Honors / Awards
 American Jurisprudence Book Award in Contracts; J.D., Cum Laude, University of Miami School of Law, 1995;
 University of Miami Inter-American Law Review, University of Miami School of Law




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 Darren J. Robbins | Partner
 Darren Robbins is a founding partner of Robbins Geller Rudman & Dowd LLP. Over the last two decades, he
 has served as lead counsel in more than 100 securities class actions and has recovered billions of dollars for
 injured shareholders. Robbins has obtained significant recoveries in a number of actions arising out of
 wrongdoing related to the issuance of residential mortgage-backed securities, including the case against
 Goldman Sachs ($272 million recovery). Robbins also served as co-lead counsel in connection with a $627
 million recovery for investors in In re Wachovia Preferred Securities & Bond/Notes Litig., one of the largest
 credit-crisis settlements involving Securities Act claims. Robbins also recently served as lead counsel in Schuh
 v. HCA Holdings, Inc., which resulted in a $215 million recovery for shareholders.

 One of the hallmarks of Robbins’ practice has been his focus on corporate governance reform.
 In UnitedHealth, a securities fraud class action arising out of an options backdating scandal, Robbins
 represented lead plaintiff CalPERS and was able to obtain the cancellation of more than 3.6 million stock
 options held by the company’s former CEO and secure a record $925 million cash recovery for shareholders.
 Robbins also negotiated sweeping corporate governance reforms, including the election of a shareholder-
 nominated director to the company’s board of directors, a mandatory holding period for shares acquired via
 option exercise, and compensation reforms that tied executive pay to performance. Recently, Robbins led a
 shareholder derivative action brought by several pension funds on behalf of Community Health Systems, Inc.
 The case yielded a $60 million payment to Community Health (the largest recovery ever in a shareholder
 derivative action in Tennessee and the Sixth Circuit), as well as groundbreaking corporate governance reforms
 that included two shareholder-nominated directors, the creation and appointment of a Healthcare Law
 Compliance Coordinator, the implementation of a compensation clawback in the event of a restatement, the
 establishment of an insider trading controls committee, and the adoption of a political expenditure disclosure
 policy.


 Education
 B.S., University of Southern California, 1990; M.A., University of Southern California, 1990; J.D., Vanderbilt Law
 School, 1993

 Honors / Awards
 Leading Lawyer, Chambers USA, 2014-2018; Local Litigation Star, Benchmark Litigation, 2013-2018; Best
 Lawyer in America, Best Lawyers®, 2010-2018; Leading Lawyer in America, Lawdragon, 2006-2007,
 2009-2018; Super Lawyer, 2013-2018; Lawyer of the Year, Best Lawyers®, 2017; Litigator of the Year, Our
 City San Diego, 2017; Recommended Lawyer, The Legal 500, 2011, 2017; Top 50 Lawyers in San Diego,
 Super Lawyers Magazine, 2015; One of the Top 100 Lawyers Shaping the Future, Daily Journal; One of the
 “Young Litigators 45 and Under,” The American Lawyer; Attorney of the Year, California Lawyer; Managing
 Editor, Vanderbilt Journal of Transnational Law, Vanderbilt Law School




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 Robert J. Robbins | Partner
 Robert Robbins is a partner in the Firm’s Boca Raton office. He focuses his practice on investigating securities
 fraud, initiating securities class actions, and helping institutional and individual shareholders litigate their claims
 to recover investment losses caused by fraud. Representing shareholders in all aspects of class actions
 brought pursuant to the federal securities laws, Robbins provides counsel in numerous securities fraud class
 actions across the country, helping secure significant recoveries for investors. Robbins has been a member of
 litigation teams responsible for the successful prosecution of many securities class actions,
 including Hospira ($60 million recovery); CVS Caremark ($48 million recovery); Baxter International ($42.5
 million recovery); R.H. Donnelley ($25 million recovery); Spiegel ($17.5 million recovery); TECO
 Energy ($17.35 million recovery); AFC Enterprises ($17.2 million recovery); Accretive Health ($14 million
 recovery); Lender Processing Services ($14 million recovery); Imperial Holdings ($12 million
 recovery); Mannatech ($11.5 million recovery); Newpark Resources ($9.24 million recovery); Gilead
 Sciences ($8.25 million recovery); TCP International ($7.175 million recovery); Cryo Cell International ($7
 million recovery); Gainsco ($4 million recovery); and Body Central ($3.425 million recovery).


 Education
 B.S., University of Florida, 1999; J.D., University of Florida College of Law, 2002

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2017; J.D., High Honors, University of Florida College of Law, 2002;
 Member, Journal of Law and Public Policy, University of Florida College of Law; Member, Phi Delta Phi,
 University of Florida College of Law; Pro bono certificate, Circuit Court of the Eighth Judicial Circuit of Florida;
 Order of the Coif



 Henry Rosen | Partner
 Henry Rosen is a partner in the Firm’s San Diego office, where he is a member of the Hiring Committee and
 Technology Committee, the latter of which focuses on applications to digitally manage documents produced
 during litigation and internally generate research files. He has significant experience prosecuting every aspect
 of securities fraud class actions and has obtained more than $1 billion on behalf of defrauded investors.
 Prominent cases include In re Cardinal Health, Inc. Sec. Litig., in which Rosen recovered $600 million for
 defrauded shareholders. This $600 million settlement is the largest recovery ever in a securities fraud class
 action in the Sixth Circuit, and remains one of the largest settlements in the history of securities fraud litigation.
 Additional recoveries include: Jones v. Pfizer Inc. ($400 million); In re First Energy ($89.5 million); In re CIT
 Grp. Inc. Sec. Litig ($75 million); Stanley v. Safeskin Corp. ($55 million); In re Storage Tech. Corp. Sec. Litig.
 ($55 million); and Rasner v. Sturm (FirstWorld Communications ) ($25.9 million).


 Education
 B.A., University of California, San Diego, 1984; J.D., University of Denver, 1988

 Honors / Awards
 Editor-in-Chief, University of Denver Law Review, University of Denver




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 David A. Rosenfeld | Partner
 David Rosenfeld is a partner in the Firm’s Melville office. He has focused his practice of law for more than 15
 years in the areas of securities litigation and corporate takeover litigation. He has been appointed as lead
 counsel in dozens of securities fraud lawsuits and has successfully recovered hundreds of millions of dollars for
 defrauded shareholders. Rosenfeld works on all stages of litigation, including drafting pleadings, arguing
 motions and negotiating settlements. Most recently, he was on the team of Robbins Geller attorneys who
 obtained a $34.5 million recovery in Patel v. L-3 Communications Holdings, Inc., which represents a high
 percentage of damages that plaintiffs could reasonably expect to be recovered at trial and is more than eight
 times higher than the average settlement of cases with comparable investor losses.

 Additionally, Rosenfeld led the Robbins Geller team in recovering in excess of $34 million for investors in
 Overseas Shipholding Group, which represented an outsized recovery of 93% of bond purchasers’ damages
 and 28% of stock purchasers’ damages. The creatively structured settlement included more than $15 million
 paid by a bankrupt entity. Rosenfeld also led the effort that resulted in the recovery of nearly 90% of losses for
 investors in Austin Capital, a sub-feeder fund of Bernard Madoff. In connection with this lawsuit, Rosenfeld met
 with and interviewed Madoff in federal prison. Rosenfeld has also achieved remarkable recoveries against
 companies in the financial industry. In addition to recovering $70 million for investors in Credit Suisse Group,
 and having been appointed lead counsel in the securities fraud lawsuit against First BanCorp (which provided
 shareholders with a $74.25 million recovery), he recently settled claims against Barclays for $14 million, or 20%
 of investors’ damages, for statements made about its LIBOR practices.


 Education
 B.S., Yeshiva University, 1996; J.D., Benjamin N. Cardozo School of Law, 1999

 Honors / Awards
 Advisory Board Member of Stafford’s Securities Class Action Reporter; Future Star, Benchmark Litigation,
 2016-2018; Recommended Lawyer, The Legal 500, 2018; Super Lawyer, 2014-2017; Super Lawyer “Rising
 Star,” 2011-2013




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 Robert M. Rothman | Partner
 Robert Rothman is a partner in the Firm’s Melville office. Rothman has extensive experience litigating cases
 involving investment fraud, consumer fraud and antitrust violations. He also lectures to institutional investors
 throughout the world. Rothman has served as lead counsel in numerous class actions alleging violations of
 securities laws, including cases against First Bancorp ($74.25 million recovery), CVS ($48 million recovery),
 Popular, Inc. ($37.5 million recovery), and iStar Financial, Inc. ($29 million recovery). He actively represents
 shareholders in connection with going-private transactions and tender offers. For example, in connection with a
 tender offer made by Citigroup, Rothman secured an increase of more than $38 million over what was originally
 offered to shareholders.


 Education
 B.A., State University of New York at Binghamton, 1990; J.D., Hofstra University School of Law, 1993

 Honors / Awards
 Super Lawyer, 2011, 2013-2017; Dean’s Academic Scholarship Award, Hofstra University School of Law; J.D.,
 with Distinction, Hofstra University School of Law, 1993; Member, Hofstra Law Review, Hofstra University
 School of Law



 Samuel H. Rudman | Partner
 Sam Rudman is a founding member of the Firm, a member of the Firm’s Executive and Management
 Committees, and manages the Firm’s New York offices. His 25-year securities practice focuses on recognizing
 and investigating securities fraud, and initiating securities and shareholder class actions to vindicate
 shareholder rights and recover shareholder losses. A former attorney with the SEC, Rudman has recovered
 hundreds of millions of dollars for shareholders, including a $200 million recovery in Motorola, a $129 million
 recovery in Doral Financial, an $85 million recovery in Blackstone, a $74 million recovery in First BanCorp, a
 $65 million recovery in Forest Labs, a $50 million recovery in TD Banknorth, a $48 million recovery in CVS
 Caremark, and a $34.5 million recovery in L-3 Communications Holdings.


 Education
 B.A., Binghamton University, 1989; J.D., Brooklyn Law School, 1992

 Honors / Awards
 Leading Lawyer, Chambers USA, 2014-2018; Leading Lawyer in America, Lawdragon, 2016-2018; Local
 Litigation Star, Benchmark Litigation, 2013-2018; Litigation Star, Benchmark Litigation, 2013, 2017-2018;
 Recommended Lawyer, The Legal 500, 2018; Super Lawyer, 2007-2017; Dean’s Merit Scholar, Brooklyn Law
 School; Moot Court Honor Society, Brooklyn Law School; Member, Brooklyn Journal of International Law,
 Brooklyn Law School




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 Joseph Russello | Partner
 Joseph Russello is a partner in the Firm’s Melville office, where he concentrates his practice on prosecuting
 shareholder class action and breach of fiduciary duty claims, as well as complex commercial litigation and
 consumer class actions. Russello joined the Law360 Securities Editorial Advisory Board in 2017.

 Russello has played a vital role in recovering millions of dollars for aggrieved investors, including those of
 Blackstone ($85 million); NBTY, Inc. ($16 million); LaBranche & Co., Inc. ($13 million); The Children’s Place
 Retail Stores, Inc. ($12 million); Prestige Brands Holdings, Inc. ($11 million); and Jarden Corporation ($8
 million). He also has significant experience in corporate takeover and breach of fiduciary duty litigation. In
 expedited litigation in the Delaware Court of Chancery involving Mat Five LLC, for example, his efforts paved the
 way for an “opt-out” settlement that offered investors more than $38 million in increased cash benefits. In
 addition, he played an integral role in convincing the Delaware Court of Chancery to enjoin Oracle
 Corporation’s $1 billion acquisition of Art Technology Group, Inc. pending the disclosure of material
 information. He also has experience in litigating consumer class actions.

 Prior to joining the Firm, Russello practiced in the professional liability group at Rivkin Radler LLP, where he
 defended attorneys, accountants and other professionals in state and federal litigation and assisted in
 evaluating and resolving complex insurance coverage matters.


 Education
 B.A., Gettysburg College, 1998; J.D., Hofstra University School of Law, 2001

 Honors / Awards
 Law360 Securities Editorial Advisory Board, 2017; Super Lawyer, 2014-2017



 Scott H. Saham | Partner
 Scott Saham is a partner in the Firm’s San Diego office, where his practice focuses on complex securities
 litigation. He is licensed to practice law in both California and Michigan. Most recently, Saham was part of the
 litigation team in Schuh v. HCA Holdings, Inc., which resulted in a $215 million recovery for shareholders, the
 largest securities class action recovery ever in Tennessee, and Luna v. Marvell Tech. Grp., Ltd., which resulted
 in a $72.5 million settlement that represents approximately 24% to 50% of the best estimate of classwide
 damages suffered by investors. He also served as lead counsel prosecuting the Pharmacia securities litigation
 in the District of New Jersey, which resulted in a $164 million recovery. Additionally, Saham was lead counsel
 in the In re Coca-Cola Sec. Litig. in the Northern District of Georgia, which resulted in a $137.5 million
 recovery after nearly eight years of litigation. He also obtained reversal from the California Court of Appeal of
 the trial court’s initial dismissal of the landmark Countrywide mortgage-backed securities action. This decision
 is reported as Luther v. Countrywide Fin. Corp., 195 Cal. App. 4th 789 (2011), and following this ruling that
 revived the action the case settled for $500 million.


 Education
 B.A., University of Michigan, 1992; J.D., University of Michigan Law School, 1995




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 Jessica T. Shinnefield | Partner
 Jessica Shinnefield is a partner in the Firm’s San Diego office and currently focuses on initiating, investigating
 and prosecuting new securities fraud class actions. Shinnefield was a member of the litigation teams that
 obtained significant recoveries for investors in cases such as AOL Time Warner, Cisco Systems, Aon and
 Petco. Shinnefield was also a member of the litigation team prosecuting actions against investment banks and
 leading national credit rating agencies for their roles in structuring and rating structured investment vehicles
 backed by toxic assets. These cases are among the first to successfully allege fraud against the rating
 agencies, whose ratings have traditionally been protected by the First Amendment. She is currently litigating
 several securities actions, including an action against Omnicare, in which she helped obtain a favorable ruling
 from the U.S. Supreme Court.


 Education
 B.A., University of California at Santa Barbara, 2001; J.D., University of San Diego School of Law, 2004

 Honors / Awards
 Super Lawyer “Rising Star,” 2015-2018; B.A., Phi Beta Kappa, University of California at Santa Barbara, 2001



 Elizabeth A. Shonson | Partner
 Elizabeth Shonson is a partner in the Firm’s Boca Raton office. She concentrates her practice on representing
 investors in class actions brought pursuant to the federal securities laws. Shonson has litigated numerous
 securities fraud class actions nationwide, helping achieve significant recoveries for aggrieved investors. She
 was a member of the litigation teams responsible for recouping millions of dollars for defrauded investors,
 including: In re Massey Energy Co. Sec. Litig. (S.D. W.Va.) ($265 million); Nieman v. Duke Energy Corp.
 (W.D.N.C.) ($146.25 million recovery); Eshe Fund v. Fifth Third Bancorp (S.D. Ohio) ($16 million); City of St.
 Clair Shores Gen. Emps. Ret. Sys. v. Lender Processing Servs., Inc. (M.D. Fla.) ($14 million); and In re
 Synovus Fin. Corp. (N.D. Ga.) ($11.75 million).


 Education
 B.A., Syracuse University, 2001; J.D., University of Florida Levin College of Law, 2005

 Honors / Awards
 Super Lawyer “Rising Star,” 2016-2018; J.D., Cum Laude, University of Florida Levin College of Law, 2005;
 Editor-in-Chief, Journal of Technology Law & Policy; Phi Delta Phi; B.A., with Honors, Summa Cum Laude,
 Syracuse University, 2001; Phi Beta Kappa




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 Trig Smith | Partner
 Trig Smith is a partner in the Firm’s San Diego office. Smith focuses on complex securities class actions in
 which he has helped obtain significant recoveries for investors in cases such as Cardinal Health ($600 million);
 Qwest ($445 million); Forest Labs. ($65 million); Accredo ($33 million); and Exide ($13.7 million).


 Education
 B.S., University of Colorado, Denver, 1995; M.S., University of Colorado, Denver, 1997; J.D., Brooklyn Law
 School, 2000

 Honors / Awards
 Member, Brooklyn Journal of International Law, Brooklyn Law School; CALI Excellence Award in Legal Writing,
 Brooklyn Law School



 Mark Solomon | Partner
 Mark Solomon is a founding partner in the Firm’s San Diego office and leads its international litigation practice.
 Over the last 23 years, he has regularly represented United States- and United Kingdom-based pension funds,
 and asset managers in class and non-class securities litigation in federal and state courts throughout the United
 States. He has been admitted to the Bars of England and Wales (Barrister), Ohio and California, but now
 practices exclusively in California, as well as in various United States federal district and appellate courts.

 Solomon has spearheaded the prosecution of many significant securities fraud cases. He has obtained multi-
 hundred million dollar recoveries for plaintiffs in pre-trial settlements and significant corporate governance
 reforms designed to limit recidivism and promote appropriate standards. He litigated, through the rare event of
 trial, the securities class action against Helionetics Inc. and its executives, where he won a $15.4 million federal
 jury verdict. Prior to the most recent financial crisis, he was instrumental in obtaining some of the first mega-
 recoveries in the field in California and Texas, serving as co-lead counsel in In re Informix Corp. Sec. Litig. (N.D.
 Cal.) and recovering $131 million for Informix investors; and serving as co-lead counsel in Schwartz v. TXU
 Corp. (N.D. Tex.), where he helped obtain a recovery of over $149 million for a class of purchasers of TXU
 securities. Solomon is currently counsel to a number of pension funds serving as lead plaintiffs in cases
 throughout the United States.


 Education
 B.A., Trinity College, Cambridge University, England, 1985; L.L.M., Harvard Law School, 1986; Inns of Court
 School of Law, Degree of Utter Barrister, England, 1987

 Honors / Awards
 Super Lawyer, 2017-2018; Recommended Lawyer, The Legal 500, 2016-2017; Lizette Bentwich Law Prize,
 Trinity College, 1983 and 1984; Hollond Travelling Studentship, 1985; Harvard Law School Fellowship,
 1985-1986; Member and Hardwicke Scholar of the Honourable Society of Lincoln’s Inn




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 David C. Walton | Partner
 David Walton is a partner in the Firm’s San Diego office and a member of the Firm’s Executive and
 Management Committees. He specializes in pursuing financial fraud claims, using his background as a
 Certified Public Accountant and Certified Fraud Examiner to prosecute securities law violations on behalf of
 investors. For over 20 years, he has prosecuted class actions and private actions on behalf of defrauded
 investors, particularly in the area of accounting fraud. He has investigated and participated in the litigation of
 highly complex accounting scandals within some of America’s largest corporations, including Enron ($7.2
 billion), HealthSouth ($671 million), WorldCom ($657 million), AOL Time Warner ($629 million), Countrywide
 ($500 million), and Dynegy ($474 million), as well as numerous companies implicated in stock option
 backdating. In 2003-2004, he served as a member of the California Board of Accountancy, which is
 responsible for regulating the accounting profession in California.


 Education
 B.A., University of Utah, 1988; J.D., University of Southern California Law Center, 1993

 Honors / Awards
 Super Lawyer, 2015-2016; California Board of Accountancy, Member, 2003-2004; Southern California Law
 Review, Member, University of Southern California Law Center; Hale Moot Court Honors Program, University of
 Southern California Law Center



 Douglas Wilens | Partner
 Douglas Wilens is a partner in the Firm’s Boca Raton office. Wilens is a member of the Firm’s appellate
 practice group, participating in numerous appeals in federal and state courts across the country. Most notably,
 Wilens handled successful appeals in the First Circuit Court of Appeals in Mass. Ret. Sys. v. CVS Caremark
 Corp., 716 F.3d 229 (1st Cir. 2013) (reversal of order granting motion to dismiss), and in the Fifth Circuit Court
 of Appeals in Lormand v. US Unwired, Inc., 565 F.3d 228 (5th Cir. 2009) (reversal of order granting motion to
 dismiss). Wilens is also involved in the Firm’s lead plaintiff practice group, handling lead plaintiff issues arising
 under the PSLRA.

 Prior to joining the Firm, Wilens was an associate at a nationally recognized firm, where he litigated complex
 actions on behalf of numerous professional sports leagues, including the National Basketball Association, the
 National Hockey League and Major League Soccer. He has also served as an adjunct professor at Florida
 Atlantic University and Nova Southeastern University, where he taught undergraduate and graduate-level
 business law classes.


 Education
 B.S., University of Florida, 1992; J.D., University of Florida College of Law, 1995

 Honors / Awards
 Book Award for Legal Drafting, University of Florida College of Law; J.D., with Honors, University of Florida
 College of Law, 1995




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 Shawn A. Williams | Partner
 Shawn Williams is a partner in the Firm’s San Francisco office and a member of the Firm’s Management
 Committee. His practice focuses on securities class actions. Williams was among the lead class counsel for
 the Firm recovering investor losses in notable cases, including: In re Krispy Kreme Doughnuts, Inc. Sec. Litig.
 ($75 million); In re Veritas Software Corp. Sec. Litig. ($35 million); and In re Cadence Design Sys. Sec. Litig.
 ($38 million). Williams is also among the Firm’s lead attorneys prosecuting shareholder derivative actions,
 securing tens of millions of dollars in cash recoveries and negotiating the implementation of comprehensive
 corporate governance enhancements, such as In re McAfee, Inc. Derivative Litig.; In re Marvell Tech. Grp. Ltd.
 Derivative Litig.; In re KLA Tencor S’holder Derivative Litig.; and The Home Depot, Inc. Derivative Litig. Prior to
 joining the Firm in 2000, Williams served for 5 years as an Assistant District Attorney in the Manhattan District
 Attorney’s Office, where he tried over 20 cases to New York City juries and led white-collar fraud grand jury
 investigations.


 Education
 B.A., The State of University of New York at Albany, 1991; J.D., University of Illinois, 1995

 Honors / Awards
 Leading Lawyer in America, Lawdragon, 2018; Super Lawyer, 2014-2017; Board Member, California Bar
 Foundation, 2012-2014



 David T. Wissbroecker | Partner
 David Wissbroecker is a partner in the Firm’s San Diego and Chicago offices. He focuses his practice on
 securities class action litigation in the context of mergers and acquisitions, representing both individual
 shareholders and institutional investors. As part of the litigation team at Robbins Geller, Wissbroecker has
 helped secure monetary recoveries for shareholders that collectively exceed $600 million. Wissbroecker has
 litigated numerous high profile cases in Delaware and other jurisdictions, including shareholder class actions
 challenging the acquisitions of Kinder Morgan, Del Monte Foods, Affiliated Computer Services and Rural
 Metro. Prior to joining the Firm, Wissbroecker served as a staff attorney for the United States Court of Appeals
 for the Seventh Circuit, and then as a law clerk for the Honorable John L. Coffey, Circuit Judge for the Seventh
 Circuit.


 Education
 B.A., Arizona State University, 1998; J.D., University of Illinois College of Law, 2003

 Honors / Awards
 Super Lawyer “Rising Star,” 2015; J.D., Magna Cum Laude, University of Illinois College of Law, 2003; B.A.,
 Cum Laude, Arizona State University, 1998




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 Christopher M. Wood | Partner
 Christopher Wood is a partner in the Firm’s Nashville office, where his practice focuses on complex securities
 litigation. He has been a member of litigation teams responsible for recovering hundreds of millions of dollars
 for investors, including: In re Massey Energy Co. Sec. Litig. ($265 million recovery); In re VeriFone Holdings,
 Inc. Sec. Litig. ($95 million recovery); Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc. ($65 million
 recovery); In re Micron Tech., Inc. Sec. Litig. ($42 million recovery); and Winslow v. BancorpSouth, Inc. ($29.5
 million recovery).

 Wood has provided pro bono legal services through the San Francisco Bar Association’s Volunteer Legal
 Services Program, the Ninth Circuit’s Pro Bono Program, Volunteer Lawyers & Professionals for the Arts, and
 Tennessee Justice for Our Neighbors.


 Education
 B.A., Vanderbilt University, 2003; J.D., University of San Francisco School of Law, 2006

 Honors / Awards
 Super Lawyer “Rising Star,” 2011-2013, 2015-2017



 Debra J. Wyman | Partner
 Debra Wyman is a partner in the Firm’s San Diego office. She specializes in securities litigation and has
 litigated numerous cases against public companies in state and federal courts that have resulted in over $1
 billion in securities fraud recoveries. Wyman was a member of the trial team in Schuh v. HCA Holdings, Inc.,
 which resulted in a $215 million recovery for shareholders, the largest securities class action recovery ever in
 Tennessee. The recovery achieved approximately 70% of classwide damages, which as a percentage of
 damages significantly exceeds the median class action recovery of 2%-3% of damages. Wyman prosecuted
 the complex securities and accounting fraud case In re HealthSouth Corp. Sec. Litig., one of the largest and
 longest-running corporate frauds in history, in which $671 million was recovered for defrauded HealthSouth
 investors. She was also part of the trial team that litigated In re AT&T Corp. Sec. Litig., which was tried in the
 United States District Court, District of New Jersey, and settled after only two weeks of trial for $100 million.
 Most recently, Wyman was part of the litigation team that secured a $64 million recovery for Dana Corp.
 shareholders in Plumbers & Pipefitters National Pension Fund v. Burns, in which the Firm’s Appellate Practice
 Group successfully appealed to the Sixth Circuit Court of Appeals twice, reversing the district court’s dismissal
 of the action.


 Education
 B.A., University of California Irvine, 1990; J.D., University of San Diego School of Law, 1997

 Honors / Awards
 Top Women Lawyer, Daily Journal, 2017; Litigator of the Year, Our City San Diego, 2017; Super Lawyer,
 2016-2017




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 Laura M. Andracchio | Of Counsel
 Laura Andracchio is Of Counsel in the Firm’s San Diego office. Having first joined the Firm in 1997, she was a
 Robbins Geller partner for ten years prior to her role as Of Counsel. As a partner with the Firm, Andracchio led
 countless securities fraud cases against public companies throughout the country, recovering hundreds of
 millions of dollars for injured investors. Her current focus remains securities fraud litigation under the federal
 securities laws.

 Andracchio was a lead member of the trial team in In re AT&T Corp. Sec. Litig., recovering $100 million for the
 class after two weeks of trial in district court in New Jersey. Prior to trial, she managed and litigated the case,
 which was pending for four years. She also led the trial team in Brody v. Hellman, a case against Qwest and
 former directors of U.S. West seeking an unpaid dividend, recovering $50 million for the class, which was
 largely comprised of U.S. West retirees. Other cases Andracchio has litigated include City of Hialeah Emps.’
 Ret. Sys. v. Toll Bros., Inc., Ross v. Abercrombie & Fitch Co., In re GMH Cmtys. Tr. Sec. Litig., In re Vicuron
 Pharm., Inc. Sec. Litig. and In re Navarre Corp. Sec. Litig. Most recently, her focus is residential mortgage-
 backed securities litigation on behalf of investors against Wall Street financial institutions.


 Education
 B.A., Bucknell University, 1986; J.D., Duquesne University School of Law, 1989

 Honors / Awards
 Order of the Barristers, J.D., with honors, Duquesne University School of Law, 1989



 Randi D. Bandman | Of Counsel
 Randi Bandman is Of Counsel in the Firm’s Boca Raton office. Throughout her career, she has represented
 and advised hundreds of clients, including pension funds, managers, banks and hedge funds, such as the
 Directors Guild of America, Screen Actors Guild, Writers Guild of America and Teamster funds. Bandman’s
 cases have yielded billions of dollars of recoveries. Notable cases include the AOL Time Warner, Inc. merger
 ($629 million), In re Enron Corp. Sec. Litig. ($7.2 billion), Private Equity litigation (Dahl v. Bain Capital Partners,
 LLC) ($590.5 million) and In re WorldCom Sec. Litig. ($657 million).

 Bandman is currently representing plaintiffs in the Foreign Exchange Litigation pending in the Southern District
 of New York which alleges collusive conduct by the world’s largest banks to fix prices in the $5.3 trillion a day
 foreign exchange market and in which billions of dollars have been recovered to date for injured plaintiffs.
 Bandman is part of the Robbins Geller Co-Lead Counsel team representing the class in the “High Frequency
 Trading” case, which accuses stock exchanges of giving unfair advantages to high-speed traders versus all
 other investors, resulting in billions of dollars being diverted. Bandman is also currently a member of the trial
 team in In re Facebook Biometric Information Privacy Litigation, concerning Facebook’s alleged privacy
 violations through its collection of user’s biometric identifiers without informed consent. She was instrumental
 in the landmark state settlement with the tobacco companies for $12.5 billion. Bandman also led an
 investigation with congressional representatives on behalf of artists into allegations of “pay for play” tactics and
 represented writers with respect to their claims involving a major television series.


 Education
 B.A., University of California, Los Angeles; J.D., University of Southern California




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 Lea Malani Bays | Of Counsel
 Lea Malani Bays is Of Counsel in the Firm’s San Diego office. She focuses on e-discovery issues, from
 preservation through production, and provides counsel to the Firm’s multi-disciplinary, e-discovery team
 consisting of attorneys, forensic analysts and database professionals. Through her role as counsel to the e-
 discovery team, Bays is very familiar with the various stages of e-discovery, including identification of relevant
 electronically stored information, data culling, predictive coding protocols, privilege and responsiveness reviews,
 as well as having experience in post-production discovery through trial preparation. Through speaking at
 various events, she is also a leader in shaping the broader dialogue on e-discovery issues.

 Bays was recently part of the litigation team that earned the approval of a $131 million settlement in favor of
 plaintiffs in Bennett v. Sprint Nextel Corp. The settlement, which resolved claims arising from Sprint
 Corporation’s ill-fated merger with Nextel Communications in 2005, represents a significant recovery for the
 plaintiff class, achieved after five years of tireless effort by the Firm. Prior to joining Robbins Geller, Bays was a
 Litigation Associate at Kaye Scholer LLP’s New York office. She has experience in a wide range of litigation,
 including complex securities litigation, commercial contract disputes, business torts, antitrust, civil fraud, and
 trust and estate litigation.


 Education
 B.A., University of California, Santa Cruz, 1997; J.D., New York Law School, 2007

 Honors / Awards
 J.D., Magna Cum Laude, New York Law School, 2007; Executive Editor, New York Law School Law Review;
 Legal Aid Society’s Pro Bono Publico Award; NYSBA Empire State Counsel; Professor Stephen J. Ellmann
 Clinical Legal Education Prize; John Marshall Harlan Scholars Program, Justice Action Center




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 Mary K. Blasy | Of Counsel
 Mary Blasy is Of Counsel to the Firm and is based in the Firm’s Melville and Washington, D.C. offices. Her
 practice focuses on the investigation, commencement, and prosecution of securities fraud class actions and
 shareholder derivative suits. Blasy has recovered hundreds of millions of dollars for investors in securities fraud
 class actions against Reliance Acceptance Corp. ($66 million); Sprint Corp. ($50 million); Titan Corporation
 ($15+ million); Martha Stewart Omni-Media, Inc. ($30 million); and Coca-Cola Co. ($137.5 million). Blasy has
 also been responsible for prosecuting numerous complex shareholder derivative actions against corporate
 malefactors to address violations of the nation’s securities, environmental and labor laws, obtaining corporate
 governance enhancements valued by the market in the billions of dollars.

 In 2014, the Presiding Justice of the Appellate Division of the Second Department of the Supreme Court of the
 State of New York appointed Blasy to serve as a member of the Independent Judicial Election Qualification
 Commission, which reviews the qualifications of candidates seeking public election to New York State Supreme
 Courts in the 10th Judicial District. She also served on the Law360 Securities Editorial Advisory Board from
 2015 to 2016.


 Education
 B.A., California State University, Sacramento, 1996; J.D., UCLA School of Law, 2000

 Honors / Awards
 Super Lawyer, 2016-2017; Law360 Securities Editorial Advisory Board, 2015-2016; Member, Independent
 Judicial Election Qualification Commission, 2014-present



 Bruce Boyens | Of Counsel
 Bruce Boyens is Of Counsel to the Firm. A private practitioner in Denver, Colorado since 1990, he specializes
 in consulting with labor unions on issues relating to labor and environmental law, labor organizing, labor
 education, union elections, internal union governance and alternative dispute resolutions. Boyens was a
 Regional Director for the International Brotherhood of Teamsters elections in 1991 and 1995. He developed
 and taught collective bargaining and labor law courses for the George Meany Center, the United Mine Workers
 of America, Transportation Workers Local 260, the Kentucky Nurses Association, among others.

 In addition, Boyens served as the Western Regional Director and Counsel for the United Mine Workers from
 1983-1990, where he was the chief negotiator in over 30 major agreements, and represented the United Mine
 Workers in all legal matters. From 1973-1977, he served as General Counsel to District 17 of the United Mine
 Workers Association, and also worked as an underground coal miner during that time.


 Education
 J.D., University of Kentucky College of Law, 1973; Harvard University, Certificate in Environmental Policy and
 Management




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 William K. Cavanagh, Jr. | Of Counsel
 Bill Cavanagh is Of Counsel in the Firm’s Washington, D.C. office. Cavanagh concentrates his practice in
 employee benefits law and works with the Firm’s Institutional Outreach Team. Prior to joining Robbins Geller,
 Cavanagh was employed by Ullico for the past nine years, most recently as President of Ullico Casualty Group.
 The Ullico Casualty Group is the leading provider of fiduciary liability insurance for trustees in both the private
 as well as the public sector. Prior to that he was President of the of Ullico Investment Company.

 Preceding Cavanagh’s time at Ullico, he was a partner at the labor and employee benefits firm Cavanagh and
 O’Hara in Springfield, Illinois for 28 years. In that capacity, Cavanagh represented public pension funds, jointly
 trusteed Taft-Hartley, health, welfare, pension and joint apprenticeship funds advising on fiduciary and
 compliance issues both at the Board level as well as in administrative hearings, federal district courts and the
 United States Courts of Appeals. During the course of his practice, Cavanagh had extensive trial experience in
 state and the relevant federal district courts. Additionally, Cavanagh served as co-counsel on a number of
 cases representing trustees seeking to recover plan assets lost as a result of fraud in the marketplace.


 Education
 B.A., Georgetown University, 1974; J.D., John Marshall Law School, 1978



 Christopher Collins | Of Counsel
 Christopher Collins is Of Counsel in the Firm’s San Diego office and his practice focuses on antitrust and
 consumer protection. Collins served as co-lead counsel in Wholesale Elec. Antitrust Cases I & II, charging an
 antitrust conspiracy by wholesale electricity suppliers and traders of electricity in California’s newly deregulated
 wholesale electricity market wherein plaintiffs secured a global settlement for California consumers, businesses
 and local governments valued at more than $1.1 billion. He was also involved in California’s tobacco litigation,
 which resulted in the $25.5 billion recovery for California and its local entities. Collins is currently counsel on
 the California Energy Manipulation antitrust litigation, the Memberworks upsell litigation, as well as a number of
 consumer actions alleging false and misleading advertising and unfair business practices against major
 corporations. He formerly served as a Deputy District Attorney for Imperial County where he was in charge of
 the Domestic Violence Unit.


 Education
 B.A., Sonoma State University, 1988; J.D., Thomas Jefferson School of Law, 1995




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 Patrick J. Coughlin | Of Counsel
 Patrick Coughlin is Of Counsel to the Firm and has served as lead counsel in several major securities matters,
 including one of the earliest and largest class action securities cases to go to trial, In re Apple Comput. Sec.
 Litig. Coughlin was recently one of the lead attorneys who secured a historic recovery on behalf of Trump
 University students in two class actions against President Donald J. Trump. The settlement provides $25 million
 to approximately 7,000 consumers. This result means individual class members will be eligible for upwards of
 $35,000 in restitution. He represented the class on a pro bono basis. Additional prominent securities class
 actions prosecuted by Coughlin include the Enron litigation ($7.2 billion recovery); the Qwest litigation ($445
 million recovery); and the HealthSouth litigation ($671 million recovery). In addition to the numerous securities
 cases, Coughlin has handled a number of large antitrust cases including the Visa/Master Card Interchange Fee
 case, the Currency Conversion cases in which $360 million was recovered for consumers and the Private
 Equity litigation (Dahl v. Bain Capital Partners, LLC) in which $590.5 million was recovered for investors.
 Coughlin was formerly an Assistant United States Attorney in the District of Columbia and the Southern District
 of California, handling complex white-collar fraud matters.


 Education
 B.S., Santa Clara University, 1977; J.D., Golden Gate University, 1983

 Honors / Awards
 Rated AV Preeminent by Martindale-Hubbell; Senior Statesman, Chambers USA, 2014-2018; Best Lawyer in
 America, Best Lawyers®, 2006-2018; Super Lawyer, 2004-2018; Top Lawyer in San Diego, San Diego
 Magazine, 2013-2017; Antitrust Trailblazer, The National Law Journal, 2015; Top 100 Lawyers, Daily Journal,
 2008; Leading Lawyers in America, Lawdragon, 2006, 2008-2009




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 Michael J. Dowd | Of Counsel
 Mike Dowd was a founding partner of the Firm. He has practiced in the area of securities litigation for 20 years,
 prosecuting dozens of complex securities cases and obtaining significant recoveries for investors in cases such
 as UnitedHealth ($925 million), WorldCom ($657 million), AOL Time Warner ($629 million), Qwest ($445
 million) and Pfizer ($400 million). Dowd served as lead trial counsel in Jaffe v. Household Int’l, Inc. in the
 Northern District of Illinois, a securities class action that obtained a record-breaking $1.575 billion settlement
 after 14 years of litigation, including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Dowd
 also served as the lead trial lawyer in In re AT&T Corp. Sec. Litig., which was tried in the District of New Jersey
 and settled after only two weeks of trial for $100 million.

 Dowd served as an Assistant United States Attorney in the Southern District of California from 1987-1991, and
 again from 1994-1998.


 Education
 B.A., Fordham University, 1981; J.D., University of Michigan School of Law, 1984

 Honors / Awards
 Rated AV Preeminent by Martindale-Hubbell; Hall of Fame, Lawdragon, 2018; Recommended Lawyer, The
 Legal 500, 2016-2018; Best Lawyer in America, Best Lawyers®, 2015-2018; Super Lawyer, 2010-2018;
 Litigator of the Year, Our City San Diego, 2017; Top Lawyer in San Diego, San Diego Magazine, 2013-2017;
 Leading Lawyer in America, Lawdragon, 2014-2016; Litigator of the Week, The American Lawyer, 2015;
 Litigation Star, Benchmark Litigation 2013; Directorship 100, NACD Directorship, 2012; Attorney of the Year,
 California Lawyer, 2010; Top 100 Lawyers, Daily Journal, 2009; Director’s Award for Superior Performance,
 United States Attorney’s Office; B.A., Magna Cum Laude, Fordham University, 1981




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                                                                                                            Attorney Biographies



 L. Thomas Galloway | Of Counsel
 Thomas Galloway is Of Counsel in the Firm’s Washington D.C. office. He is the founding partner of Galloway &
 Associates, a law firm that concentrates in the representation of institutional investors – namely, public and multi-
 employer pension funds.

 Galloway has authored several books and articles, including: The American Response to Revolutionary
 Change: A Study of Diplomatic Recognition (AEI Institute 1978); American's Energy: Reports from the
 Nation (Pantheon 1980); Contributor, Coal Treastise (Matthew Bender 1981); Contributor, Mining in Germany,
 Great Britian, Australia, and the United States 4 Harv. Envtl. L. Rev. 261 (Spring 1980); A Miner's Bill of Rights,
 80 W. Va. L. Rev. 397 (1978); and Contributor, Golden Dreams, Poisoned Streams (Mineral Policy Center
 Washington D.C. 1997).

 Galloway represents and/or provides consulting services for the following: National Wildlife Federation, Sierra
 Club, Friends of the Earth, United Mine Workers of America, Trout Unlimited, National Audubon Society, Natural
 Resources Defense Council, German Marshal Fund, Northern Cheyenne Indian Tribe, and Council of Energy
 Resource Tribes.


 Education
 B.A., Florida State University, 1967; J.D., University of Virginia School of Law, 1972

 Honors / Awards
 Articles Editor, University of Virginia Law Review, University of Virginia School of Law; Phi Beta Kappa,
 University of Virginia School of Law; Trial Lawyer of the Year in the United States, 2003



 John K. Grant | Of Counsel
 John Grant is Of Counsel in the Firm’s San Francisco office where he devotes his practice to representing
 investors in securities fraud class actions. Grant has been lead or co-lead counsel in numerous securities
 actions and recovered tens of millions of dollars for shareholders. His cases include: In re Micron Tech, Inc.
 Sec. Litig. ($42 million recovery); Perera v. Chiron Corp. ($40 million recovery); King v. CBT Grp., PLC ($32
 million recovery); and In re Exodus Commc’ns, Inc. Sec. Litig. ($5 million recovery).


 Education
 B.A., Brigham Young University, 1988; J.D., University of Texas at Austin, 1990




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                                                                                                        Attorney Biographies



 Mitchell D. Gravo | Of Counsel
 Mitchell Gravo is Of Counsel to the Firm and is a member of the Firm’s institutional investor client services
 group. With more than 30 years of experience as a practicing attorney, he serves as liaison to the Firm’s
 institutional investor clients throughout the United States and Canada, advising them on securities litigation
 matters.

 Gravo’s clients include Anchorage Economic Development Corporation, Anchorage Convention and Visitors
 Bureau, UST Public Affairs, Inc., International Brotherhood of Electrical Workers, Alaska Seafood International,
 Distilled Spirits Council of America, RIM Architects, Anchorage Police Department Employees Association, Fred
 Meyer, and the Automobile Manufacturer’s Association. Prior to joining the Firm, he served as an intern with the
 Municipality of Anchorage, and then served as a law clerk to Superior Court Judge J. Justin Ripley.


 Education
 B.A., Ohio State University; J.D., University of San Diego School of Law



 Helen J. Hodges | Of Counsel
 Helen Hodges is Of Counsel in the Firm’s San Diego office. She specializes in securities fraud litigation.
 Hodges has been involved in numerous securities class actions, including: Dynegy, which settled for $474
 million; Thurber v. Mattel, which was settled for $122 million; Nat’l Health Labs, which was settled for $64
 million; and Knapp v. Gomez, Civ. No. 87-0067-H(M) (S.D. Cal.), in which a plaintiffs’ verdict was returned in a
 Rule 10b-5 class action. Additionally, beginning in 2001, Hodges focused on the prosecution of Enron, where
 a record $7.2 billion recovery was obtained for investors.


 Education
 B.S., Oklahoma State University, 1979; J.D., University of Oklahoma, 1983

 Honors / Awards
 Rated AV by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2017; Super Lawyer,
 2007; Oklahoma State University Foundation Board of Trustees, 2013




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 David J. Hoffa | Of Counsel
 David Hoffa is Of Counsel in the Firm’s Washington D.C. office. He has served as a liaison to over 110
 institutional investors in portfolio monitoring, securities litigation and claims filing matters. His practice focuses
 on providing a variety of legal and consulting services to U.S. state and municipal employee retirement systems
 and single and multi-employer U.S. Taft-Hartley benefit funds. In addition to serving as a leader on the Firm’s
 Israel Institutional Investor Outreach Team, Hoffa also serves as a member of the Firm’s lead plaintiff advisory
 team, and advises public and multi-employer pension funds around the country on issues related to fiduciary
 responsibility, legislative and regulatory updates, and “best practices” in the corporate governance of publicly
 traded companies.

 Early in his legal career, Hoffa worked for a law firm based in Birmingham, Michigan, where he appeared
 regularly in Michigan state court in litigation pertaining to business, construction and employment related
 matters. Hoffa has also appeared before the Michigan Court of Appeals on several occasions.


 Education
 B.A., Michigan State University, 1993; J.D., Michigan State University College of Law, 2000




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 Andrew W. Hutton | Of Counsel
 Drew Hutton is Of Counsel in the Firm’s San Diego and New York offices, responsible for simplifying cases of
 complex financial fraud. Hutton has prosecuted a variety of securities actions, achieving high-profile recoveries
 and results. Representative cases against corporations and their auditors include In re AOL Time Warner Sec.
 Litig. ($2.5 billion) and In re Williams Cos. Sec. Litig. ($311 million). Representative cases against
 corporations and their executives include In re Broadcom Sec. Litig. ($150 million) and In re Clarent Corp. Sec.
 Litig. (class plaintiff’s 10b-5 jury verdict against former CEO). Hutton is also active in shareholder derivative
 litigation, achieving monetary recoveries and governance changes, including In re Affiliated Computer Servs.
 Derivative Litig. ($30 million), In re KB Home S’holder Derivative Litig. ($30 million) and In re KeyCorp
 Derivative Litig. (modified CEO stock options and governance). Hutton has also litigated securities cases in
 bankruptcy court (In re WorldCom, Inc. – $15 million for individual claimant) and a complex options case before
 FINRA (eight-figure settlement for individual investor). Hutton is also experienced in complex, multi-district
 consumer litigation. Representative nationwide insurance cases include In re Prudential Sales Practices
 Litig. ($4 billion), In re Metro. Life Ins. Co. Sales Practices Litig. ($2 billion) and In re Conseco Life Ins. Co.
 Cost of Ins. Litig. ($200 million). Representative nationwide consumer lending cases include a $30 million
 class settlement of Truth-in-Lending claims against American Express and a $24 million class settlement of
 RICO and RESPA claims against Community Bank of Northern Virginia (now PNC Bank).

 Hutton is the founder of Hutton Law Group, a plaintiffs’ litigation practice currently representing retirees,
 individual investors and businesses, and is also the founder of Hutton Investigative Accounting, a financial
 forensics and investigation firm. Prior founding Hutton Law and joining Robbins Geller, Hutton was a public
 company accountant, Certified Public Accountant, and broker of stocks, options and insurance products.
 Hutton has also served as an expert litigation consultant in both financial and corporate governance capacities.
 Hutton is often responsible for working with experts retained by the Firm in litigation and has conducted dozens
 of depositions of financial professionals, including audit partners, CFOs, directors, bankers, actuaries and
 opposing experts.


 Education
 B.A., University of California, Santa Barbara, 1983; J.D., Loyola Law School, 1994




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 Frank J. Janecek, Jr. | Of Counsel
 Frank Janecek is Of Counsel in the Firm’s San Diego office and practices in the areas of consumer/antitrust,
 Proposition 65, taxpayer and tobacco litigation. He served as co-lead counsel, as well as court appointed
 liaison counsel, in Wholesale Elec. Antitrust Cases I & II, charging an antitrust conspiracy by wholesale
 electricity suppliers and traders of electricity in California’s newly deregulated wholesale electricity market. In
 conjunction with the Governor of the State of California, the California State Attorney General, the California
 Public Utilities Commission, the California Electricity Oversight Board, a number of other state and local
 governmental entities and agencies, and California’s large, investor-owned electric utilities, plaintiffs secured a
 global settlement for California consumers, businesses and local governments valued at more than $1.1 billion.
 Janecek also chaired several of the litigation committees in California’s tobacco litigation, which resulted in the
 $25.5 billion recovery for California and its local entities, and also handled a constitutional challenge to the
 State of California’s Smog Impact Fee in Ramos v. Dep’t of Motor Vehicles, which resulted in more than a
 million California residents receiving full refunds and interest, totaling $665 million.


 Education
 B.S., University of California, Davis, 1987; J.D., Loyola Law School, 1991

 Honors / Awards
 Super Lawyer, 2013-2018



 Nancy M. Juda | Of Counsel
 Nancy Juda is Of Counsel to the Firm and is based in the Firm’s Washington, D.C. office. Her practice focuses
 on advising Taft-Hartley pension and welfare funds on issues related to corporate fraud in the United States
 securities markets. Juda’s experience as an ERISA attorney provides her with unique insight into the challenges
 faced by pension fund trustees as they endeavor to protect and preserve their funds’ assets.

 Prior to joining Robbins Geller, Juda was employed by the United Mine Workers of America Health &
 Retirement Funds, where she began her practice in the area of employee benefits law. She was also
 associated with a union-side labor law firm in Washington, D.C., where she represented the trustees of Taft-
 Hartley pension and welfare funds on qualification, compliance, fiduciary, and transactional issues under ERISA
 and the Internal Revenue Code.

 Using her extensive experience representing employee benefit funds, Juda advises trustees regarding their
 options for seeking redress for losses due to securities fraud. She currently advises trustees of funds providing
 benefits for members of unions affiliated with North America’s Building Trades of the AFL-CIO. Juda also
 represents funds in ERISA class actions involving breach of fiduciary claims.


 Education
 B.A., St. Lawrence University, 1988; J.D., American University, 1992




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 Francis P. Karam | Of Counsel
 Frank Karam is Of Counsel to the Firm and is based in the Firm’s Melville office. Karam is a trial lawyer with 30
 years of experience. His practice focuses on complex class action litigation involving shareholders’ rights and
 securities fraud. He also represents a number of landowners and royalty owners in litigation against large
 energy companies. He has tried complex cases involving investment fraud and commercial fraud, both on the
 plaintiff and defense side, and has argued numerous appeals in state and federal courts. Throughout his career,
 Karam has tried more than 100 cases to verdict.

 Karam has served as a partner at several prominent plaintiffs’ securities firms. From 1984 to 1990, Karam was
 an Assistant District Attorney in the Bronx, New York, where he served as a senior Trial Attorney in the
 Homicide Bureau. He entered private practice in 1990, concentrating on trial and appellate work in state and
 federal courts.


 Education
 A.B., College of the Holy Cross; J.D., Tulane University School of Law

 Honors / Awards
 “Who’s Who” for Securities Lawyers, Corporate Governance Magazine, 2015



 Ashley M. Kelly | Of Counsel
 Ashley Kelly is Of Counsel in the San Diego office, where she represents large institutional and individual
 investors as a member of the Firm’s antitrust and securities fraud practices. Her work is primarily federal and
 state class actions involving the federal antitrust and securities laws, common law fraud, breach of contract and
 accounting violations. Kelly’s case work has been in the financial services, oil & gas, e-commerce and
 technology industries. In addition to being an attorney, she is a Certified Public Accountant. Kelly was an
 important member of the litigation team that obtained a $500 million settlement on behalf of investors in Luther
 v. Countrywide Fin. Corp., which was the largest residential mortgage-backed securities purchaser class action
 recovery in history.


 Education
 B.S., Pennsylvania State University, 2005; J.D., Rutgers University-Camden, 2011

 Honors / Awards
 Super Lawyer, “Rising Star,” 2016, 2018




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 Matthew J. Langley | Of Counsel
 Matthew Langley is Of Counsel in the Firm’s Chicago office. He focuses his practice on securities fraud and
 other complex civil litigation. Prior to joining Robbins Geller, Langley served as an Assistant United States
 Attorney in the Southern District of Florida. He tried cases before the United States District Court and argued
 before the Eleventh Circuit Court of Appeals. Langley was a member of the Economic Crimes Division and
 prosecuted cases involving financial fraud, tax fraud, health care fraud, narcotics trafficking and firearm
 offenses. Before that, Langley was an associate at K&L Gates LLP in Miami from 2011 to 2014 and at Kirkland
 and Ellis LLP in New York from 2008 to 2011 where he concentrated in complex commercial litigation.


 Education
 B.A., University of Connecticut, 1997; J.D., Columbia Law School, 2008

 Honors / Awards
 Super Lawyer “Rising Star,” 2013-2014



 Jeffrey D. Light | Of Counsel
 Jeff Light is Of Counsel in the Firm’s San Diego office and also currently serves as a Judge Pro Tem for the San
 Diego County Superior Court. Light practices in the Firm’s settlement department, negotiating, documenting,
 and obtaining court approval of the Firm’s complex securities, merger, consumer and derivative actions. These
 settlements include In re VeriFone Holdings , Inc. Sec. Litig. ($95 million recovery); Louisiana Mun. Police Ret.
 Sys. v. KPMG, LLP ($31.6 million recovery); In re Kinder Morgan, Inc. S’holders Litig. ($200 million recovery);
 In re Qwest Commc’ns Int’l, Inc. Sec. Litig. ($400 million recovery); In re Currency Conversion Fee Antitrust
 Litig. ($336 million recovery); and In re AT&T Corp. Sec. Litig. ($100 million recovery). Prior to joining the Firm,
 he served as a law clerk to the Honorable Louise DeCarl Adler, United States Bankruptcy Court, Southern
 District of California, and the Honorable James Meyers, Chief Judge, United States Bankruptcy Court, Southern
 District of California.


 Education
 B.A., San Diego State University, 1987; J.D., University of San Diego School of Law, 1991

 Honors / Awards
 Top Lawyer in San Diego, San Diego Magazine, 2013-2017; J.D., Cum Laude, University of San Diego School
 of Law, 1991; Judge Pro Tem, San Diego Superior Court; American Jurisprudence Award in Constitutional Law




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 Jerry E. Martin | Of Counsel
 Jerry Martin is Of Counsel in the Firm’s Nashville office. He specializes in representing individuals who wish to
 blow the whistle to expose fraud and abuse committed by federal contractors, health care providers, tax cheats
 or those who violate the securities laws. Martin was a member of the litigation team that obtained a $65 million
 recovery in Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc., the third largest securities recovery ever
 in the Middle District of Tennessee and the largest in more than a decade.

 Prior to joining the Firm, Martin served as the presidentially appointed United States Attorney for the Middle
 District of Tennessee from May 2010 to April 2013. As U.S. Attorney, he made prosecuting financial, tax and
 health care fraud a top priority. During his tenure, Martin co-chaired the Attorney General’s Advisory
 Committee’s Health Care Fraud Working Group. Martin has been recognized as a national leader in
 combatting fraud and has addressed numerous groups and associations, such as Taxpayers Against Fraud and
 the National Association of Attorney Generals, and was a keynote speaker at the American Bar Association’s
 Annual Health Care Fraud Conference.


 Education
 B.A., Dartmouth College, 1996; J.D., Stanford University, 1999

 Honors / Awards
 Super Lawyer, 2016-2017



 Ruby Menon | Of Counsel
 Ruby Menon is Of Counsel to the Firm and serves as a member of the Firm’s legal, advisory and business
 development group. She also serves as the liaison to the Firm’s many institutional investor clients in the United
 States and abroad. For over 12 years, Menon served as Chief Legal Counsel to two large multi-employer
 retirement plans, developing her expertise in many areas of employee benefits and pension administration,
 including legislative initiatives and regulatory affairs, investments, tax, fiduciary compliance and plan
 administration.


 Education
 B.A., Indiana University, 1985; J.D., Indiana University School of Law, 1988




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 Eugene Mikolajczyk | Of Counsel
 Eugene Mikolajczyk is Of Counsel to the Firm and is based in the Firm’s San Diego Office. Mikolajczyk has over
 30 years’ experience prosecuting shareholder and securities litigation cases as both individual and class
 actions. Among the cases are Heckmann v. Ahmanson, in which the court granted a preliminary injunction to
 prevent a corporate raider from exacting greenmail from a large domestic media/entertainment company.

 Mikolajczyk was a primary litigation counsel in an international coalition of attorneys and human rights groups
 that won a historic settlement with major U.S. clothing retailers and manufacturers on behalf of a class of over
 50,000 predominantly female Chinese garment workers, in an action seeking to hold the Saipan garment
 industry responsible for creating a system of indentured servitude and forced labor. The coalition obtained an
 unprecedented agreement for supervision of working conditions in the Saipan factories by an independent
 NGO, as well as a substantial multi-million dollar compensation award for the workers.


 Education
 B.S., Elizabethtown College, 1974; J.D., Dickinson School of Law, Penn State University, 1978



 Roxana Pierce | Of Counsel
 Roxana Pierce is Of Counsel in the Firm’s Washington D.C. office. She is an international lawyer whose
 practice focuses on securities litigation, arbitration, negotiations, contracts, international trade, real estate
 transactions and project development. She has represented clients in over 75 countries, with extensive
 experience in the Middle East, Asia, Russia, the former Soviet Union, Germany, Belgium, the Caribbean and
 India. Pierce’s client base includes large institutional investors, international banks, asset managers, foreign
 governments, multi-national corporations, sovereign wealth funds and high net worth individuals.

 Pierce has counseled international clients since 1994. She has spearheaded the contract negotiations for
 hundreds of projects, including several valued at over $1 billion, and typically conducts her negotiations with the
 leadership of foreign governments and the leadership of Fortune 500 corporations, foreign and domestic.
 Pierce presently represents several European legacy banks in litigation concerning the 2008 financial crisis.


 Education
 B.A., Pepperdine University, 1988; J.D., Thomas Jefferson School of Law, 1994

 Honors / Awards
 Certificate of Accomplishment, Export-Import Bank of the United States




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 Svenna Prado | Of Counsel
 Svenna Prado is Of Counsel in the Firm’s San Diego office, where she focuses on various aspects of
 international securities and consumer litigation. She was part of the litigation teams that secured settlements
 against German defendant IKB, as well as Deutsche Bank and Deutsche Bank/West LB for their role in
 structuring residential mortgage-backed securities and their subsequent collapse. Prior to joining the Firm,
 Prado was Head of the Legal Department for a leading international staffing agency in Germany where she
 focused on all aspects of employment litigation and corporate governance. After she moved to the United
 States, Prado worked with an internationally oriented German law firm as Counsel to corporate clients
 establishing subsidiaries in the United States and Germany. As a law student, Prado worked directly for several
 years for one of the appointed Trustees winding up Eastern German operations under receivership in the
 aftermath of the German reunification. Utilizing her experience in this area of law, Prado later helped many
 clients secure successful outcomes in U.S. Bankruptcy Court.


 Education
 J.D., University of Erlangen-Nuremberg, Germany, 1996; Qualification for Judicial Office, Upper Regional Court
 Nuremberg, Germany, 1998; New York University, “U.S. Law and Methodologies,” 2001



 Stephanie Schroder | Of Counsel
 Stephanie Schroder is Of Counsel in the Firm’s San Diego office and focuses her practice on advising
 institutional investors, including public and multi-employer pension funds, on issues related to corporate fraud in
 the United States and worldwide financial markets. Schroder has been with the Firm since its formation in
 2004, and has over 17 years of securities litigation experience.

 Schroder has obtained millions of dollars on behalf of defrauded investors. Prominent cases include: In re
 AT&T Corp. Sec. Litig. ($100 million recovery at trial); In re FirstEnergy Corp. Sec. Litig. ($89.5 million
 recovery); Rasner v. Sturm (FirstWorld Communications); and In re Advanced Lighting Sec. Litig. Schroder
 also specializes in derivative litigation for breaches of fiduciary duties by corporate officers and directors.
 Significant litigation includes In re OM Group S'holder Litig. and In re Chiquita S'holder Litig. Schroder also
 represented clients that suffered losses from the Madoff fraud in the Austin Capital and Meridian
 Capital litigations, which were successfully resolved. In addition, Schroder is a frequent lecturer on securities
 fraud, shareholder litigation, and options for institutional investors seeking to recover losses caused by
 securities and accounting fraud.


 Education
 B.A., University of Kentucky, 1997; J.D., University of Kentucky College of Law, 2000




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 Christopher P. Seefer | Of Counsel
 Christopher Seefer is Of Counsel in the Firm’s San Francisco office. He concentrates his practice in securities
 class action litigation, including cases against Verisign, UTStarcom, VeriFone, Nash Finch, NextCard, Terayon
 and America West. Seefer served as an Assistant Director and Deputy General Counsel for the Financial Crisis
 Inquiry Commission, which reported to Congress in January 2011 its conclusions as to the causes of the global
 financial crisis. Prior to joining the Firm, he was a Fraud Investigator with the Office of Thrift Supervision,
 Department of the Treasury (1990-1999), and a field examiner with the Office of Thrift Supervision
 (1986-1990).


 Education
 B.A., University of California Berkeley, 1984; M.B.A., University of California, Berkeley, 1990; J.D., Golden Gate
 University School of Law, 1998



 Arthur L. Shingler III | Of Counsel
 Arthur Shingler is Of Counsel to the Firm and is based in the Firm’s San Diego office. Shingler has successfully
 represented both public and private sector clients in hundreds of complex, multi-party actions with billions of
 dollars in dispute. Throughout his career, he has obtained outstanding results for those he has represented in
 cases generally encompassing shareholder derivative and securities litigation, unfair business practices
 litigation, publicity rights and advertising litigation, ERISA litigation, and other insurance, health care,
 employment and commercial disputes.

 Representative matters in which Shingler served as lead litigation or settlement counsel include, among others:
 In re Royal Dutch/Shell ERISA Litig. ($90 million settlement); In re Priceline.com Sec. Litig. ($80 million
 settlement); In re General Motors ERISA Litig. ($37.5 million settlement, in addition to significant revision of
 retirement plan administration); Wood v. Ionatron, Inc. ($6.5 million settlement); In re Lattice Semiconductor
 Corp. Derivative Litig. (corporate governance settlement, including substantial revision of board policies and
 executive management); In re 360networks Class Action Sec. Litig. ($7 million settlement); and Rothschild v.
 Tyco Int’l (US), Inc., 83 Cal. App. 4th 488 (2000) (shaped scope of California’s Unfair Practices Act as related
 to limits of State’s False Claims Act).


 Education
 B.A., Point Loma Nazarene College, 1989; J.D., Boston University School of Law, 1995

 Honors / Awards
 B.A., Cum Laude, Point Loma Nazarene College, 1989




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 Leonard B. Simon | Of Counsel
 Leonard Simon is Of Counsel in the Firm’s San Diego office. His practice has been devoted to litigation in the
 federal courts, including both the prosecution and the defense of major class actions and other complex
 litigation in the securities and antitrust fields. Simon has also handled a substantial number of complex appellate
 matters, arguing cases in the United States Supreme Court, several federal Courts of Appeals, and several
 California appellate courts. He has also represented large, publicly traded corporations. Simon served as
 plaintiffs’ co-lead counsel in In re Am. Cont’l Corp./Lincoln Sav. & Loan Sec. Litig., MDL No. 834 (D. Ariz.)
 (settled for $240 million), and In re NASDAQ Market-Makers Antitrust Litig., MDL No. 1023 (S.D.N.Y.) (settled
 for more than $1 billion). He was also in a leadership role in several of the state court antitrust cases against
 Microsoft, and the state court antitrust cases challenging electric prices in California. He was centrally involved
 in the prosecution of In re Washington Pub. Power Supply Sys. Sec. Litig., MDL No. 551 (D. Ariz.), the largest
 securities class action ever litigated.

 Simon is an Adjunct Professor of Law at Duke University, the University of San Diego, and the University of
 Southern California Law Schools. He has lectured extensively on securities, antitrust, and complex litigation in
 programs sponsored by the American Bar Association Section of Litigation, the Practicing Law Institute, and
 ALI-ABA, and at the UCLA Law School, the University of San Diego Law School, and the Stanford Business
 School. He is an Editor of California Federal Court Practice and has authored a law review article on the
 PSLRA.


 Education
 B.A., Union College, 1970; J.D., Duke University School of Law, 1973

 Honors / Awards
 Top Lawyer in San Diego, San Diego Magazine, 2016-2017; Super Lawyer, 2008-2016; J.D., Order of the
 Coif and with Distinction, Duke University School of Law, 1973




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                                                                                                           Attorney Biographies



 Laura S. Stein | Of Counsel
 Laura Stein is Of Counsel in the Firm’s Philadelphia office. Since 1995, she has practiced in the areas of
 securities class action litigation, complex litigation and legislative law. Stein has served for over 20 years as
 Special Counsel to the Institute for Law and Economic Policy (ILEP), a think tank which develops policy
 positions on selected issues involving the administration of justice within the American legal system. She has
 also served as Counsel to the Annenberg Institute of Public Service at the University of Pennsylvania.

 In a unique partnership with her mother, attorney Sandra Stein, also Of Counsel to the Firm, the Steins have
 served as the Firm’s and the nation’s top asset recovery experts. The Steins focus on minimizing losses
 suffered by shareholders due to corporate fraud and breaches of fiduciary duty. The Steins also seek to deter
 future violations of federal and state securities laws by reinforcing the standards of good corporate governance.
 The Steins work with over 500 institutional investors across the nation and abroad, and their clients have served
 as lead plaintiff in successful cases where billions of dollars were recovered for defrauded investors against
 such companies as: AOL Time Warner, TYCO, Cardinal Health, AT&T, Hanover Compressor, 1st Bancorp,
 Enron, Dynegy, Inc., Honeywell International and Bridgestone, to name a few. Many of the cases led by the
 Steins’ clients have accomplished groundbreaking corporate governance achievements, including obtaining
 shareholder-nominated directors.


 Education
 B.A., University of Pennsylvania, 1992; J.D., University of Pennsylvania Law School, 1995



 Sandra Stein | Of Counsel
 Sandra Stein is Of Counsel in the Firm's Philadelphia office. She concentrates her practice in securities class
 action litigation, legislative law and antitrust litigation. In a unique partnership with her daughter, Laura Stein,
 also Of Counsel to the Firm, the Steins have served as the Firm’s and the nation’s top asset recovery
 experts. The Steins focus on minimizing losses suffered by shareholders due to corporate fraud and breaches
 of fiduciary duty.

 Previously, Stein served as Counsel to United States Senator Arlen Specter of Pennsylvania. During her
 service in the United States Senate, Stein was a member of Senator Specter’s legal staff and a member of the
 United States Senate Judiciary Committee staff. She is also the Founder of the Institute for Law and Economic
 Policy (ILEP), a think tank that develops policy positions on selected issues involving the administration of
 justice within the American legal system. Stein has also produced numerous public service documentaries for
 which she was nominated for an Emmy and received an ACE award, cable television’s highest award for
 excellence in programming.


 Education
 B.S., University of Pennsylvania, 1961; J.D., Temple University School of Law, 1966

 Honors / Awards
 Nominated for an Emmy and received an ACE award for public service documentaries




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 John J. Stoia, Jr. | Of Counsel
 John Stoia is Of Counsel to the Firm and is based in the Firm’s San Diego office. He is one of the founding
 partners and former managing partner of the Firm. He focuses his practice on insurance fraud, consumer fraud
 and securities fraud class actions. Stoia has been responsible for over $10 billion in recoveries on behalf of
 victims of insurance fraud due to deceptive sales practices such as “vanishing premiums” and “churning.” He
 has worked on dozens of nationwide complex securities class actions, including In re Am. Cont’l Corp./Lincoln
 Sav. & Loan Sec. Litig., which arose out of the collapse of Lincoln Savings & Loan and Charles Keating’s
 empire. Stoia was a member of the plaintiffs’ trial team that obtained verdicts against Keating and his co-
 defendants in excess of $3 billion and settlements of over $240 million.

 He also represented numerous large institutional investors who suffered hundreds of millions of dollars in losses
 as a result of major financial scandals, including AOL Time Warner and WorldCom. Currently, Stoia is lead
 counsel in numerous cases against online discount voucher companies for violations of both federal and state
 laws including violation of state gift card statutes.


 Education
 B.S., University of Tulsa, 1983; J.D., University of Tulsa, 1986; LL.M., Georgetown University Law Center, 1987

 Honors / Awards
 Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2017;
 Super Lawyer, 2007-2017; Litigator of the Month, The National Law Journal, July 2000; LL.M. Top of Class,
 Georgetown University Law Center




 Bruce Gamble | Special Counsel
 Bruce Gamble is Special Counsel to the Firm in the Firm’s Washington D.C. office and is a member of the
 Firm’s institutional investor client services group. He serves as liaison with the Firm’s institutional investor
 clients in the United States and abroad, advising them on securities litigation matters. Gamble formerly served
 as Of Counsel to the Firm, providing a broad array of highly specialized legal and consulting services to public
 retirement plans. Prior to working with Robbins Geller, Gamble was General Counsel and Chief Compliance
 Officer for the District of Columbia Retirement Board, where he served as chief legal advisor to the Board of
 Trustees and staff. Gamble’s experience also includes serving as Chief Executive Officer of two national trade
 associations and several senior level staff positions on Capitol Hill.


 Education
 B.S., University of Louisville, 1979; J.D., Georgetown University Law Center, 1989

 Honors / Awards
 Executive Board Member, National Association of Public Pension Attorneys, 2000-2006; American Banker
 selection as one of the most promising U.S. bank executives under 40 years of age, 1992




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                                                                                                          Attorney Biographies



 Carlton R. Jones | Special Counsel
 Carlton Jones is Special Counsel to the Firm and is a member of the Intellectual Property group in the Atlanta
 office. Although Jones primarily focuses on patent litigation, he has experience handling a variety of legal
 matters of a technical nature, including performing invention patentability analysis and licensing work for the
 Centers for Disease Control as well as litigation involving internet streaming-audio licensing disputes and
 medical technologies. He is a registered Patent Attorney with the United States Patent and Trademark Office.


 Education
 B.S., Georgia Institute of Technology, 2006; J.D., Georgia State University College of Law, 2009



 Tricia L. McCormick | Special Counsel
 Tricia McCormick is Special Counsel to the Firm and focuses primarily on the prosecution of securities class
 actions. McCormick has litigated numerous cases against public companies in state and federal courts that
 resulted in hundreds of millions of dollars in recoveries for investors. She is also a member of a team that is in
 constant contact with clients who wish to become actively involved in the litigation of securities fraud. In
 addition, McCormick is active in all phases of the Firm’s lead plaintiff motion practice.


 Education
 B.A., University of Michigan, 1995; J.D., University of San Diego School of Law, 1998

 Honors / Awards
 J.D., Cum Laude, University of San Diego School of Law, 1998




 R. Steven Aronica | Forensic Accountant
 Steven Aronica is a Certified Public Accountant licensed in the States of New York and Georgia and is a
 member of the American Institute of Certified Public Accountants, the Institute of Internal Auditors and the
 Association of Certified Fraud Examiners. Aronica has been instrumental in the prosecution of numerous
 financial and accounting fraud civil litigation claims against companies that include Lucent Technologies, Tyco,
 Oxford Health Plans, Computer Associates, Aetna, WorldCom, Vivendi, AOL Time Warner, Ikon, Doral
 Financial, First BanCorp, Acclaim Entertainment, Pall Corporation, iStar Financial, Hibernia Foods, NBTY,
 Tommy Hilfiger, Lockheed Martin, the Blackstone Group and Motorola. In addition, he assisted in the
 prosecution of numerous civil claims against the major United States public accounting firms.

 Aronica has been employed in the practice of financial accounting for more than 30 years, including public
 accounting, where he was responsible for providing clients with a wide range of accounting and auditing
 services; the investment bank Drexel Burnham Lambert, Inc., where he held positions with accounting and
 financial reporting responsibilities; and at the SEC, where he held various positions in the divisions of
 Corporation Finance and Enforcement and participated in the prosecution of both criminal and civil fraud claims.


 Education
 B.B.A., University of Georgia, 1979



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                                    Andrew J. Rudolph | Forensic Accountant
                                    Andrew Rudolph is the Director of the Firm’s Forensic Accounting Department, which provides in-house
                                    forensic accounting expertise in connection with securities fraud litigation against national and foreign
                                    companies. He has directed hundreds of financial statement fraud investigations, which were instrumental in
                                    recovering billions of dollars for defrauded investors. Prominent cases include Qwest, HealthSouth,
                                    WorldCom, Boeing, Honeywell, Vivendi, Aurora Foods, Informix, Platinum Software, AOL Time Warner, and
                                    UnitedHealth.

                                    Rudolph is a Certified Fraud Examiner and a Certified Public Accountant licensed to practice in California. He
                                    is an active member of the American Institute of Certified Public Accountants, California’s Society of Certified
                                    Public Accountants, and the Association of Certified Fraud Examiners. His 20 years of public accounting,
                                    consulting and forensic accounting experience includes financial fraud investigation, auditor malpractice,
                                    auditing of public and private companies, business litigation consulting, due diligence investigations and
                                    taxation.


                                    Education
                                    B.A., Central Connecticut State University, 1985



                                    Christopher Yurcek | Forensic Accountant
                                    Christopher Yurcek is the Assistant Director of the Firm’s Forensic Accounting Department, which provides in-
                                    house forensic accounting and litigation expertise in connection with major securities fraud litigation. He has
                                    directed the Firm’s forensic accounting efforts on numerous high-profile cases, including In re Enron Corp. Sec.
                                    Litig. and Jaffe v. Household Int’l, Inc., which obtained a record-breaking $1.575 billion settlement after 14
                                    years of litigation, including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Other prominent
                                    cases include HealthSouth, UnitedHealth, Vesta, Informix, Mattel, Coca-Cola and Media Vision.

                                    Yurcek has over 20 years of accounting, auditing, and consulting experience in areas including financial
                                    statement audit, forensic accounting and fraud investigation, auditor malpractice, turn-around consulting,
                                    business litigation and business valuation. He is a Certified Public Accountant licensed in California, holds a
                                    Certified in Financial Forensics (CFF) Credential from the American Institute of Certified Public Accountants,
                                    and is a member of the California Society of CPAs and the Association of Certified Fraud Examiners.


                                    Education
                                    B.A., University of California, Santa Barbara, 1985




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